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                                                                        (SPACE BELOW FOR FILING STAMP ONLY)




 1     Michael E. Bubman, Esq. (SBN 143468)
       Morgan L. Bubman, Esq. (SBN 345655)
 2     MIRMAN, BUBMAN & NAHMIAS
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 3     Encino, California 91436
       Telephone: (818) 451-4600
 4     Facsimile: (818) 451-4620
       Email: mbubman@mbn.law
 5            morgan.bubman@mbn.law
 6     [Proposed] Special Counsel for Plaintiff,
 7     Carolyn Dye, Chapter 7 Trustee

 8                                 UNITED STATES BANKRUPTCY COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
10

11      In re                                             Case No.: 2:24-bk-11660-DS

12                                                        Chapter 7
        KEITH WONKI BAE
13                                                        DECLARATIONS OF STEPHEN J. DONELL,
                                                          SARAH BATES, MORGAN L. BUBMAN, AND
14                                       Debtor.          MICHAEL E. BUBMAN IN SUPPORT OF REPLY
                                                          IN SUPPORT OF APPLICATION BY CHAPTER 7
15                                                        TRUSTEE TO EMPLOY MIRMAN, BUBMAN &
                                                          NAHMIAS AS SPECIAL COUNSEL
16
                                                          Hearing:
17                                                        DATE:      09/26/2024
                                                          TIME:      1:00 p.m.
18                                                        COURTROOM: 1639 – (virtual via Zoom.Gov)
                                                                     U.S. Bankruptcy Court
19                                                                   255 E. Temple Street
                                                                     Los Angeles, CA 90012
20

21                                     DECLARATION OF SARAH BATES

22     I, SARAH BATES, do hereby declare:

23                1.    I am the Vice President of FedReceiver, Inc., and am the Receiver Administrator for

24     Stephen Donell, the duly appointed, qualified and currently serving Receiver in this case. I make this

25     declaration in support of the Reply in Support of the Application by Chapter 7 Trustee to Employ

26     Mirman, Bubman & Nahmias (“MBN”) as Special Counsel (“Reply”). The facts set forth herein are

27     based on my personal knowledge and upon my status as a custodian of records of my receivership

28     practice and if called upon to testify thereto, I could and would do so competently.

29     815825.3                               1
             DECLARATIONS IN SUPPORT OF THE REPLY IN SUPPORT OF APPLICATION BY CHAPTER 7
30                TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL
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1                 2.   In his role as Receiver over Birdies Restaurant, Mr. Donell asked that I interface with

2      all banks (including Chase Bank, Wells Fargo Bank and Hanmi Bank), any merchants through which

3      Mr. Bae has established merchant accounts (Toast, Clover and Square) and the various delivery services

4      through which sales are made (i.e., DoorDash, GrubHub and UberEats). During the period from

5      February 7, 2024 to February 23, 2024, I generally communicated with Mr. Bae with respect to day-

6      to-day management activities, also at the request of Mr. Donell. In various declarations I filed with the

7      State Court (all of which were in support of various ex parte applications for orders clarifying the

8      Receivership) I noted my impression from what I have seen I believe that Mr. Bae was deliberately and

9      egregiously attempting to sabotage the Receiver with respect to the operations of Birdies.

10                3.   On or about June 1, 2024, after the Trustee asked Mr. Bubman and MBN to represent

11     her as special counsel, Mr. Bubman presented the idea of me acting as a contract employee for MBN

12     for purposes of the Bae bankruptcy to me and Mr. Donell. The issue of me working as a contract

13     employee for MBN had never been raised prior to that time.

14                4.   Mr. Donell and I both agreed that: (i) it would be very helpful to the trustee to have the

15     benefit my knowledge of the inner workings of Mr. Bae’s financial scheme to hide assets from the

16     Receiver; and (ii) Mr. Donell did not have any objection to me continuing to work on this matter into

17     which I had already put a great deal of time and effort. Consequently, the Receiver consented to MBN

18     hiring me as an independent contractor for this specific purpose, which would first begin once MBN’s

19     employment was approved.

20                5.   I have had no direct communication with the Debtor since approximately July 3, 2024.

21                6.   I have never received any compensation from MBN, nor have I ever been employed by,

22     or provided any services as an employee or independent contractor to MBN.

23                7.   Until such time as MBN’s employment application is approved by this Court, I will not

24     provide any services as an independent contractor for MBN. Further, in the event the Court has an

25     issue with me providing services through MBN once the employment application is approved, I will

26     not provide services as an independent contractor through MBN.

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29     815825.3                               2
             DECLARATIONS IN SUPPORT OF THE REPLY IN SUPPORT OF APPLICATION BY CHAPTER 7
30                TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL
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1                 I declare under the penalty of perjury, pursuant to the laws of the State of California that the

2      foregoing is true and correct.

3                 Executed this 18th day of September, 2024 at Los Angeles, California.

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                                                        Sarah Bates, declarant
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             DECLARATIONS IN SUPPORT OF THE REPLY IN SUPPORT OF APPLICATION BY CHAPTER 7
30                TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL
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1                                 DECLARATION OF STEPHEN J. DONELL

2      I, STEPHEN J. DONELL, do hereby declare:

3                 1.   I am the President of FedReceiver, Inc., and am the duly appointed, qualified and

4      currently serving Receiver in the State Court litigation entitled Bobson v. Bae, Los Angeles Superior

5      Court Case No. BC650612 (the “State Court Action”). I make this declaration in support of the Reply

6      in Support of the Application by Chapter 7 Trustee to Employ Mirman, Bubman & Nahmias (“MBN”)

7      as Special Counsel (“Reply”). The facts set forth herein are based on my personal knowledge and upon

8      my status as a custodian of records of my receivership practice and if called upon to testify thereto, I

9      could and would do so competently.

10                2.   I was appointed receiver by the Los Angeles Superior Court by order dated August 17,

11     2022 (the “Appointing Order”) over the partnership between Jason Harley Bobson and Debtor Keith

12     Bae called JK Partnership (“Partnership”). As a part of the Appointing Order, I was ordered to take

13     possession of, manage and collect all proceeds from the operation of the restaurant named “Birdies,”

14     located at 314 W. Olympic Blvd. Los Angeles, CA 91401. I filed my oath and bond on August 25,

15     2022.

16                3.   In my role as Receiver over Birdies Restaurant, I asked that my administrator, Ms. Sarah

17     Bates, interface with all banks (including Chase Bank, Wells Fargo Bank and Hanmi Bank), any

18     merchants through which Mr. Bae has established merchant accounts (Toast, Clover and Square) and

19     the various delivery services through which sales are made (i.e., DoorDash, GrubHub and UberEats).

20     I also instructed her to communicate with Mr. Bae with respect to day-to-day management activities. I

21     have informed the State Court in my previous Declarations filed in the State Court Action that Mr. Bae

22     appears to have been deliberately and egregiously attempting to sabotage me with respect to the

23     operations of Birdies.

24                4.   Mr. Bae filed for personal bankruptcy on April 25, 2024. On June 1, 2024, after the

25     Trustee asked Mr. Bubman and MBN to represent her as special counsel, Mr. Bubman presented the

26     idea of Ms. Bates acting as a contract employee for MBN for purposes of the Bae bankruptcy to myself

27     and Ms. Bates. The issue of Ms. Bates working as a contract employee for MBN had never been raised

28     prior to that time.

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             DECLARATIONS IN SUPPORT OF THE REPLY IN SUPPORT OF APPLICATION BY CHAPTER 7
30                TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL
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1                 5.     Ms. Bates and I both agreed that: (i) it would be very helpful to the trustee to have the

2      benefit Ms. Bates’ knowledge of the inner workings of Mr. Bae’s financial scheme to hide assets from

3      me in my role as Receiver; and (ii) I did not have any objection to Ms. Bates continuing to work on

4      this matter into which she had already put a great deal of time and effort. Consequently, I consented

5      to MBN employing Ms. Bates as an independent contractor for this specific purpose, which would first

6      begin once MBN’s employment was approved.

7                 I declare under the penalty of perjury, pursuant to the laws of the State of California that the

8      foregoing is true and correct.

9                 Executed this 18th day of September, 2024 at Los Angeles, California.

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11                                                      ______________________________
                                                        Stephen J. Donell, declarant
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             DECLARATIONS IN SUPPORT OF THE REPLY IN SUPPORT OF APPLICATION BY CHAPTER 7
30                TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL
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1                                   DECLARATION OF MORGAN L. BUBMAN

2      I, Morgan L. Bubman, declare as follows:

3                 1.    I am an attorney at law, duly licensed to practice before all courts in the State of

4      California. I am an associate at the law firm of Mirman, Bubman & Nahmias, and proposed counsel

5      in the instant action for Trustee Carolyn Dye (“Trustee”), the Chapter 7 Trustee in this action. The facts

6      set forth herein are based on my personal knowledge, and if called upon to testify thereto I could and

7      would do so competently.

8                 2.    I attended the contempt trial in which Debtor Keith Bae (“Debtor”) was found guilty of

9      six counts of contempt of court. At this trial, I witnessed Debtor’s counsel, Alejandro Herrera, cross

10     examine Michael Bubman. In this cross examination, Mr. Herrera’s questions were repeatedly struck

11     from the record upon the Honorable Judge Upinder Kalra (“Judge Kalra”) sustaining his own objections

12     to Mr. Herrera’s line of questioning.

13                3.    I witnessed Mr. Herrera ask Mr. Bubman on cross examination why he was

14     communicating with a represented party (referring to Debtor). Before Mr. Bubman could respond,

15     Judge Kalra sustained his own objection on the grounds of relevance and struck the question from the

16     record. Judge Kalra also admonished Mr. Herrera for trying to shift allegations of wrongdoing onto Mr.

17     Bubman for unrelated allegations during a hearing in which Debtor and Mr. Herrera were being tried

18     for contempt of court.

19                4.    Debtor was found guilty of six counts of contempt of court. He was ordered to pay

20     $5,500 and serve twenty days1 of jail time.

21                5.    To this date, Debtor has still failed to surrender to serve his mandatory jail time, which

22     is now long overdue. Judge Kalra set a Further Contempt Trial for October 4, 2024 for Debtor’s failure

23     to surrender.

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           This was subsequently modified by the Court to reduce the jail time to fifteen days.
29     815825.3                                6
              DECLARATIONS IN SUPPORT OF THE REPLY IN SUPPORT OF APPLICATION BY CHAPTER 7
30                 TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL
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1                 I declare under the penalty of perjury, pursuant to the laws of the State of California that the

2      foregoing is true and correct.

3                 Executed this 18th day of September, 2024 at Kyoto, Japan.

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                                                        _________________________________
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                                                        Morgan L. Bubman, declarant
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             DECLARATIONS IN SUPPORT OF THE REPLY IN SUPPORT OF APPLICATION BY CHAPTER 7
30                TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL
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1                                  DECLARATION OF MICHAEL E. BUBMAN

2      I, MICHAEL E. BUBMAN, declare as follows:

3                 1.    I am an attorney at law, duly licensed to practice before all courts in the State of

4      California. I am a partner in the law firm of Mirman, Bubman & Nahmias (“MBN”), and proposed

5      counsel in the instant action for Trustee Carolyn Dye (“Trustee”), the Chapter 7 Trustee in this action.

6      The facts set forth herein are based on my personal knowledge, and if called upon to testify thereto I

7      could and would do so competently.

8                 2.    As discussed in further detail in the Application by Chapter 7 Trustee to Employ MBN

9      as Special Counsel (“Employment Application”), on or about May 27, 2024, the Trustee asked me if I,

10     along with my firm, MBN, would serve as her special counsel in this matter. I make this declaration in

11     support of the Reply in Support of the Application by Chapter 7 Trustee to Employ MBN as Special

12     Counsel (“Reply”).

13

14     DEBTOR          KEITH     WONKI       BAE    GROSSLY        MISREPRESENTS            THE     FACTUAL

15     BACKGROUND REGARDING THE UNDERLYING STATE COURT ACTION IN HIS

16     OPPOSITION.

17                3.    On July 3, 2024, the Trustee filed an Adversary Complaint against Debtor Keith Wonki

18     Bae (“Debtor”), his attorney Alejandro Herrera, and various other corporate entities and individuals

19     (the “Adversary Complaint”) alleging that Debtor, acting by and through the other defendants,

20     employed an elaborate and complex scheme to transfer assets to the other defendants in an effort to

21     hinder, delay, and defraud his prior business partner Jason Bobson, the creditors of Debtor’s bankruptcy

22     estate, and to evade federal and state tax obligations of himself and of the defendant entities.

23                4.    Importantly, not one of the defendants, each properly served, responded to the Trustee’s

24     Adversary Complaint. The Trustee has entered defaults as to each of the defendants in the adversary

25     proceeding, including both the Debtor and Mr. Herrera, on August 9, 2024.

26                5.    Herrera is not only a named defendant in the Adversary Complaint, but he also serves

27     as Debtor’s counsel in the State Court litigation entitled Bobson v. Bae, Los Angeles Superior Court

28     Case No. BC650612 (the “State Court Action”) and filed the Opposition on Debtor’s behalf. Herrera’s

29     815825.3                               8
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1      involvement is notable because Mr. Herrera has engaged in a number of conflicts of interest – namely,

2      he has an ownership interest in Birdies Restaurant – the subject of the Receivership in the State Court

3      Action – which he failed to disclose in the State Court Action until years into the litigation (in early

4      2024), and which he failed to disclose in the Opposition. The Receiver has filed a complaint against

5      Mr. Herrera for legal malpractice for these conflicts of interest as well as Herrera’s failure to cooperate

6      with the Receiver, as the Receiver for Birdies, Inc., an entity represented by Mr. Herrera.

7                 6.   As support for the necessity and appropriateness of the selection of MBN as the

8      Trustee’s special counsel, attached hereto as Exhibit A are the true and correct copies of the February

9      29, 2024 sworn declarations of: (i) State Court Appointed Receiver Stephen Donell (“Receiver”), (ii)

10     Sarah Bates; (iii) Oscar Gonzalez Sanchez; and (iv) Michael Bubman submitted to the State Court as

11     evidentiary support for orders: (1) authorizing the retention of special counsel to investigate and pursue

12     professional negligence claims against Mr. Herrera; (2) authorize the Receiver to file a bankruptcy

13     petition; and (3) for clarification of certain aspects of the Receiver’s appointing order. These

14     declarations will provide the Court with good background as to the battle that has ensued with respect

15     to the Receiver’s efforts to obtain cooperation from the Debtor, and by extension, Mr. Herrera, who

16     has assisted the Debtor in his continued efforts to avoid compliance with the requests of the Receiver.

17                7.   Debtor’s Opposition provides approximately four pages of what he calls “summaries”

18     which grossly mischaracterize the factual background regarding the State Court Action and are of no

19     evidentiary value, as they are entirely without evidentiary support. In fact, both the Debtor and his

20     counsel have filed numerous declarations in the State Court Action, making clear they know how to

21     appropriately file declarations. There have been many instances, however, in which Debtor and Mr.

22     Herrera have intentionally filed declarations with no evidentiary support, and Debtor’s counsel has

23     been repeatedly chastised by State Court Judge, the Honorable Upinder Kalra (“Judge Kalra”) for his

24     failure to provide evidentiary support for statements he has made.

25                8.   In the Opposition, Debtor asserts, “In the two years Attorney Bubman has represented

26     Receiver Donell, not a single instance of fraud or concealment has been discovered (because it didn’t

27     happen), yet Attorney Bubman is now telling a story of assets that are hidden somewhere.” Opposition,

28     page 11, lines 7-10.

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30                TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL
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1                 9.    The transcripts of proceedings in the State Court Action tell a vastly different story.

2      Judge Kalra has made numerous findings relating to the actions of the Debtor and his failure and refusal

3      to cooperate with the Receiver in his efforts to carry out his tasks. On both March 1, 2024 and April

4      25, 2024, Judge Kalra himself details the fraudulent transfer of assets conducted by the Debtor. True

5      and correct copies of the March 1, 2024 and April 25, 2024 Transcripts of Proceedings are appended

6      hereto as Exhibits B and C, respectively, and are incorporated herein by reference.

7                 10.   In the March 1, 2024 Transcript, Judge Kalra details the complete lack of cooperation

8      by the Debtor with the Receiver, which ultimately led to the Court finding the Debtor guilty of six (6)

9      counts of contempt. See, Exhibit B.

10                11.   On pages 13-14 of the April 25, 2024 Transcript, Judge Kalra stated the following:

11                      So I am writing a … statement of decision on a court trial, and the issue

12                      there is whether there has been a fraudulent conveyance. And one of the

13                      factors I look at is whether the transaction – essentially, if a business is

14                      essentially taking over the other business, a mere continuation of the

15                      prior business. That would be evidence of a fraudulent transfer, and a

16                      subsequent corporation would be liable for the prior corporation’s debts.

17                      How do you think it looks when Mr. Bae has taken a business and moved

18                      right next door and moved over the same employees, moved over the

19                      same menu, moved over all the transactions from there, the payment

20                      schemes? … It is so obvious what Mr. Bae is doing, and to suggest that

21                      he has done everything to cooperate when he has done just the opposite

22                      … [Mr. Bae] is clearly doing everything to interfere with the Receiver

23                      doing his job, which is no different than what he has been doing for the

24                      last two years plus. And it is clear he is trying to destroy the business to

25                      prevent the Receiver from doing his job. But there [are] still partnership

26                      assets. He has recast the business and moved it right next door using all

27                      of the resources and assets of the partnership to fund his scheme, which

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             DECLARATIONS IN SUPPORT OF THE REPLY IN SUPPORT OF APPLICATION BY CHAPTER 7
30                TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL
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1                       is a façade – which is obviously a façade. But the Receiver will keep

2                       moving.

3                 12.   This excerpt alone from the April 25, 2024 Transcript demonstrates how the Opposition

4      has mischaracterized the factual background of the State Court Action, as well as the need for the

5      Trustee to appoint special counsel to investigate Debtor’s hidden and undisclosed assets. Accordingly,

6      the Trustee respectfully requests the Court authorize her to employ MBN.

7                 13.   While there is significantly more evidence in my possession of Debtor and Mr. Herrera’s

8      mischaracterizations of the State Court Action, I do not wish to burden this Court with the entire

9      procedural history from the State Court Action unless this Court requests I do so.

10

11     MBN IS NEUTRAL AND DISINTERESTED; MBN SEEKS TO EMPLOY SARAH BATES

12     WHEN ITS EMPLOYMENT APPICATION IS APPROVED.

13                14.   The issue raised regarding the employment of Sarah Bates, a long-time employee of the

14     Receiver, is a red herring issue. To date, MBN has not employed Ms. Bates in any capacity. Once the

15     Trustee asked MBN to serve as her special counsel on or about May 27, 2024, I believed it would be a

16     significant benefit to the Trustee to have the knowledge and services of Ms. Bates available as a result

17     of the very impressive work she had done for the Receiver in the State Court Action. On or about June

18     1, 2024, I presented the idea of Ms. Bates acting as a contract employee for purposes of the Bae

19     bankruptcy.

20                15.   At that time, I first raised the possibility with Mr. Donell and Ms. Bates, who both agreed

21     that: (i) it would be very helpful to the trustee to have the benefit of Ms. Bates’ knowledge; and (ii) Mr.

22     Donell did not have any objection to Ms. Bates continuing to work on this matter into which she had

23     already put a great deal of time and effort. Consequently, the Receiver consented to MBN retaining

24     Ms. Bates as an independent contractor for this specific purpose, which would first begin once MBN’s

25     employment was approved.

26                16.   Ms. Bates has never received any compensation from MBN. Ms. Bates has never been

27     employed by MBN. Until such time as MBN’s employment application is approved by this Court, Ms.

28     Bates will not provide any services as an independent contractor for MBN. Further, in the event the

29     815825.3                               11
             DECLARATIONS IN SUPPORT OF THE REPLY IN SUPPORT OF APPLICATION BY CHAPTER 7
30                TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL
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1      Court has an issue with Ms. Bates providing services through MBN once the employment application

2      is approved, Ms. Bates will not provide services as an independent contractor through MBN.

3                 I declare under penalty of perjury under the laws of the State of California that the foregoing is

4      true and correct.

5                 Executed on this 18th day of September, 2024, at Kyoto, Japan.

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                                                                        _______________________________
7                                                                       Michael E. Bubman, declarant
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             DECLARATIONS IN SUPPORT OF THE REPLY IN SUPPORT OF APPLICATION BY CHAPTER 7
30                TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL
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                               EXHIBIT A
                                  Exhibit A Page 13
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      Michael E. Buhman, Esq. (SBN 143468)
      Morgan L. Buhman, Esq. (SBN 345655)
 1    MIRMAN, BUBMAN & NAHMIAS
      16133 Ventura Boulevard, Suite 1175
 2
      Encino, California 91436
 3    Telephone: (818) 451-4600
      Facsimile: (818) 451-4620
 4    Email: mhuhman@mhn.law
             morgan.huhman@mbn.law
 5

 6    Attorneys for Court Appointed Receiver,
      Stephen J. Donel!
 7

 8                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                                  FOR THE COUNTY OF LOS ANGELES
10
11    JASON HARLEY BOBSON                       CASE NO: BC650612

12                  Plaintiff,                  Assigned for all purposes to the Honorable Upinder S.
                                                Katra, Department 51
13
                                                DECLARATIONS OF STEPHEN DO NELL, SARAH
14                        vs.                   BATES, OSCAR GONZALEZ SANCHEZ, AND
                                                MICHAEL E. BUBMAN IN SUPPORT OF EX
15                                              PARTE APPLICATION BY RECEIVER STEPHEN
                                                J. DONELL FOR ISSUANCE OF AN ORDER:
16    KEITH BAE, et al
                                                     1. GRANTING RECEIVER AUTHORITY TO
17                 Defendants.                          HIRE SPECIAL COUNSEL FOR THE
                                                        PURPOSE OF INVESTIGATING AND
18                                                      PURSUING PROFESSIONAL NEGLIGENCE
                                                        CLAIMS AGAINST ALEJANDRO
19
                                                        HERRERA, ESQ.;
20                                                   2. GRANTING RECEIVER AUTHORITY TO
21                                                      FILE BANKRUPTCY PETITION;
                                                     3. CLARIFYING APPOINTING ORDER AS: (A)
22
                                                        APPLYING TO ADDITIONAL ENTITIES;
23                                                      AND (B) ENJOINING EVICTION OF THE
                                                        RECEIVER FROM BIRDIES PREMISES BY
24                                                      BAE AND HIS ASSOCIATES
25                                               [Submitted concurrently with Ex Parte Application and
                                                 Proposed Order]
26
                                                Date: March 1, 2024
27                                              Time: 8:30 a.m.
                                                Dept: 51
28
      {00811386)                                         1
                   DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECEIVER
                    FOR AN ORDER CLARIFYING CERTAIN TERMS OF THE COURT'S ORDERS
                                            Exhibit A Page 14
         Case 2:24-bk-11660-DS         Doc 44 Filed 09/18/24 Entered 09/18/24 16:29:15               Desc
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     1    I, STEPHEN J. DONELL, do hereby declare:
 2                         I am the President of FedReceiver, Inc., and am the duly appointed, qualified and
 3        currently serving Receiver in this case. I make this declaration in Support of the Ex Parte Application
 4        for an Order Clarifying the Order Appointing Receiver and All Related Subsequent Orders. The facts
 5        set forth herein are based on my personal knowledge and upon my status as a custodian of records of
 6        my receivership practice and if called upon to testify thereto, I could and would do so competently.
 7                 2.      As this court is aware, I was appointed receiver by this court by order dated August 17,
 8        2022 (the. "Appointing Order") over the partnership between Plaintiff, Jason Harley Bobson and
 9        Defendant, Keith Bae called JK Partnership ("Partnership"). As a part of the Appointing Order, I was
10        ordered to take possession of, manage and collect all proceeds from the operation of the restaurant
11        named "Birdies," located at 314 W. Olympic Blvd. Los Angeles, CA 91401.
12                 3.      I was present at the hearing on February 2, 2024, at which time the Court signed the
13        most recent order regarding the two Chase bank accounts into which deposits have been made - the
14        DTLA South Park Corp. account and the BAE FG Corp. account. After the hearing we spoke with
15        Messrs. Bae and Herrera in the hallway. We advised Mr. Bae that all expenses needed to be approved
16        by me.
17                 4.      I have assigned Sarah Bates, my Receiver Administrator, to interface with Mr. Bae. Ms.
18        Bates is also involved in communications with Chase Bank. In order to stop Mr. Bae from using the
19        monies from Birdies without my permission, we delivered the Court's order to Chase Bank. We began
20        communicating with Chase Bank on February 6, when we received a call from a woman in the legal
21        department at approximately 1: 10 p.m. She advised us that they had researched accounts that would be
22        subject to hold based upon the Court's orders. She advised that they had found 3 accounts that would
23        be impacted: 2 accounts under the name BAE FG and one under the DTLA name. She also advised
24        that the accounts had a combined total of approximately $2,000 at that time.
25              5.        At some point soon thereafter, Chase put a hold on releasing monies from the two bank
26       accounts identified in this Court's February 2, 2024 Order. Apparently, the hold took effect on
27       February 6, as Mr. Herrera wrote (at 3:39 p.m. on February 6, 2024) to my counsel advising:
28
          (00811386))
                        DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
                          FOR AN ORDER CLARIFYING CERTAIN TERMS OF THE COURT'S ORDERS
                                                    Exhibit A Page 15
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     1                     [Y]ou or your client may have interfered with the business operations. It
     2                     seems that a hold has been placed on the bank funds which frustrates the
     3                     ability to run payroll TODAY. I'm not sure why this action was taken,
 4                         especially without notice to myself or Mr. Bae. It seems like retaliation.
 5                         Please advise immediately on this.
 6        See, Exhibit "A" hereto.
 7                6.       My attorney delivered Mr. Herrera's email to me right away. At that time, the person
 8        from Chase initially assigned to handle this matter was in Chase's Regulatory Control Operations
 9        center in Westerville Ohio. Due to the time of day, we could not get in touch with anyone from Chase
10        that afternoon to discuss the accounts as they had already closed for the day.
11                7.       On February 7, 2024, I had Ms. Bates deliver a letter to both Messrs. Bae and Herrera
12        advising of the information I needed from them regarding the operations of Birdies. A true and correct
13        copy of the letter I delivered to Messrs. Bae and Herrera is appended hereto as Exhibit "B." Most
14        significantly, in that letter I asked for payroll information to allow me to determine the net pay and
15        payroll taxes for the employees, including their names, rate of pay, hours worked and title. I also asked
16        for confirmation that payroll taxes were being paid, as I have previously noted that there are significant
17        liens against the business as a result of the failure to pay payroll taxes as required by law. I also
18        requested Mr. Bae provide the usernames and passwords for administrative access to the Toast
19        merchant service, which would allow me to control the revenues generated from sales at Birdies, as
20        well as providing instant access to sales reports for the restaurant. I also asked for a variety of
21        additional information relevant and necessary to the operation of the restaurant. The payroll and
22        merchant account information were the most critical. I advised Mr. Bae that I would like to schedule a
23        call for February 8 to go over the information and coordinate the transition of the operations.
24               8.       At around the same time, Mr. Herrera sent an email to my counsel asking that he
25       forward the payroll summary, and:
26                        [E]nsure that monies are immediately transferred to cover the payroll.
27                        Specifically, funds received by the DTLA South Park account need to be
28                        transferred to the BAE FG account to cover.
          {00811386))                                      3
                        DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
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     1    A true and correct copy of Mr. Herrera's email and attached payroll summary are appended hereto as
 2        Exhibit "C." The payroll summary called for payroll of $18,381.11 to be paid.
 3                9.       I asked Ms. Bates to contact Chase to get an update on exactly how much money was in
 4        the two significant Birdies' accounts. We were advised that the DTLA account had a balance of
 5        $2,337.34 and the BAE FG account had a balance of $1,013.52, for a total of $3,350.86 in monies at
 6        Chase. Ms. Bates advised all of us of these balances, including Mr. Herrera. A true and correct copy
 7        of her email is appended hereto as Exhibit "D."
 8                10.      Messrs. Bae and Herrera continued to demand that I release monies to cover the payroll.
 9        Mr. Bae then started to demand I release money for him to buy supplies. We were very clear with Mr.
10        Bae that we would not release checks or make payments from the bank accounts if there were
11        insufficient funds to cover the checks written.
12               11.       On February 9, 2024, Ms. Bates, Brian Landau (my accountant) and I paid a visit to
13        Birdies to see what was going on.        We witnessed a steady stream of business coming into the
14        restaurant. We also looked at the Toast interface at the restaurant. We found that the Toast machine
15        provides a consolidated summary of all sales occurring at the restaurant, including the delivery services
16        Door Dash, GrubHub and UberEats. Mr. Bae first produced one of these consolidated statements on
17        February 12, 2024, even though they would have been directly responsive to many of the requests I
18        have previously made over the last 17 months.                On February 12, Mr. Bae produced one such
19        consolidated statement for the period from February 5 through February 11, 2024. A true and correct
20        copy of this consolidated statement is appended hereto as Exhibit "E." This is far more information
21        than was provided to us in the Toast reports that were produced on February 1, 2024.
22               12.      On February 10, Mr. Buhman, Mr. Sanchez and I went to the restaurant at
23       approximately 10:30 a.m. to see what was happening. Mr. Buhman stayed about 10 feet away and did
24        not speak with any of the employees. I spoke with Danielle Heflin, who I was advised was the
25       manager of the restaurant. When I spoke to her, she asked about payroll. I told her that payroll was
26        my first priority, but that there were insufficient funds to pay the payroll. She asked whether they

27       would get paid on Monday and I told her that I did not know when we would be able to pay the payroll,
28       that it was my first priority and that we would do our best to get them paid as soon as possible. Oscar
          {00811386))
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     1     and I then went into the back kitchen and repeated the same conversation with the kitchen staff. None
 2         of them spoke English, so I had Mr. Sanchez translate into Spanish so they would understand. Mr.
 3        Bubman stayed in the front of the restaurant and stood by the door. I was surprised to see how dirty the
 4         restaurant kitchen was. I asked Mr. Bubman to come into the kitchen to see it for himself. We noted
 5        that the kitchen was in need of a substantial cleaning.
 6                13.      Ms. Bates and I have been repeatedly requesting that Mr. Bae provide us with the
 7        usernames and passwords for Toast, Door Dash, Uber Eats and GrubHub, or alternatively, that he
 8        provide us with administrative access to each of those vendors. Mr. Bae has repeatedly found some
 9        reason to avoid giving us this information. We have been asking for this specific information since I
10        wrote to him on February 7, 2024. Between myself, Ms. Bates, Mr. Landau and Mr. Buhman, we have
11        asked for these usernames and passwords no less than forty (40) times since February 7. We have
12        made the request in virtually every email that we send to Mr. Bae and every conversation that we have
13        with him. Mr. Bae either ignores the request or finds an excuse as to why he cannot provide it at that
14        specific time, and then never provides the information.
15                14.      In no uncertain terms, Mr. Bae is simply not cooperating in providing much of the
16        information I have repeatedly requested. There is literally no reason he cannot give this information to
17        me. Further, I do not believe that he is acting in good faith with the information he is providing. On
18        Friday night, I had one of my staff, Oscar Sanchez, at the restaurant strictly to observe what was
19        happening in the operations. Ms. Bates and Mr. Sanchez kept track of the cash that had come into the
20        restaurant. Ms. Bates had documented that at least $285 was removed by Mr. Bae from the cash safe
21        without permission.
22               15.      On February 11, I sent Mr. Bae emails advising that as of midday on Sunday, February
23        11, 2024, Mr. Bae had failed to cooperate with the request for usernames and passwords for Homebase,
24        Toast, UberEats, GrubHub and DoorDash. My emails are appended hereto as Exhibit "F."
25               16.      As of Monday, February 12, 2024, there was still not enough money in both of the
26        Chase accounts to meet the amount of payroll checks we were advised were outstanding on February 7,
27       2024.
28
          {00811386)}
                        DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
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     1             17.     On Monday, February 12 at 4:00 p.m., Mr. Bae first provided information to allow us to
 2         view the Toast, UberEats and DoorDash accounts. This was insufficient, however, as it does not allow
 3        me administrator privileges, which is necessary to control these accounts or redirect the monies into
 4        receivership accounts. I have learned that the Toast account is "owned" by the person with the email
     5    address mcavalawork@gmail.com who I understand to be Mariana Ayala. Keith has advised that Ms.
 6        Ayala is his personal assistant, has no records for the business and is not the bookkeeper or payroll
 7        administrator. Mr. Bae has refused to identify why she is the "owner" of the Toast account. She has
 8        not responded to our attempts to communicate with her. That notwithstanding, as the owner of the
 9        Toast account, she maintains the authority to lock me out of the Toast account whenever she chooses.
10        This is insufficient to allow me to control these accounts and is evidence of Mr. Bae' s interference and
11        non-cooperation.
12                18.      Over the course of the two weeks following February 12, my office and I continued to
13        request access to the various programs referenced above in repeated communications, and I still do not
14        have the administrative access to those programs or applications (including Toast, UberEats, GrubHub,
15        DoorDash, HomeBase, Quickbooks/Intuit) today.                 These are all essential to the operation of the
16        restaurant. All of these should be included under the Court's various orders, which we have given to
17        Mr. Bae several times. He still persists in ignoring our requests and the Court's orders.
18                19.      Mr. Bae has not provided any detailed financial accounting records, notwithstanding the
19        fact that he pays monthly for an account with Quickbooks. He has basically provided me with bits and
20        pieces to put together myself. While I have had my accountant, Brian Landau, construct a pro forma
21        financial statement, there are many pieces missing and we have had a great deal of difficulty getting the
22        full picture of the operations. It appears to me that Mr. Bae is hiding portions of the financial picture.
23               20.      Once we gained any access to the Toast system, we began monitoring daily sales and
24        receipts from Birdies through Toast. During the last week, Mr. Bae stopped asking for money to
25        purchase inventory, which was different from the two weeks prior when he was asking for money to
26        replenish the inventory on a daily basis. What we did note was that we never received the normal
27        check from GrubHub, which is mailed to Mr. Bae, which historically is approximately $4000 -
28       $5000/month. We also did not receive any cash this last week from the restaurant, even though the
          (00811386)}                                       6
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     1     Toast record shows they received approximately $5800 in cash from sales. I suspect that Mr. Bae
 2        received and kept this money. This left us short of money to pay payroll. Mr. Bae was continually
 3        writing to us and requesting that payroll be paid.               We informed him each time that there were
 4        insufficient funds to pay the payroll, and that the payroll could not be paid without the money to pay
 5        payroll taxes.
 6                21.       By February 22, we had not received enough money to pay the payroll for the period
 7        from February 5 - 19, 2024. In fact, we barely had enough money to make the payroll that was due
 8        paid on February 5, 2024. As a result of this situation, I felt we had no choice but to close the
 9        restaurant. I could not keep employees coming in to work without the knowledge of whether we would
10        have the money to pay them, especially considering the interference and non-cooperation by Mr. Bae.
11                22.       On February 23, I personally met a locksmith at the restaurant. We changed the locks
12        and closed the restaurant. I advised the employees that we would pay them as soon as there was
13        sufficient money to do so. I heard Mr. Bae telling the collective group of employees the following
14        statements:
15                      •   All of the rent was paid current;
16                      •   He had no problems with the business operations, including food, supplies, etc., until the
17                          receiver stepped in;
18                      •   He had no problems meeting his payroll and paying employees until the Receiver
19                          stepped in - when I asked about what had happened to the money for payroll taxes,
20                          including the employees' portion that was deducted from their check but not paid into
21                          the system, he told them that the government's focus was on the employer making the
22                          actual payroll and suggested to them that there were no issues created by his failure to
23                          pay the payroll tax or sales tax;
24                      •   He denied that close to $1,000,000 in payroll and sales taxes were outstanding;
25                      •   He stated that his partner (Bobson) owed half of all the expenses, that the court issued a
26                          ruling ordering Bobson to pay him money and that any problem with the restaurant were
27                          caused by the failure of Bobson to live up to those obligations - he took absolutely no
28                          responsibility for the dire financial condition of the business;
          {00811386))                                           7
                        DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
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 1                  •   He falsely suggested to the employees that the Receiver had guaranteed that all payroll
 2                      would be made.
 3            23.       Mr. Bae also has video/audio cameras through the restaurant and perhaps on top of the
 4    restaurant. He has failed to provide us with the login information for these cameras even though we
 5    have asked for it many times. He has used this access to see what is going on at the restaurant, and not
 6    for any positive purpose. I can provide a specific example of this. Upon request to my counsel, I have
 7    provided access to the restaurant to Jason Bobson, the plaintiff in this action. Mr. Bobson advised my
 8    counsel that he wanted to show the restaurant to potential investors who may be interested in acquiring
 9    the restaurant. He also offered to clean the restaurant at his own cost. I accepted his offer and granted
10    his request. The caveat to this was that Mr. Bobson would do this under the supervision of my
11    employees, to which Mr. Bobson agreed. On Saturday, February 24, one of my employees went to
12    Birdies and opened it up for Mr. Bobson to show it to someone. Mr. Bae saw this on the video camera
13    and called the police. My attorney had to explain to the police who Mr. Bobson is, provide them with
14    copies of the relevant court orders, and explain that my employees were there supervising the visit.
15    This was not enough for Mr. Bae, who sought to have Mr. Bobson arrested. The police ultimately
16    concluded that there was nothing improper about Mr. Bobson' s visit, as they were advised that I
17    authorized it to occur. I subsequently explained to Mr. Bae that I had authorized his visit, as well as his
18    cleaning. See, Exhibit "H." Mr. Bae also brought Danielle Heflin, his manager, with him. During that
19    visit, I am advised that she attempted to take the health certificate and business license from the
20    restaurant. My attorney spoke with the police several times during this visit and made sure that they
21    did not leave with anything from the restaurant.
22           24.        After the restaurant was thoroughly cleaned by a cleaning crew, Mr. Bobson brought
23    some investors to look at the restaurant. To be clear, I have no deal with Mr. Bobson about anything
24    other than allowing him to show the restaurant to potential investors. I have also had my counsel
25    advise Mr. Bobson that any investors would have to work through me and the receivership. When Mr.
26    Bobson brought investors to the restaurant on Tuesday, February 27, Mr. Bae came to the restaurant
27    and attempted to dissuade the potential investors from having anything to do with the restaurant by
28   badmouthing Mr. Bobson to the investors and ultimately throwing a copy of the 2021 court judgment
      {00811386)}                                       8
                    DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
                      FOR AN ORDER CLARIFYING CERTAIN TERMS OF THE COURT'S ORDERS
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 1    on their car. I was advised of this by Mr. Sanchez, who was there to let Mr. Bobson into the restaurant.
 2    I am advised that at one point Mr. Bae threatened Mr. Bobson, and he and Ms. Heflin attempted to get
 3    into the restaurant to take things from it. They were stopped from doing so and asked to leave.
 4            25.      Mr. Herrera purports to represent Birdies, Inc., (See, February 13, 2024 Ex Parte
 5    Application filed by Herrera on behalf of Birdies, Inc. and Bae) which the original Appointing Order
 6    identifies as an asset owned by the Birdies Partnership. See, Appointing Order, �2n. Mr. Herrera has
 7    not requested my permission to act on behalf of Birdies, Inc. As a result, I terminated Mr. Herrera as
 8    counsel for Birdies.
 9            26.      I understand that Mr. Herrera is the agent for service of process for each one of the
10    corporations and LLCs used by Mr. Bae in running the Birdies operations, including Birdies, Norco
11    Hamner Corp. (formerly Birdies Norco Corp. before the name was changed on September 11, 2020),
12    BAE FG Corp., DTLA South Park Corp., I Savant FG, I Savant Norco and Wok N' Tenders. I have
13    requested (through my counsel) that Mr. Herrera turn over all records for each of these entities, as they
14    are part of the "organization" that is doing business as Birdies at 314 W. Olympic Blvd., but I have
15    received no response from him, and he refuses to cooperate.
16           27.       I believe that Mr. Herrera has assisted Mr. Bae in circumventing the requirements of the
17    August 2022 order appointing me as receiver, as well as escaping his tax obligations, by assisting him
18    in creating this tangled web of entities. As the Receiver over many of these entities, Mr. Herrera has an
19    obligation to respond to me as the legal representative of his former clients.
20           28.      I have consulted with attorney Patrick M. Maloney, Esq., a partner at The Maloney Firm
21    APC, who specializes in legal malpractice. I believe that as the Receiver over these various entities, I
22    have the ability to file a complaint against Mr. Herrera for professional negligence, as I believe that he
23    had conflicting interests that he did not consider in the actions he took representing Keith Bae by taking
24    actions that were adverse to the interests of his other Birdies' related clients. I believe his conduct fell
25    below the standard of care required of an attorney taking on these representations and I would like the
26   authority to retain The Maloney Firm, APC as counsel to pursue claims against Mr. Herrera for his
27    actions. The Maloney Firm has advised that they have no conflicts of interest and are not representing
28
      {00811386))                                      9
                    DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
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 1    anyone in this action. Attached hereto as Exhibit G is a true and correct copy of Mr. Maloney's
 2    experience, as well as The Maloney Firm, APC's proposed retainer agreement.
 3            29.      I understand that there are tax liens against "Birdies" that exceed $900,000, in addition
 4    to various other obligations of Birdies that cannot be repaid as a result of the precarious financial
 5    situation left by Mr. Bae in his running of the operations of Birdies. I am also asking the Court for
 6    permission to file a bankruptcy petition for Birdies, as it may be necessary to liquidate the assets and
 7    allow for any recovery for repayment of obligations, rather than simply liquidating the hard assets of
 8    the business. I believe that there is goodwill value that may also be lost if the business is simply
 9    closed. While I have not come to a decision at this time and am exploring other options, I believe there
10    is a good chance that filing of a bankruptcy proceeding may be the best, if not only, way to consolidate
11    and liquidate the business in an orderly fashion while maximizing the value to be recovered. As a
12    result, I am also asking for permission to file a bankruptcy in the event, based upon my business
13    judgment, I conclude it will obtain the best financial result for this receivership.
14            30.      I need access to all of the entities that Mr. Bae has used to run the Birdies operation.
15    The Health Department permit and business license are both held in the name I Savant FG. The
16    purported sublease is under the names I Savant Norco Corp., dba Birdies LA or Birdies DTLA. The
17    Three-Day Notice, which expressly references I Savant Norco Corp., is appended hereto as Exhibit "I."
18            31.      Keith Bae has told this Court on more than one occasion (including at the Contempt
19    trial) that his father is quite elderly and that he has to take him regularly for chemotherapy. He has
20    made it appear to this Court as though his father is not capable of conducting business. In fact, many
21    of the bills for the restaurant, including the lease with the landlord, are in the name of James Bae.
22    Payroll checks are signed in the name of James Bae. I do not know whether James Bae himself is
23    actually signing any documents or if Keith Bae is signing for his father. I need authority to use these
24   business assets that are currently in the name of James Bae. I also need for this Court to clarify that
25   James Bae is enjoined from evicting Birdies from the premises as a purported subtenant.
26           32.      In my 30-year career as a state/federal court-appointed receiver, I do not recall a
27   defendant in any one of my other cases that has been as non-cooperative, or has interfered with my
28   ability to carry out the tasks of the receivership, as much as Keith Bae.
      (00811386)}                                      10
                    DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
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 1           I declare under the penalty of perjury, pursuant to the laws of the State of California that the

 2    foregoing is true and correct.
 3           Executed this 29th day of February, 2024 at Los Angeles, California.

 4

 5                                                 STEPHN J. DONELL
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      {00811386)}                                    11
                    DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
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 1                                      DECLARATION OF SARAH BATES
 2    I, SARAH BATES, do hereby declare:
 3                     I am the Vice President of FedReceiver, Inc., and am the Receiver Administrator for
 4    Stephen Donell, the duly appointed, qualified and currently serving Receiver in this case. I make this
 5    declaration in support of the Ex Parle Application for an Order Clarifying the Order Appointing
 6    Receiver and Subsequent Orders. The facts set forth herein are based on my personal knowledge and
 7    upon my status as a custodian of records of my receivership practice and if called upon to testify
 8    thereto, I could and would do so competently.
 9            2.       Mr. Donell has asked that I interface with Chase Bank and Mr. Bae on day-to-day
10    activities. This declaration is but a sampling of the interaction I have had with Mr. Bae during the 3-
11    week period in which I have been involved with Birdies. There is substantially more to say about this
12    situation, but the short story is that I believe Keith Bae has been deliberately attempting to sabotage the
13    Receiver in the operations of Birdies. In no uncertain terms, Mr. Bae has not been the least bit
14    cooperative with either me or Mr. Donell.
15           3.        On Friday, February 2, 2024, I personally delivered this Court's order signed that day to
16    Chase Bank. On February 6, 2024, at approximately 1: 10 p.m., I spoke with a representative from
17    Chase Bank's legal department. She stated that they were coordinating with Chase legal on this matter,
18    and that they had researched accounts that would be subject to hold based upon the Court's orders. She
19    stated that they had found 3 accounts that would be impacted: 2 accounts under the name BAE FG and
20    one under the DTLA name. She advised that one of the BAE FG accounts had nothing in it. She also
21    stated that the accounts had a combined total of approximately $2,000 at that time.
22           4.       At some point soon thereafter, Chase put a hold on releasing monies from the two bank
23    accounts identified in the Court's February 2, 2024 Order. Apparently, the hold took effect sometime
24    on February 6, although several ACH debits cleared the BAE FG account on February 6 prior to the
25   hold taking effect. Mr. Herrera wrote (at 3:39 p.m. on February 6, 2024) to our counsel advising:
26                    [Y]ou or your client may have interfered with the business operations. It
27                    seems that a hold has been placed on the bank funds which frustrates the
28                    ability to run payroll TODAY. I'm not sure why this action was taken,
      {00811386)}                                      12
                    DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
                      FOR AN ORDER CLARIFYING CERTAIN TERMS OF THE COURT'S ORDERS
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 1                     especially without notice to myself or Mr. Bae. It seems like retaliation.
 2                     Please advise immediately on this.
 3    See, Exhibit "A" hereto.

 4            5.       The person from Chase initially assigned to handle this matter is in Chase's Regulatory
 5    Control Operations center in Westerville Ohio. Due to the time of day that we learned of Mr. Herrera's
 6    email, we could not get in touch with anyone from Chase that afternoon to discuss the accounts, as they
 7    had already closed for the day.
 8            6.       On February 7, 2024, I personally assisted Mr. Donell in drafting a letter from Mr.
 9    Donell to both Messrs. Bae and Herrera, which I personally emailed to them, advising of the
10    information needed from them regarding the operations of Birdies. A true and correct copy of the
11    February 7, 2024 letter delivered to Messrs. Bae and Herrera is appended hereto as Exhibit "B." Most
12    significantly, in that letter Mr. Donell asked for payroll information to allow us to determine the net
13    pay and payroll taxes for the employees, including their names, rate of pay, hours worked and title.
14    Mr. Donell further asked for confirmation that payroll taxes were being paid, as we were made aware
15    of a significant amount of liens recorded with the California Secretary of State against Birdies as a
16    result of Mr. Bae's failure to pay payroll taxes as required by law. Mr. Donell also requested Mr. Bae
17    provide the usernames and passwords for administrative access to the Toast merchant service, which
18    would allow us to control the revenues generated from sales at Birdies, as well as providing instant
19    access to sales reports for the restaurant. Mr. Donell also asked for a variety of additional information
20    relevant and necessary to the operation of the restaurant. The payroll and merchant account information
21    were the most critical.
22           7.       At around the same time, Mr. Herrera sent an email to Mr. Buhman asking that he
23    forward the payroll summary, and:
24                    [E]nsure that monies are immediately transferred to cover the payroll.
25                    Specifically, funds received by the DTLA South Park account need to be
26                    transferred to the BAE FG account to cover.
27   A true and correct copy of Mr. Herrera's email and attached payroll summary are appended hereto as
28   Exhibit "C." The payroll summary called for payroll of$18,381.l 1 to be paid.
      (00811386))                                      13
                    DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
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 1            8.       Once we received this email from Mr. Herrera2 I contacted Chase to get an update on
 2    exactly how much money was in the two significant Birdies' accounts. I was advised that the DTLA
 3    account had a balance of$2,337.34 and the BAE FG account had a balance of$1,013.52, for a total of
 4    $3,350.86 in monies at Chase. I sent an email to Mr. Donell, Mr. Landau (our accountant), Mr.
 5    Bubman and Mr. Herrera advising of these balances. A true and correct copy of my February 7 email
 6    is appended hereto as Exhibit "D."
 7            9.       Messrs. Bae and Herrera continued to demand that Mr. Donell release monies to cover
 8    the payroll. Mr. Bae then started to demand that Mr. Donell release money for him to buy supplies.
 9    We were very clear in saying to Mr. Bae that we would not release checks or make payments from the
10    bank accounts if there were insufficient funds to cover the checks written.
11            10.      On February 9, 2024, Mr. Donell, Brian Landau and I paid a visit to Birdies to see how
12    the restaurant was operating. We witnessed a steady stream of business coming into the restaurant.
13    We also looked at the Toast interface at the restaurant. We found that the Toast machine provides a
14    consolidated summary of all sales occurring at the restaurant, including the delivery services Door
15    Dash, GrubHub and UberEats.          Until February 12, Mr. Bae did not produce even one of these
16    consolidated statements, even though they would have been directly responsive to many of the requests
17    I have made. On February 12, Mr. Bae produced one such consolidated statement to me for the period
18    from February 5 through February 11, 2024. A true and correct copy of this consolidated statement is
19    appended hereto as Exhibit "E." This is far more information than was provided to us in the Toast
20    reports that were produced on February 1, 2024.
21           11.      In addition to the request made by Mr. Donell, I have been repeatedly requesting that
22    Mr. Bae provide us with the usemames and passwords for Toast, Door Dash, Uber Eats and GrubHub.
23    I have requested this information in virtually every email I have sent to Mr. Bae. Mr. Bae has
24    repeatedly found some reason to avoid giving us this information. We have been asking for this
25    specific information since I wrote to him on February 7, 2024. Between myself, Mr. Donell, Mr.
26    Landau and Mr. Bubman, we have asked for these usemames and passwords no less than
27    approximately forty (40) times since February 7. Mr. Bae provided me with a new usemame and
28    password for Toast, DoorDash and UberEats, but they did not grant administrative access. Once I
      (00811386)}                                     14
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     1    learned that I still did not have that administrative access, I repeatedly advised Mr. Bae that he did not
     2    grant the access I had requested and asked that he provide the administrative access necessary for the
 3        receiver. Mr. Bae has generally ignored my requests or falsely states that he has already provided the
 4        access I need. He still has provided absolutely no access to GrubHub.
 5                  12.      In no uncertain terms, Mr. Bae is simply not cooperating in providing us the information
     6    we have repeatedly requested. There is literally no reason he cannot give this information to us. Mr.
 7        Bae is not acting in good faith with the information he is providing. On Friday night, one of Mr.
 8        Danell's staff members, Oscar Sanchez, stayed at the restaurant strictly to observe what was happening
 9        in the operations. Mr. Sanchez and I kept track of the cash that had come into the restaurant. Mr.
10        Gonzalez advised that Mr. Bae asked him to move his car and while he was out, Mr. Bae removed
11        $285 from the cash safe without asking permission or telling us he was doing it.
12        Payroll Issues.
13                 13.       We understand that information regarding hours worked by the employees is contained
14        in a program called HomeBase. There is a HomeBase tablet at the restaurant that the employees use to
15        clock in and out. Shortly after I arrived at Birdies the first time, on February 9, the HomeBase tablet
16        disappeared. No one I asked could or would tell me what happened to it. Later that afternoon when I
17        returned to the restaurant, the tablet had reappeared. I was told by one of the employees that the
18        information about rate of pay on that tablet was incorrect. As with DoorDash and UberEats, he has
19        provided me with limited access that only allows me to view certain, but not all, payroll and employee
20        information. Once again, I have continually requested this administrative access that Mr. Bae will not
21        allow.
22                 14.      On February 12, I spoke with one of the employees who advised that Mr. Bae has given
23        them a payroll check from the BAE FG account dated February 5, 2024. I have obtained copies of
24        those checks. Some of them were written on checks under the heading "Birdies DT Payroll" and some
25       say "Bae FG Corp." but both were written from the same bank account. All such checks were signed
26       under the name of Mr. Bae's father, James Bae. An example of this is attached as Exhibit "J."
27                 15.      As of Monday, February 12, 2024, there was still not enough money in both of the
28       Chase accounts to meet the amount of payroll checks that we were advised were outstanding on
          (00811386))                                       15
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     1    February 7, 2024. At that time, we only had access to view the activity in the BAE FG account. We
     2    still did not have access to view the DTLA account. As with so many other items, Mr. Bae routinely
     3    failed to respond to our requests for this (and other) information. We had to get that information from
 4        Chase representatives. I was advised, on February 12, 2024, that there was approximately $9800 in the
 5        two accounts combined. Even this amount is insufficient to cover the payroll checks that Mr. Bae
 6        wrote and distributed the week of February 5. The branch manager further advised me that Mr. Bae
 7        had authorized ACH transactions to various people totaling approximately $8,500 that were completed
 8        even after the delivery of the February 2 order to the Court.
 9                16.      After significant inquiry, Mr. Bae finally advised me on February 12 of the name of the
10        payroll service that he uses called Accounting Tax Payroll Partners. I immediately attempted to contact
11        them and provided them with the Receivership orders. After several unsuccessful attempts, our
12        attorney, Michael Buhman, went to their office and delivered copies of the Court orders regarding the
13        receivership. Within 1 hour of his visit, I was contacted by Igor Zaikin, the person at A TPP, who
14        immediately sent me the most recent payroll reports. Later in the day, Mr. Zaikin provided me with
15        payroll information for 2022 and 2023 as well. I was advised by Mr. Zaikin that ATPP had filed
16        payroll tax returns quarterly but had been instructed not to pay the payroll taxes - that Mr. Bae said he
17        would do that himself.
18                17.      I have repeatedly attempted to get information from Mr. Bae in order to fully understand
19        what payroll checks were written and outstanding, as well as what amounts he had paid to employees
20        for payroll either in cash or through ACH transactions. Up through the time of this declaration, I still
21        have not received complete information from Mr. Bae about the cash and ACH payroll transactions. I
22        was advised yesterday by Hameh Islam, one of the employees, that Mr. Bae regularly paid him half in
23        cash and half by check, and that Mr. Bae still owes him money for prior pay periods. This is consistent
24        with an initial spreadsheet that Mr. Bae provided to us through his attorney, Mr. Herrera, that showed
25        two payments per pay period for most of the employees - one payment by payroll check and one
26        payment in cash or by ACH transaction. A true and correct copy of the spreadsheet provided to us by
27        Mr. Herrera is appended hereto as Exhibit "C."
28
          (00811386))                                      16
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     1            18.      Additionally, once we took control of the bank accounts, Mr. Bae started changing the
 2        payroll information. First, he added 5 people to the payroll who had not previously been included on
 3        the payroll. Then he added himself and his personal assistant, Mariana Ayala, to the payroll, although
 4        neither of them had ever been on the payroll previously. A true and correct copy of the email I
     5    received from Mr. Zalkin and the attachments to it are appended hereto as Exhibit "K."
 6                19.      In fact, on February 14, 2024, Mr. Bae wrote to me in an email chain in which I was
 7        attempting to get information from him to allow us to make the payroll, as we did not have W4s for
 8        many of the people he attempted to add as staff. In that email, Mr. Bae specifically stated: "Mariana
 9        lacks any records for the business.     She serves as my assistant, not as a bookkeeper or payroll
10        administrator." A true and correct copy of this email is appended hereto as Exhibit "L."    None of the
11        employees that I spoke with at the restaurant knew who Mariana was, and she did not work at the
12        restaurant.
13                20.      Additionally, Mr. Bae has a girlfriend named Vicky Lee. Ms. Lee was not on the
14        Birdies payroll. When I was there, Ms. Lee would come into the restaurant, go behind the counter and
15        work there. She would also assist employees with their paperwork (e.g., W4s) necessary for them to
16        work at the restaurant. One afternoon when I was at the restaurant, I attempted to introduce myself to
17        her. She looked at me, scowled angrily and walked away. There is no reason she should have been
18        behind the counter, as she was not an employee and created a liability to the restaurant. I observed Ms.
19        Lee entering the restaurant, storage areas, and the printing store a few doors away through the back
20        doors of the building.
21        Birdies POS System (Toast) and Delivery Company Issues.
22               21.      Since the very first day we obtained bank account information, we have been attempting
23        to get information regarding the Toast POS system. Initially, Mr. Bae gave us partial, incomplete
24        reports from the Toast system that did not give us an overview of all activity occurring at the
25       restaurant. In fact, all transactions are supposed to go through the Toast system - when a food item is
26       sold, it is rung up through the Toast system, whether cash, credit, debit or delivery company. As a
27       result, the Toast reports should provide a comprehensive look at all business conducted at Birdies.
28
          {00811386))                                     17
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     1            22.      On Monday, February 12 at approximately 4:00 p.m., Mr. Bae first provided
     2     information to allow us to view (only) the Toast, UberEats and DoorDash accounts. This permission
 3         can be revoked by him, or the person who owns the Toast account, or Mariana Ayala, whose email
 4         mcaylawork@gmail.com. This is insufficient, as it does not allow for us to control these accounts or
 5        redirect the monies into receivership accounts. I am advised by the program that someone will need to
 6        unlock that access for us. The owner of the Toast account is identified in the Toast program as
 7        someone named Erick Gabriel. We have no idea who he is. At this point, that person can lock us out
 8        of the account whenever they choose. This is insufficient to allow us to control these accounts.
 9                23.      Mr. Bae has failed to provide administrative access to the food delivery programs,
10        including DoorDash, GrubHub or UberEats.              While he has provided me with "view" access to
11        DoorDash and UberEats, he has provided me with no access whatsoever to the GrubHub account,
12        notwithstanding the fact that I have asked more than 20 times. Appended hereto as Exhibit "M" is
13        email correspondence I had with Mr. Bae on February 20 for access to all such programs. In this
14        email, I also asked (again) for access to the security cameras and the Quickbooks account.
15                24.      This same exhibit also references the fact that the Toast system has several additional
16        restaurants" listed on it, all of which are identified as the Wok N' Tender Group, and including: (i)
17        Birdies - DTLA *NEW; (ii) Birdies - Norco *NEW; (iii) Birdies Chicken Sandwich - DTLA; (iv)
18        Birdies Chicken Sandwich - NORCO; and (v) Birdies EX - DTLA. See, Exhibit "M." The only one
19        to which I have been given access is the last. Mr. Bae could easily run operations through one of the
20        other entities and we would have no idea since he has failed to provide access to those entities.
21               25.      The only food delivery company to deliver an actual check for receipts is GrubHub.
22        During the last month, no check has been received from GrubHub. Normally, Mr. Bae would receive
23        that check and deposit it into the BAE FG account. No such deposit was made during February. I
24        believe that Mr. Bae took the check and deposited it elsewhere. These are monies that belong to the
25        Birdies operation and not to Mr. Bae personally.
26               26.      During the last week of operations of Birdies, Mr. Bae put a sign on the counter of the
27        restaurant offering a 10% discount for cash. A true and correct copy of the sign is appended hereto as
28        Exhibit "N." During that same period of time, the cash received from sales at Birdies was $5,480.71.
          (00811386)}                                      18
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     1     See, Sales summary, appended hereto as Exhibit "O." The day the restaurant was closed, we took $200
     2    from the cash safe, which was all the money inside it.
 3        Other Actions of Mr. Bae Relating to Birdies.
     4            27.      As we have previously advised, Mr. Bae has been conducting business in the Toast
 5        system through Wok N' Tenders, which is reflected on the DTLA South Park Corp. bank account at
 6        Chase. Wok N' Tenders was operating in the space next door, at 312 W. Olympic. That space is full
 7        of food prep equipment and food/supplies used by Birdies. I have been advised that Mr. Bae is
 8        preparing that space to open a restaurant to compete with Birdies. I am advised that he has asked the
 9        Birdies employees to work at that restaurant. I also believe that he will attempt to use the existing
10        business license and health permit under I Savant FG for this operation which he is currently using for
11        Birdies. I believe that this would be violating the provisions of the Receivership orders.
12               28.       One of Mr. Bae's key employees is Danielle Heflin. She is identified as the manager of
13        the restaurant. Ms. Heflin has been involved in Mr. Bae's attempts to circumvent compliance with the
14        Court's orders. Mr. Bae and Ms. Heflin have been aggressively attacking me verbally regarding issues
15        pertaining to the operations of the restaurant and payroll issues. I have asked Ms. Heflin to explain
16        certain aspects of the business (e.g., .the tip payouts) of which she would be knowledgeable as the
17        manager of the restaurant. Ms. Heflin has refused to provide me with any information, but rather
18        began peppering me with questions about payroll that could not be made because the restaurant had
19        insufficient cash to do so. She also demanded to be reinstated to certain permissions on the Toast
20        system from me. When I asked her what permissions she needed, she did not respond. When I finally
21        spoke to her on February 17, she said that she had the permissions she needed after all. I believe this
22        was another effort at harassment instigated by Mr. Bae.
23               29.      Ms. Heflin was also involved with Mr. Bae and Ms. Lee in a very disturbing situation
24        with one of the employees, Luke Severns.           Luke advised me that on Friday, February 16, an
25       unidentified person came into the restaurant, handed him a key and told him to give it to another
26       employee named Jose Mandujano. I asked Jose about the incident. He advised me that he was asked
27       to hold onto the key but had no idea what it was for. I was advised that late that same night, Mr. Bae
28       came into the restaurant together with Ms. Lee and Ms. Heflin. They brought Luke into the back of the
          (00811386))                                     19
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 1     restaurant and started accusmg him of stealing the key.          Luke advised that he was scared and
 2     intimidated by these actions and quit his employment on the spot. Mr. Bae followed Luke to the front
 3    of the restaurant and demanded that Luke take off the Birdies shirt he was wearing, in front of
 4    restaurant customers, and leave it behind. I have once again asked Mr. Bae for the security camera
 5    footage that would show and likely record the audio of the incident. Mr. Bae has failed to even
 6    respond to my request. A true and correct copy of my February 18 email exchange with Mr. Bae is
 7    appended hereto as Exhibit "P."
 8            33.      Mr. Bae has not provided any detailed financial accounting records, notwithstanding the
 9    fact that he pays monthly for an account with Quickbooks. He has basically provided us with bits and
10    pieces to put together ourselves. While Mr. Donell has had his accountant, Brian Landau, construct a
11    pro forma financial statement, there are many pieces missing and we have had a great deal of difficulty
12    getting the full picture of the operations. It appears to me that Mr. Bae is hiding portions of the
13    financial picture. For example, in the bank statements we have received, we noted that there was a
14    constant flow of cash being deposited into the bank account. I have reviewed the bank statements.
15    During the month of January 2024, there were approximately $25,000 in cash deposits. That flow
16    stopped as soon as we took control of the bank account. Whether it was from catering, which I am
17    advised Mr. Bae did before we took over the accounts, or from some other activity, I do not know.
18            34.      In the approximately 18 years I have been working on receivership cases with Mr.
19    Donell, I do not recall a defendant in any one of our other cases that has been as non-cooperative, or
20    has interfered with our ability to carry out the tasks of the receivership, as much as Keith Bae.
21

22           I declare under the penalty of perjury, pursuant to the laws of the State of California that the
23    foregoing is true and correct.
24           Executed this 29th day of February, 2024 at Los Angeles, California.
25
26
27                                                   SARAH BATES
28
      {00811386))                                      20
                    DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
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 1                            DECLARATION OF OSCAR GONZALEZ SANCHEZ
 2    I, Oscar Gonzalez Sanchez, do hereby declare:
 3            1.       I am the Maintenance Manager for Jalmar Properties, a company providing property
 4    management services that is affiliated with FedReceiver, Inc., with both operations under Stephen
 5    Donell, the duly appointed, qualified and currently serving Receiver in this case. I have been employed
 6    by Jalmar for approximately 30 years. I make this declaration in support of the Ex Parte Application
 7    for an Order Clarifying the Order Appointing Receiver and All Related Subsequent Orders. The facts
 8    set forth herein are based on my personal knowledge and if called upon to testify thereto, I could and
 9    would do so competently.
10            2.       Mr. Dorrell has asked that I assist in observing the operations at Birdies Restaurant. In
11    this regard, I have been at Birdies numerous times over the past three weeks for several hours each day.
12            3.       I first went to Birdies on the afternoon of February 9. That day, Ms. Bates and I had

13    obtained the combination of the on-site cash safe from Mr. Bae, so that we could take cash that came
14    into the restaurant and deposit it into the Receivership bank account. I was asked to simply observe
15    and monitor what was happening at the restaurant to give Mr. Donell and Ms. Bates an idea of how the
16    operation ran. I generally watched the operations in the front of the restaurant. I did not participate in
17    the operations in any way.
18           4.        On February 9, Ms. Bates and I monitored the cash intake that was deposited into the
19    safe. We wanted to make sure that all cash taken in was being deposited into the safe. In the evening,
                �
20    Mr. Bae asked me to move my car as he said that it was blocking access to the parking behind the
21    restaurant. I went out to move my car and saw that it was not blocking access to anything. When I
22    came back into the restaurant, Mr. Bae left shortly thereafter. I subsequently checked the safe and
23    found that $285 was missing from the safe. I believe that Mr. Bae tricked me and took the money from
24    the safe when I went to move my car.
25           5.       On February 10, I went to monitor what was happening at Birdies. I went with Mr.
26   Donell into the kitchen to help translate to the kitchen staff that only speak Spanish. I told them that
27   Mr. Donell was going to try to get them paid but it would depend upon the receipts that come into the

28   company from the business. Mr. Dorrell did not guarantee anyone that he would pay them and I
      (00811386)}                                      21
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 1     specifically told the staff in the kitchen that he could not guarantee that they would get paid, but it was
 2     his number one priority.
 3            6.       On February 15, 2024, I was given a document entitled Three-Day Notice that had been
 4     left at the restaurant by Mr. Bae. I was asked to deliver that document to Mr. Donell. A true and
 5     correct copy of this document is attached hereto as Exhibit "I."
 6            7.       On Monday, February 26, I met Mr. Bobson at the restaurant. He had arranged for a
 7     cleaning crew to come clean the location. He also met with a potential investor that day. I opened and
 8     closed the location. I did not give Mr. Bobson a key. Mr. Bae showed up with Ms. Heflin and
 9     attempted to get into the restaurant, but we would not let him in. I saw him attempt to disrupt Mr.
10    Bobson's meeting and took pictures of Mr. Bobson and the people who he was meeting with.
11            8.       On Tuesday, February 27, 2024, I went to Birdies to let Mr. Bobson into the restaurant
12    to allow him to show the restaurant to an investor. Mr. Bae showed up and attempted to disrupt Mr.
13    Bobson's meeting with his investors. He attempted to have Danielle Heflin enter the restaurant to take
14    things out from the restaurant but we would not allow them inside. He stood in front of Mr. Bobson
15    and his investors, who were not even inside the restaurant. He attempted to start a fight with Mr.
16    Bobson. Ultimately, I saw him throw a copy of a 2021 judgment onto the car of the investor meeting
17    with Mr. Bobson.
18            9.       Also on Tuesday, Mr. Bae had the employees of Birdies show up. He was attempting to
19    get them to work for him in the restaurant he is planning on opening next door. Several of them only
20    spoke Spanish. They told me that they would not go to work for him unless he paid them what he
21    already owes them. He did not pay any of them and they all left.
22    Ill
23    Ill
24    Ill
25    Ill
26    Ill
27   Ill
28   Ill
      (00811386)}                                      22
                    DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
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 1            I declare under the penalty of perjury, pursuant to the laws of the State of California that the
 2     foregoing is true and correct.
 3            Executed this 29th day of February, 2024 at Los Angeles, California.
 4
                                        Oscar Gonzalez Sanchez, Declarant
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       (00811386))                                    23
                     DECLARATIONS IN SUPPORT OF EXPARTE APPLICATION OF THE RECECIVER
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 1                                 DECLARATION OF MICHAELE. BUBMAN
 2     I, Michael E. Buhman, declare as follows:
 3             1.       I am an attorney at law, duly licensed to practice before all courts in the State of
 4    California. I am a partner in the law firm of Mirman, Bubman & Nahmias ("MBN"), legal counsel to
 5    the duly appointed and currently serving receiver, Stephen J. Donell ("Receiver" or "Mr. Donell") in
 6    the above-entitled action. The facts set forth herein are based on my personal knowledge and if called
 7    upon to testify thereto, I could and would do so competently.
 8    Insufficient Money To Pay Payroll.
 9             2.       On February 2, 2024, this Court issued an order that provided Mr. Donell with access to
10    the two accounts the Receiver has determined are the primary accounts into which Mr. Bae deposits the
11    revenues received by Birdies; Chase Bank accounts: (i) DTLA South Park Corp., account no.
12    700189563; and (ii) Bae FG Corp., account no. 519381757. Mr. Donell delivered a copy of the Court's
13    order to Chase Bank. Herrera/Bae were served with a signed copy of this order in the hallway
14    immediately following the hearing.
15            3.        On Tuesday, February 6, 2024, I received an email from Mr. Herrera accusing either me
16    or the Receiver of interfering with the business operations. He stated, "[i]t seems that a hold has been
17    placed on the bank funds which frustrates the ability to run payroll TODAY. I'm not sure why this
18    action was taken, especially without any notice to myself or Mr. Bae. It seems like retaliation. Please
19    advise immediately on this." See, Exhibit "A" hereto.
20            4.        Mr. Herrera immediately called me before I had even seen his email. In our call, I
21    advised 1V1:. Herrera that under the Court's February 2, 2024 order ("February 2 Order") Mr. Bae
22    needed Mr. Donell's approval for any and all expenses, including payroll. I reminded him that we had
23    advised him of this in the Court hallway immediately after the hearing. I told him to immediately seek
24    to coordinate with Mr. Donell. I confirmed what I told him in writing. I then advised Mr. Herrera that
25    we needed 3 things in order to make the payroll or allow the money to be released for this purpose:
26                     a. Payroll register or other report identifying the name of the employee, rate of pay,
27                         hours worked and titled of each employee;
28                     b. Confirmation that payroll taxes are being paid; and
      {00811386) l                                     24
                     DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
                       FOR AN ORDER CLARIFYING CERTAIN TERMS OF THE COURT'S ORDERS
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     1                        c. Amount to be transferred for payroll purposes.
 2            See, Ex. G, Herrera Deel., pg. 45. 1
 3                   5.       Mr. Herrera provided a payroll summary and stated "ensure the monies are immediately
 4            transferred to cover the payroll. Specifically, funds received by the DTLA South Park account need to
 5            be transferred to the BAE FG account to cover." See, Herrera Deel., Ex. H, pg. 49.
     6               6.       The attached payroll summary included 18 employees with payroll obligations of
 7            $18,381.11.
 8                   7.       On Wednesday, February 7, 2024, Ms. Bates contacted Chase Bank and learned that
 9            between the two accounts, there was a total of $3,350.86 in both accounts - $2,337.34 in the DTLA
10            account and $1,013.52 in the BAE FG account. See, Herrera Deel., Ex. H, pg. 56.
11                   8.       Apparently, Mr. Bae had already handed out the paychecks without sufficient money in
12        the account to pay the payroll. I repeatedly asked Mr. Herrera, and Ms. Bates repeatedly asked Mr.
13        Bae how they intended to cover the checks without money in the account to cover the checks written.
14        No reasonable response was provided.
15                   9.       Both Mr. Herrera and Mr. Bae were repeatedly advised that the Receiver could not
16        "release" anything, as there were insufficient funds to cover the checks that had been written. See,
17        Herrera Deel., Ex. H, pg. 53.
18        Failure To Pay Payroll Taxes.
19                   10.      Mr. Bae has failed to pay payroll taxes during the time he has operated Birdies, as well
20        as other tax obligations. Despite his failure to pay payroll taxes, he still deducted what the payroll taxes
21        should have been from employee paychecks. Appended hereto as Exhibit "R" is a spreadsheet tliat I
22        prepared from recorded liens against Birdies, including federal tax liens, showing liens totaling
23        $926,995.67.
24                  11.      Both Messrs. Bae and Herrera have refused to acknowledge the obligation to pay
25       payroll taxes, and from the outset, Mr. Donell has repeatedly insisted that payroll will not be paid
26       without payroll taxes being paid as well, as required by law.
27        1
           References to the Herrera Declaration refer to Exhibits G and H from the Declaration of Alejandro
28       Herrera filed in support of Keith Bae's February 13, 2024 Ex Parte Application. The Referenced
         excerpted exhibits from Mr. Herrera's declaration are appended hereto as Exhibit "Q."
         {00811386)}                                    25
                           DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
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 1                  12.      On February 9, 2024, I had an email exchange with Mr. Herrera. I have included the
     2     full trail of emails for the court's perusal. The most significant point, however, was that I provided Mr.
 3        Herrera with a short list of items that were critical for the Receiver with respect to current operations,
 4        which included:
 5                           a. All requested payroll information;
 6                           b. Toast login and password;
 7                           c. Code to the onsite safe; and
 8                           d. Access to all employee information, including the tablet maintained at the restaurant.
 9        See, Exhibit "S", page 4. Of all this information requested, the only information provided was the code
10        to the on-site safe. There was no response from Mr. Herrera to this last email requesting all the
11        information be provided in writing.
12                  13.      I have heard Mr. Bae say to this court several times that his father, James Bae, is quite
13        elderly, and Mr. Bae could not come to hearings at a certain time because he needed to tend to his
14        father and take him to his chemotherapy appointments. From this information, I believe that Mr. Bae
15        was attempting to advise the Court that he was the caretaker for his elderly father.
16                14.        On or about February 15, 2024, Mr. Bae left a Three-Day Notice at the restaurant and
17        asked that it be delivered to Mr. Donell. See, Exhibit "I" hereto. The notice purported to be from the
18        "landlord", who was identified as James Bae - Mr. Bae's father. The notice seeks to evict the tenant,
19        identified as "I Savant Norco Corp, dba Birdies, Birdies LA, Birdies DTLA." It also states that the rent
20        is $3,375/month. Based upon this notice, the rent was due on February 1, 2024, when Keith Bae was in
21        control of all funds of Birdies. As a result, it was Keith Bae who did not pay his father in a timely
22        manner.
23               15.        On February 16, 2024, I did some research and found the owner of the property at 314
24        W. Olympic is an entity called 1001 S. Hill, LLC. The primary member of that LLC is a woman
25        named Harianne Zolkover. This is consistent with a copy of the lease that I had previously received
26       that said that the property was owned by the Zolkover Group. A true and correct copy of the lease I
27        received for the premises is appended hereto as Exhibit "T." According to the lease, the rent for the
28
          {00811386))                                         26
                          DECLARATIQNS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
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     1     space started at $2,100/month in 2017 and was to increase by 3% each year. That would make the
 2        current rent $2,507.50.
 3                 16.      I found a telephone number for Ms. Zolkover on the internet, and I called her. I told her
 4        that I am the attorney for the receiver and explained the situation. I told her about the dispute between
 5        Messrs. Bobson and Bae, the appointment of the Receiver, and about the fact that Mr. Bae had served
 6        us with a Three-Day Notice. She advised me that she was the landlord and that she was the one who
 7        would be serving such notices; she confirmed the Receiver would not be evicted, and I informed her
 8        the Receiver intends to continue paying her rent for the Birdies premises. I offered to send her the
 9        relevant orders issued by this Court. She gave me her address and asked me to mail them to her, which
10        I did that same day. Appended hereto as Exhibit "U" is a true and correct copy of the cover letter that I
11        sent to Ms. Zolkover. I have not included the court orders included with the letter, as they are simply
12        redundant of other information already provided to the Court.
13                17.       Ms. Zolkover called me on February 21, 2024, together with her real estate agent,
14        Robert Bruni. We discussed the situation. They advised me that Mr. James Bae had a lease for three
15        different spaces - 310, 312 and 314 W. Olympic. They advised me that the rent was not current, as Mr.
16        Bae had only paid 10 months of rent in 2023 and that he was delinquent for those other two months.
17        They advised that the total rent was approximately $4000/month for all 3 spaces. They told me to call
18        Frank Johnson, who is Ms. Zolkover's property manager, and they gave me his number.
19                18.       Also on February 21, I spoke with Frank Johnson. Mr. Johnson confirmed that Mr. Bae
20        was delinquent in payment of the 2023 rent. I asked whether Mr. Bae had exercised the option for the
21        space. Mr. Johnson said that Mr. Bae said that he wanted to exercise the option, but Mr. Johnson
22        advised that they were not eligible to exercise the option because they were delinquent in their payment
23        of the rent.
24                19.      On or about February 22 and 23, 2024, I researched corporations for which Mr. Herrera
25        was the agent for service of process. I found Mr. Herrera was the agent for service of process at the
26       following entities (in addition to those already identified to the Court and which have been made part
27        of the receivership) in which either Keith Bae or James Bae is identified as a member or director and

28       the address used is either 314 W. Olympic or 312 W. Olympic: (i) I Savant FG; (ii) I Savant Norco FG;
          (00811386)}                                        27
                         DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
                           FOR AN ORDER CLARIFYING CERTAIN TERMS OF THE COURT'S ORDERS
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 1     (iii) Cali FG Corp., (iv) Pink Panda Inc.; (v) Norco Hamner Corp.; (vi) Birdies LA, (vii) Birdies
 2     DTLA. Several of these entities are suspended for one reason or another. At least two of these entities,
 3     Cali FG Corp. and Pink Panda Inc., are active entities and were very recently updated. On January 29,
 4    2024, a new Statement of Information was filed for Cali FG Corp, which identifies a person named
 5     Antonio D. Jones as the only identified offer and director. A second Statement of Information was
 6    filed on February 14, 2024 that changed the address for this entity to 1845 Hamner Ave. A, Norco, CA
 7    92860. This is the address of the second Birdies location. Of course, Mr. Herrera is the agent for
 8    service of process on both of these Statements. A true and correct copy of the two Statements of
 9    Information is appended hereto as Exhibit "V."
10            20.       A Statement of Information was filed for Pink Panda Inc. on October 18, 2021. It
11    references Andrew Wong as the CEO, Secretary. CFO and Director. The address for Pink Panda is 312
12    W. Olympic Blvd. A true and correct copy of the most recent statement of information for Pink Panda
13    Inc. is appended hereto as Exhibit "W."
14            21.       While researching information about the various Bae-related corporations, I found that
15    Mr. Bae received 2 Paycheck Protection Program ("PPP") loans for the entity called I Savant Norco
16    Corp, which is identified as doing business as Birdies. The first loan was taken in June 2020 in the
17    amount of $73,090. This loan was identified as a "Startup, Loan Funds Will Open Business." See,
18    Exhibit "X" hereto. The second loan was taken in March 2021 in the amount of $108,000. See, Exhibit
19    "Y" hereto.
20            22.      On February 29, 2024, at approximately 9 a.m., I gave written notice of this Ex Parte
21    Application via email to Plaintiff Jason Bobson and to Mr. Bae through his counsel, Mr. Herrera. The
22    correspondence notified of all relief sought in the Ex Parte Application, and advised the parties the
23    Receiver would be appearing ex parte on March 1, 2024, at 8:30 a.m. in Dept. 51 of the Los Angeles
24    Superior Court, located at 111 North Hill Street, Los Angeles, California 90017. A true and correct
25    copy of this correspondence is appended hereto as Exhibit "Z."
26   Ill
27   Ill
28
      { 00811386))                                     28
                     DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
                       FOR AN ORDER CLARIFYING CERTAIN TERMS OF THE COURT'S ORDERS
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 1           I declare under the penalty of perjury, pursuant to the laws of the State of California that the

 2    foregoing is true and correct.
 3
 4           Executed this 29th day of February, 2024 at Encino, California.

 5
 6                                                          Michael E. Bubman
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28
      {00811386)}                                    29
                    DECLARATIONS IN SUPPORT OF EX PARTE APPLICATION OF THE RECECIVER
                      FOR AN ORDER CLARIFYING CERTAIN TERMS OF THE COURT'S ORDERS
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  Michael Buhman

  From:                                        Alejandro Herrera <alex@hch.law>
 Sent:                                         Tuesday, February 6, 2024 3:39 PM
 To:                                           Michael Bubman
 Subject:                                      URGENT Bobson v. Bae


 Mr. Bubman:

 I've been informed that you or your client may have interfered with the business operations. It seems that a hold has
 been placed on the bank funds which frustrates the ability to run payroll TODAY. I'm not sure why this action was taken,
 especially without any notice to myself or Mr. Bae.
 It seems like retaliation. Please advise immediately on this.

 Regards,
Alejandro H. Herrera I Attorney Pa rtner
c. 310.570.05131 alex@herreracliftonhess.com
HERRERA CLIFTON HESS
100 Wilshire Blvd., Suite 700
Santa Monica, California 90401
o. 310.310.2201 I w. herreracliftonhess.com
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                              EXHIBITB
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FedReceivetnc:.
Jta/r a11dfe(kral court r«riv.n �(( A prit>al�ly h,M Cnlifar11ia ca1-pot11/iun
                                                                                                               Stephen J. Donell
                                                                                                               Receiver
                                                                                                               12121 Wilshire Boulevard, Suite 1120 I Los Angeles, CA 90025
                                                                                                               Telephone: 310.207.8481 I Facsimile: 310.207.3483
                                                                                                               www.fedreceiver.com
                                                                                                               CA Broker License # 1295754
                                                                                                               Email: Steve.Donell@fedreceiver.com



           VIA EMAIL AND U.S. MAIL: kbaecommerce@gmail.com; kbaecal@gmail.com;
           alex@hch.law

           February 7, 2024

          Mr. Keith Bae
          c/o Alejandro H. Herrera, Esq.
          100 Wilshire Blvd., Suite 700
          Santa Monica, California 90401

         Mr. Keith Bae
         314 W. Olympic Blvd.
         Los Angeles, CA 90015

         RE:                     Demand for Turnover
                                 Bobson v. Bae, et al.
                                 Case No. BC650612

        Mr. Bae:

        I am writing to you in accordance with the August 17, 2022 order appointing me as
        Receiver in the above referenced case, and the subsequent February 2, 2024 order
        clarifying and/or expanding the receivership estate to include additional entities
        identified below. In accordance with these orders, please immediately provide me with
        the following information for the following entities: (i) Birdies, (ii) Birdies DTLA, (iii) BAE
        FG Corp., (iv) DTLA South Park Corp., and (v) Wok N' Tenders (''Receivership Entities''):

                1. Name of payroll service provider. Payroll information, including a payroll
                   register or other report identifying the name of all employees, rate of pay,
                   hours worked and title. It would help if you have (and provide) past reports
                   that provide this information for prior pay periods. Complete employee files.
                2. Confirmation that payroll taxes are paid with each payroll.
                3. Copies of all insurance policies for 2024, as well as name, address and
                   telephone number of the insurance agent for general liability and/or business
                   operator policy.
                4. DELIVERY SERVICE ACCOUNTS - Provide usemame and password for all
                   delivery service companies listed below:
                     a. DoorDash (Stored ID 87210)
                     b. GrubHub (#2792870)


                                                                    Receiverships I Expert Witness Testimony I Consulting




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            c. Uber Eats
          *Update two factor authentication to a cell phone held by the Receiver.
     5. MERCHANT SERVICE ACCOUNT- Provide usemame and password for Toast
          merchant service account for all Receivership Entities. Update two factor
          authentication to a cell phone held by the Receiver. Provide usernames and
          passwords for all POS systems in restaurant.
     6. Provide access to online QuickBooks file associated with the monthly recurring
         payment of $30 from BAE FG Corp Account# 1757.
     7. Provide all usernames and passwords for QuickBooks, Clover, and Intuit.
     8. Listing of all banks and account numbers for all accounts used for the operation
         of the Receivership Entities. Provide usernames and passwords for online
         access to accounts. All credit cards and debit cards should be turned over to me
         immediately.
    9. Copies of all utility bills, together with a list of all utility accounts.
    10. A vendor list including names and telephone numbers of all vendors or other
        individuals and/or companies providing services for the Receivership Entities.
    11. Copies of all contracts for the Receivership Entities. This includes, but is not
        limited to, service contracts, lease agreements, management agreements, and
        any other agreements with third-party vendors.
    12. Copies of operating statements, general ledgers, trial balances and balance
        sheets for 2021 through January 2024.
    13. Accounts payable report and accounts receivable report as of 2/7/2024.
    14. Copies of any notices received from city or county departments or other
        govemmentaI/taxing agencies.
    15. CORPORATE TAX RETURNS - Provide all 2021 through 2023 corporate federal
        and California tax returns for the below entities:

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                                                                                                                        -,n,;:<;.nd�

                  Birdies                                          XX-XXXXXXX                         3898193
                  DTLA South Park Coro                             XX-XXXXXXX                         4682444
                  BAE FG Coro                                                                         4285898
                  I Savant Norco Coro                              XX-XXXXXXX                         4275034
                  I Savant F G                                     XX-XXXXXXX                         4156160




                 Birdies                                                 103-054401
                                                                         241-671104
                 BAE F G Cor
                 I Savant Norco Cor                                      228-380992
                 I Savant F G                                            202-177024
   17. A detailed report providing backup for all ATM cash withdrawals for the last




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           twelve months.
      18. Copies of all complaints, responses etc. filed against any Receivership Entities.
      19. Copies of all retainer agreements with any lawyer hired by the Receivership
           Entities.
      20. A report identifying all cash on hand related to Receivership Entities, including
           petty cash or any other cash held by anyone in any location.
     21. Copies of all 1099's prepared in 2023 and 2024.
     22. Did you apply for and receive employee retention credits funds? If so, please
          provide a copy of the filed 941-X along with the calculation substantiating the
          credit.
     23. Copies of all Los Angeles City business licenses and Public Health permits.
     24. On December 8, 2023, there was a deposit of $25,000 into the DTLA South
          Park Corp Account # 9563 from Wilshire Commercial Capital. Please provide all
          documents associated with this advance.
     25. Provide username and password to security system regarding recurring monthly
          charge to Ario Technologies for $44.99.
     26. Copies of all keys and alarm codes.
     27. Please provide the invoices for the below and the explanation behind the
         services rovided:
                  i,E��---
                     '�:{�.

                                         7/5/2023
                                        8/14/2023            279.30
                            #1757       9/7/2023             186.20
                            #1757      10/10/2023            186.20

 As you are now undoubtedly aware, you have been ordered not to transfer any money
 or pay any expense (including payroll) without my participation and consent. This
 includes ATM cash withdrawals from any source related to the Receivership Entities.

Notwithstanding your resistance over the past 16 months, it is my goal to have this
happen as smoothly as possible. The faster I get this information, the quicker we can
make this transition to become part of a normal operating system.

I'd like to schedule a call by tomorrow to go over this information and to coordinate the
transition of the operations.

Sincerely,

 �
Steve Donell
Receiver




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                               EXHIBIT C
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  Michael Buhman

 From:                                         Alejandro Herrera < alex@hch.law>
 Sent:                                         Wednesday, February 7, 2024 10:20 AM
 To:                                           Michael Bubman
 Subject:                                      FW: Urgent Payroll Due 2/5/2024
 Attachments:                                  Payroll 2.5.2024.xlsx


 Mr. Bubman,

Please forward the attached payroll summary and ensure that monies are immediately transferred to cover the payroll.'
Specifically, funds received by the DTLA South Park account need to be transferred to the BAE FG account to cover.

Time is of the essence. Please confirm.

Regards,
Alejandro H. Herrera I Attorney Partner
c. 310.570.0513 I alex@herreracliftonhess.com
HERRERA CLIFTON HESS
100 Wilshire Blvd., Suite 700
Santa Monica, California 90401
o. 310.310.2201 I w. herreracliftonhess.com
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 Birdies DT Payroll
                      02/05/24

  Number                       Date         Payee                       Amount      Type
  30442                        02/05/24     Litzy Alvarez                580.10     Payroll Check
  30443                        02/05/24     Noe Antonio Morales         1484.76     Payroll Check
 ACH                           02/05/24    Noe Antonio Morales           500.00    ACH
 30444                        02/05/24     Patrick Dowd                  986.54    Payroll Check
 ACH                          02/05/24     Kaili Gaspar Grinda           685.68    Payroll Check
 ACH                          02/05/24     Kaili Gaspar Grinda           140.03    ACH
 ACH                          02/05/24     Danielle Heflin             1119.94     Payroll Check
 ACH                          02/05/24     Danielle Heflin               394.36    ACH
 30447                        02/05/24     Carmen Rosibel Hernandez      683.68    Payroll Check
 ACH                          02/05/24     Carmen Rosibel Hernandez    1036.77     ACH
 30448                        02/05/24     Hamzeh A. Islam               670.82    Payroll Check
 Cash                         02/05/24     Hamzeh A. Islam              919.03    Cash
30449                        02/05/24      Roselyn J. Lazum             635.61     Payroll Check
30450                         02/05/24     Oscar D. Lopez              1302.67     Payroll Check
Cash                         02/05/24      Oscar D. Lopez               419.50    Cash
30451                        02/05/24     Genesis C. Roman              917.38    Payroll Check
30452                        02/05/24     Luke A. Severns               705.38    Payroll Check
30453                        02/05/24     Seth M. Walkey                493.45    Payroll Check
9061                         02/05/24     Baltazar Santiago             890.86    Payroll Check
9062                         02/05/24     Glenda Vasquez                254.95    Payroll Check
9063                         02/05/24     Jose Mandujano                914.25    Payroll Check
9064                         02/05/24     Oscar Rodriguez                 982.3   Payroll Check
9065                         02/05/24     Raymundo Aguilar              786.80    Payroll Check
ACH                          02/05/24     Katie Villanueva             876.25     ACH

                                                                      18381.11




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                              EXHIBITD
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  Michael Bubman

  From:                                     Sarah R. Bates <sarah.bates@fedreceiver.com>
  Sent:                                     Wednesday, February 7, 2024 12:03 PM
  To:                                       Michael Bubman; Alejandro Herrera
  Cc:                                       Stephen J. Donell, CCIM, CPM; Brian Landau
  Subject:                                  RE: Urgent Payroll Due 2/5/2024


 I just called Chase and the DTLA South Park account current balance is $2,337.34, the BAE FG account balance is
 $1,013.52.


 Sarah R. Bates
 Receiver Administrator I Vice President
 Jalmar Properties, Inc., AMO
 FedReceiver, Inc.
 12121 Wilshire Blvd., Suite 1120
 Los Angeles, CA 90025
 United States
 Tel: 310-207-8481 ext:119
 Fax: 310-806-4178
 Email: sarah.bates@fedreceiver.com
 Web: www.fedreceiver.com
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prohibited. If you have received this communication in error, please notify me immediately.


From: Michael Bubman <mbubman@mbn.law>
Sent: Wednesday, February 7, 2024 11:52 AM
To: Alejandro Herrera <alex@hch.law>
Cc: Stephen J. Donell, CCIM, CPM <steve.donell@fedreceiver.com>; Sarah R. Bates <sarah.bates@fedreceiver.com>;
Brian Landau <blandau@slbiggs.com>
Subject: RE: Urgent Payroll Due 2/5/2024


**CAUTION** External Email

Have Keith call Sarah. The office number is (310) 207-8481, x119. Her cell is (310) 330-6409.

The short story is that there is not enough money in the DTLA account to meet the payroll obligations. If Keith only
handed out certain checks, he needs to tell Sarah which checks were handed out.


Best regards,

Michael




                                                                     Exhibit A Page 53
           Case 2:24-bk-11660-DS                        Doc 44 Filed 09/18/24 Entered 09/18/24 16:29:15                                               Desc
                                                        Main Document    Page 54 of 251
   Mirman,
  • Bubman &
    Nahmias
  Mirman, Bubman & Nahmias
  16133 Ventura Blvd., Suite 1175
  Encino, California 91436
  Tel. No.: (818) 451 - 4600
  Fax No.: (818) 451- 4620
  www.mbn.law
  mbubman@mbn.law

  WE'VE MOVED!! Please note our new address

 From: Alejandro Herrera <alex@hch.law>
 Sent: Wednesday, February 7, 2024 10:20 AM
 To: Michael Bubman <mbubman@mbn.law>
 Subject: FW: Urgent Payroll Due 2/5/2024

 Mr. Bubman,

 Please forward the attached payroll summary and ensure that monies are immediately transferred to cover the payroll.
 Specifically, funds received by the DTLA South Park account need to be transferred to the BAE FG account to cover.

 Time is of the essence. Please confirm.

Regards,
Alejandro H. Herrera I Attorney Partner
c. 310.570.05131 alex@herreracliftonhess.com

HERRERA CLIFTON HESS
100 Wilshire Blvd., Suite 700
Santa Monica, California 90401
o. 310.310.2201 I w. herreracliftonhess.com
NOTICE: This e-mail contains Information which may be confidential and/or protected by the attorney-dient privilege and/or the work product doctrine. If you are
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saving in any manner.




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                                                                           Exhibit A Page 54
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            Sales summary                             Data as of F'eb l2, 2024, 10:01 AM (PST)

            DATE RANGE:
            February 5, 2024 - February 11, 2024
            SELECTED LOCATIONS:
            DTLA-Birdies EX



            %oftota1(> off

      i SALES TRENDS


       Sales by day                                                 Day of week (totals)                                               Time of day (totals)




       :;:,,,,lh                                                    '" 1111 II I                                                               ,1I I Ul1,111,
                                                                    $GK                                                                $3K
                                                                                                                                       $2K

                                                                                                                                       SlK
                                                                      $0                                                                $0                         11 I.:
               Feb 5    Feb 7   Feb 9   Feb l                               Mon       Wed         Fri           Sun                       4AM    10 AM      4 PM 10 PM


     ' REVENUE SUMMARY                                                                                   CASH SUMMARY
        Net sales                                                                  $28,219.74              Expected closeout cash                                              $2,281.96
        Gratuity                                                                        $0.00             Actual closeout cash                                                 $2,281.96
        Tax amount                                                                  $2,236.03              Cash overage/shortage                                                   $0.00
        Tips                                                                        $1,249.13              Expected deposit                                                    S2,281.96
                                                                                        $0.00             Actual deposit
                                                                                        $0.00             Deposit overage/shortage
                                                                                  $31,704.90
                                                                                                         CASH ACTIVITY
      NET SALES SUMMARY                                                                                   Total cash payments                                                  $2,281.96
       Gross sales                                                                 $31,617.17             Cash adjustments                                                         $0.00
       Sales discounts                                                             -$3,397.43             cash refunds                                                             $0,00
       Sales rerunds                                                                    $0.00             cash before tipouts                                                 $2,281.96
       Net sales                                                                  $28,219.7◄              Cash gratuity                                                            $0.00
                                                                                                          Credit/non-cash gratuity                                                $0.00
    , TIP SUM MARV
                                                                                                          credit/non-cash tips                                                -$1,249.13
       Tips collected                                                              Sl,249.13
                                                                                                          Tips withheld                                                           $0.00
       Tips refunded                                                                   $0.00
                                                                                                         Total cash                                                           $1,032.83
       Total tips                                                                  $1,249.13

    ' PAYMENTS SUMMARY
      Piyment type                                                 Amount                                Tips                   Grat                Refunds                        Tolal
      Credit                                                  $15,839.40                        $1,239.96                  $0.00                    $0,00                    $17,079.36
      Amex                                                      $1,544.32                        $114,00                   $0.00                    $0,00                     $1,658.32
      Discover                                                    $104.94                           S9.15                  so.oo                    $0,00                      $114.09
      Mastercard                                                $3,190.72                        $239.16                   $0.00                    so.oo                    $3,429.88
      Visa                                                    $10,999.42                         $877.65                   $0.00                    $0,00                   $11,877.07
      Gift Card                                                    $15.00                          $0.00                   $0.00                    $0.00                       $15.00
      Cash                                                      $2,281.96                          $0.00                   $0.00                    $0,00                    $2,281.96
      Other                                                  $11,793.63                            $9.17                   $0.00                    $0.00                   $11,802.80
      Doordash                                                  $3,322.95                          $9.17                   $0.00                    $0.00                    $3,332.12
                                                                $1,318.01                          so.oo                   so.oo                    $0.00                    Sl,318.01
                                                                $7,152.67                          $0.00                   $0.00                    $0.00                    $7,152.67
     Total                                                   $29,929.99                        $1,249.13                   $0.00                   $0.00                    $31,179.12

    UNPAID ORDERS SUMMARY                                                                           SEAVlCE MOOE SUMMARY

     Unpaid amount                                                                  $525, 78                                                                                      Total
                                                                                                        Net sales                                                           $28,219.74
    SALES CATEGORY SUMMARY
                                                                                                        Total guests                                                             1,512
     Sales category                       Items       Net sales    Discounts      Gronsalu
                                                                                                        Avg/Guest                                                              $18.66
     All·Day                            1 ,749 $16,388.08 $2,547.S7 $18,936.05
                                                                                                        Total payments                                                           1,458
     Brunch                               342       $3,832.11      $166.76        $3,998.87
                                                                                                        Avg/Payme nt                                                           $20.53
!    Donuts                             1,054       $4,332.37      $515.38        $4,847.75                        _ _                                                                    .. l
                                                                                                                                                                                            I
                                                                                                        Total orders                                                            1,512
     Drinks                               795       $3,470.68      $117.32        $3,588.00
                                                                                                        Avg/Order                                                              $18.66
     No Sales Category Assigned            11        $196.50        $50,00         $246.50
    Total                               _3,951     siri,ii9:i� SJ,3�?-�3 $3�,6_17_.�:i_                 Turn time                                                               05:55




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  ' REVENUE CENTER SUMMARY                                                                          ; DISCOUNT SUMMARY
     Rev•nue center                Items              Net.sales      Discounts        Gross sales     Ohcount                                           Count      Amount

     No Revenue Center            3,904           $27,800.90        $3,397.43        $31,198.33       BOGO (end of night donut special, NO Fri & Sat)    24         $87.55
     Online Ordering                    47           $418.84           $0,00            S418.84       BOGO (for half dozen) "NO Fri & Sat                           $10.00
   Total                          3,951           $211:219.74       Sl,J9.7.43       $3,1,617.17      Breakfast Combo Drink Substitution                  9         $4.50
   DINING OPTION SUMMARY                                                                              Employee Discount                                   6        $33,40
    Dining option                        Orders         Netsa!es      Discounts      Gross sales     Employee On-Clock Meal                              26       $300.10
    Take Out                                 417     $6,060.55        $250.85         $6,311.40       Keith Comp                                                   $90.75
    Phone Order                               49     $1,642.56 $2,371.69             $4,014.25       Law Enforcement                                     17        $56.77
    OoorDash • Delivery                       93     $2,552.45          $0.00        $2,552.45                                                           19       $152.18
                                                                               ..                    Reward Dollars
    DoorDash • Takeout                        24       $482.15          $0.00          $482.15       Shift lead DC                                       11        $18.13
    Grubhub• Takeout                          39 $1,211.15              so.co        $1,211.15       SHIFTLEAD ONLY - close ticket                       20     $2,611.55
    Dine In                                  633     $9,233.69        $774.89       $10,008,58       The customer List                                    3        $32,50
    Online Ordering• Takeout                 23        $418.84          S0.00          $418.84      Total discounts                                     142 )3,397.43 :
    Uber Eats• Takeout                       50     $1,141.70           $0.00        $1,141.70
    Uber Eats• Delivery                   184       $5,476.65           $0.00        $5,476.65
 :.jotal_                               1,512 $28,2�9:74 $3;397.43                   $31,617.17


  SERVICE/ DAYPART SUMMARY                                                                          VOID SUMMA.RY
   Service/ day part           Orders              Net sales       Discounts         Gtosssatu       Void amount                                                S◄,914.70
   All-Day                  1,508            $28,183.64           $3,396.93         $31,580.57       Void order count                                                 15
   No Service                     4                $36.10            $0.50             $36.60        Void item count                                                 405
  ro1ai                        1,512         $28,219,!4           $3,397,43         $31,617.17
                                                                                                     Void amount%                                                  17.4%

 : TAX SUMMARY
                                                                                                                                  Taxable illmounl            Tu.aitnounl
   CA STATE TAX                                                                                                                      S14,906.67                  S894.◄8
   CA COUNTY TAX                                                                                                                     S14,726.71                   S35.94
   CA SPECIAL TAX                                                                                                                    $29,773.24                  $482.94
  Non Taxable                                                                                                                         SJ,800.67
  Marketplace Facilitator Taxes Paid                                                                                                 S6,477.80                   $S34.32
  Marketplace Facilitator Taxes Not Paid                                                                                             S3,034.60                  $288.35




                                                                                            Exhibit A Page 57
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  Michael Buhman

  From:                                  Stephen J. Donel!, CCIM, CPM <steve.donell@fedreceiver.com>
  Sent:                                  Sunday, February 11, 2024 12:32 PM
  To:                                    kbaecommerce@gmail.com
  Cc:                                    Michael Bubman; alex@hch.law; Sarah R. Bates; Brian Landau
  Subject:                               RE: Birdies Request for Information


  Keith,
 This will confirm that as of Sunday, February 11, 2023 at 12:32 pm, you have failed to cooperate with the
 request to provide usernames/passwords for UberEats, DoorDash and Grubhub.
 Steve

  Stephen J. Donell, CCIM, CPM
 President I Receiver I Partition Referee I Interim Trustee I Asset Manager
 Jalmar Properties, Inc., AMO
 FedReceiver, Inc.
 Donell Expert Services, Inc.
 12121 Wilshire Blvd., Suite 1120
 Los Angeles, CA 90025
 United States
 Main: 310-207-8481 ext:114
 Fax: 310-806-4178
 Direct: 310.689.2175
 Email: steve.donell@fedreceiver.com
 Web: www.fedreceiver.com
 DRE# 01295754
Disclosure: The information contained herein is confidential and privileged attorney-client
information or work product intended only for the individual or entity to whom it is addressed.
Any unauthorized use, distribution or copying of this communication is strictly
prohibited. If you have received this communication in error, please notify me immediately.


From: Stephen J. Donell, CCIM, CPM <steve.donell@fedreceiver.com>
Sent: Sunday, February 11, 2024 12:24 PM
To: kbaecommerce@gmail.com
Cc: Michael Bubman <mbubman@mbn.law>; alex@hch.law; Sarah R. Bates <sarah.bates@fedreceiver.com>; Brian
Landau <blandau@slbiggs.com>
Subject: Birdies Request for Information

Keith,
This will confirm that as of Sunday, February 11, 2024, at 12:20 pm, you have failed to cooperate with the
request for access to/usernames/passwords for HomeBase and Toast.
Steve
Stephen J. Donell, CCIM, CPM
                                                                     1




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President I Receiver I Partition Referee I Interim Trustee I Asset Manager
Jalmar Properties, Inc., AMO
FedReceiver, Inc.
Donel! Expert Services, Inc.
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025 •
United States
Main: 310-207-8481 ext:114
Fax: 310-806-4178
Direct: 310.689.2175
Email: steve.donell@fedreceiver.com
Web: www.fedreceiver.com
 DRE# 01295754
Disclosure: The information contained herein is confidential and privileged attorney-client
information or work product intended only for the individual or entity to whom it is addressed,
Any unauthorized use, distribution or copying of this communication is strictly
prohibited. If you have received this communication in error, please notify me immediately.




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                              EXHIBITG
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               Case
  2/29/24, 12:59 AM 2:24-bk-11660-DS                 Doc 44 Patrick
                                                             FiledM.09/18/24       Entered
                                                                     Maloney - The Maloney Firm 09/18/24
                                                                                                APC      16:29:15                    Desc
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                             PATRICK M. MALONEY
                            Patrick M. Maloney represents clients in business disputes. He has
                            served as lead trial counsel in bench and jury trials in state and
                            federal courts and in arbitration. Mr. Maloney has represented
                            companies in antitrust and patent matters, shareholder and
                            partnership disputes, employment disputes, and in disputes
                            between clients and lawyers in malpractice, fiduciary duty claims,
                            and fee disputes.

                           As a staunch advocate of fair billing practices, Mr. Maloney          Direct Contact:
                           regularly works with clients to resolve fee disputes with outside
                                                                                                  310.347.4601
                           counsel arising from bill padding, fraud, and other overcharges.
                                                                                                 pmaloney@�
                           Mr. Maloney has represented clients in approximately one
                           hundred legal fee disputes saving them millions in legal fees. Mr.    .(m..aiJlQ;,�y.@ma.JoneY.firrn.@m)_
                           Maloney is a volunteer fee dispute arbitrator with the Los Angeles     Download Ycard
                           County Bar Association, and previously served as a member of the       .(http://maloneyfirm com/wP:
                           California State Bar Committee on Mandatory Fee Arbitration.           contenUuploads/ycard/Patrick
                                                                                                  M Maloney�
                           Mr. Maloney has been named a Fellow of the Litigation Counsel of      Download Bio
                           America, a trial lawyer honorary _society composed of less than
                                                                                                 .(https·/lwww maloneyfirm comtwP:
                           one-half of one percent of American lawyers. Martindale Hubbell
                                                                                                 contenUuploads/2015/1 0/Patdck­
                           awarded Mr. Maloney with an AV-Preeminent rating, the highest
                                                                                                 one-sheet pdO
                           possible rating for both legal ability and ethical standards. Mr.
                           Maloney has been recognized as a Super Lawyer by the publishers
                           of Los Angeles Magazine each year from 2015 to 2023, and had
                           been a Rising Star - an award given to just 2.5% of attorneys who
                           have been in practice for ten years or less - from 2005 to 2008.

                           Mr. Maloney is the past President of the South Bay Bar Association,
                           has served on its executive committee for several years and was
                           the Chair of the Employment Law Section. He also a member of the
                           Hon. Benjamin Aranda Ill Inn of Court and sat on the Board of
                           Directors for the Manhattan Beach Chamber of Commerce.
                           When not in the courtroom or volunteering, Mr. Maloney enjoys
                           spending time with his family, gardening, fishing, and boating. He
                           currently resides in the South Bay with his wife and two children.




                           Our Office                        1/
                                                                 �!

                                                         p,i,1    .Jf�•-..,._v..,-s.,�


                          The Maloney Firm, APC                  - -,•-       '�m::-
                          2381 Rosecrans Avenue          1
                                                        -["",.,_ .·-1
                                                                                   I

                          Suite 405
                          El Segundo, CA 90245
                          310.540.1505


                                 CONTACT US                  GET DIRECTIONS

                          {https://www.maloneyfirm.co�.google.com/maps/embed?
                          us/)                       pb=!1m14!1m8!1m3!1d3311.505820726715!2d-
                                                     118.3801852!3d33.902378999999996!3m2!1i 1024!21768!4f13.1!3m3!1 m2!1s0x80c2b41ac69ba5!



https://www.maloneyfirm.com/patrick-m-maloney/                                                                                              1/2

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Ill                                                                                      Patrick M. Maloney
                                                                                               310.347.4601
                                                                                 pmaloney@maloneyfirm.com




                   ATTORNEY-CLIENT PRIVILEGED - CONFIDENTIAL


                                           February 29, 2024

 VIA EMAIL ONLY

 Stephen J. Danell, Receiver
 BOBSON/BAE PARTNERSHIP
 steve.clonell@Jeclreceiver.com

        Engagement Agreement

Dear Mr. Danell:

        We are pleased that solely in your capacity as court-appointed Receiver for the
Bobson/Bae Partnership ("you," "your," "Client") in the lawsuit styled as Bobson v. Bae, Los
Angeles County Superior Court Case No. BC650612 (the "State Court Lawsuit"), you intend to
retain The Maloney Firm, APC ("attorneys" or "firm") to represent the interests of the
Receivership Estate. This retainer agreement ("agreement") will set forth the basis upon which
the firm will represent the receivership estate. Please read this agreement carefully, as it is the
contract which will govern our attorney-client relationship.
        We understand that pursuant to orders issued in the State Court Lawsuit on or about
August 17, 2022, and February 2, 2024, the Receivership Estate includes the restaurant known as
"Birdies", located at 314 W. Olympic Boulevard, Suite 1120, Los Angeles California; the
California Corporations existing under the name Birdies; Mabels 314, Inc.; DTLA South Park
Corp.; Bae FG Corp.; and the business, form unknown, operating under the name Wok N'
Tenders. Further, we understand you intend to seek additional court orders to bring other entities
you have thus far identified or may in the future identify within the scope of the Receivership
Estate, including entities that purport to do business under the "Birdies" name, including but not
limited to I Savant Norco Corp. and I Savant FG.
        We understand that, as the Court-appointed Receiver for the Bobson/Bae Partnership,
before entering into this fee agreement you must obtain approval from the Court in the State
Court Lawsuit to do so. Our representation will begin only when the Court authorizes your
retention of the firm on the terms set forth herein and you have signed and returned this
agreement to us.




      2381 Rosecrans Avenue, Suite 405 I El Segundo, CA 90245 I 310-540-1505 I www.maloneyfirm.com


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 Stephen J. Dorrell, Receiver
 BOBSON/BAE PARTNERSHIP
 Re: Engagement Agreement
 February 29, 2024
 Page: 2 of 10


 1.        Retention for Limited Purpose.

        You are retaining the firm to represent the Receivership Estate with regard to claims
against Alejandro Herrera and Herrer Clifton Hess ("Herrera") for legal malpractice, breach of
fiduciary duty, and any other appropriate claims or causes of action arising from or in any way
related to Herrera's representation of the enterprise known as Birdies, generally, and/or within
the State Court Lawsuit. Additionally, you are retaining the firm to prosecute related claims
against Keith Bae and James Bae, to the extent their conduct has caused or contributed to harm
suffered by the Birdies' business. Collectively, Herrera, Keith Bae, and James Bae are referred
to herein as "Defendants." The services contemplated hereunder include efforts to cause a
settlement prior to the filing of suit, the initiation and prosecution of lawsuits or arbitrations
through trial or arbitration, and post-trial motions.

        Unless otherwise agreed in writing, the services contemplated hereunder do not include
the prosecution or defense of an appeal, judgment enforcement efforts, or proceedings in a
bankruptcy court, other than the filing of a Proof of Claim. In the event the orderly progress of
this case requires any of the services referenced in this paragraph, the firm shall have the option,
but not the obligation, to provide those services.

       Be advised that this firm does not provide tax advice. You are advised to speak with your
own tax professionals concerning any tax issues that may arise in connection with our
representation of you.

       This firm has not been retained through this agreement to represent you, individually, nor
FedReceiver, nor the Receivership Estate, generally, or in connection with any other matter. If
you request our services on any additional matters, the fee arrangement, if not agreed upon at the
time, will be based upon the firm's regular hourly rates at the time the work is performed, on the
terms set forth below.

2.         Financial Terms of Our Representation of You.

           A. Fee Structure.

        You have informed us that the Receivership Estate is presently without sufficient funds to
retain counsel to provide services on an hourly rate basis or to advance costs and expenses as
necessary for the matters contemplated herein. As such, we have agreed to represent you in this
matter on a contingency fee basis and to advance expenses and costs likely as we deem necessary.

        As set forth below and with certain exceptions, the fee for the services we provide will be
calculated as a percentage of any "Gross Recovery" we obtain on your behalf.

           In addition to the attorneys' fees due to the firm for its services, the Receivership Estate


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 Stephen J. Donell, Receiver
 BOBSON/BAE PARTNERSHIP
 Re: Engagement Agreement
 February 29, 2024
 Page: 3 of 10


 will also reimburse the firm from its portion of the Gross Recovery for all costs and expenses,
 including expert witness fees, the firm has advanced on its behalf. Thus, in the event of a successful
 outcome, the firm will receive both a contingent fee and reimbursement for advanced costs.

        "Gross Recovery" is the total amount recovered on your behalf; inclusive of any award of
legal fees, costs, or interest; and whether obtained by settlement, judgment, the enforcement of a
judgment, indemnification, or other means or theory. If the Gross Recovery is in a form other than
monetary consideration, then the parties will endeavor in good faith to reach agreement on the
total value of the Gross Recovery for purposes of calculating the contingent fee due to the firm. If
the parties cannot reach an agreement on the value of the Gross Recovery, then they shall
participate in a mediation to resolve the valuation of the Gross Recovery.

           The contingent fee structure for this matter shall be as follows:

        1.     If we are successful resolving any claims with any particular Defendant within 90
days of the date of our first communication to that Defendant, then contingent fee for our services
will be 30% of the Gross Recovery obtained from such Defendant,

       2.       Thereafter, until the earlier of the date on which the firm had advanced expert
witness fees in a total amount of $25,000 or the date on which the parties are required to designate
expert witnesses, the contingent fee for our services will be 37.5% of the Gross Recovery; and

           3.     Thereafter, the contingent fee for our services shall be 45% of the Gross Recovery.

        In the event a court or arbitrator awards attorney's fees to the Receivership Estate as a
prevailing party, then the contingent fee due to the firm will be the larger of either the fee award
or the contingent fee as calculated on the terms set forth above.

        In the event a court or arbitrator orders any of Defendants to pay sanctions, attorneys' fees
(other that fees awarded to the Receivership Estate as a prevailing party) or costs, those sanctions,
attorneys' fees, or costs, shall belong to the firm.

       If the matter settles on terms requiring periodic payments or proceeds to a judgment and it
becomes necessary to take steps to enforce the judgment, then the amounts collected under the
judgment shall be first allocated to reimbursement for advanced costs and expenses, including
expert witness fees. Thereafter, the remaining funds collected hereunder shall be allocated from
between the firm and the Receivership Estate on a pro-rata basis.

         Although we are representing you on a contingency fee basis, the firm's hourly rates are
set forth below and may become relevant in the event of an award of legal fees, or if we represent
you in relation to any other matter. The firm will bill monthly for the attorney's time, at the firm's
hourly rates, for all work performed and for travel time necessary for the conduct of this matter.
The fees relating to the legal services (as contrasted with out-of-pocket costs) provided by the firm

00216283


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 Stephen J. Danell, Receiver
 BOBSON/BAE PARTNERSHIP
 Re: Engagement Agreement
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 Page: 4 of 10


 will be calculated with respect to the following hourly rates, which will remain in effect for this
 matter through 2024:

                Attorney                                         Hourly Rate

                Patrick Maloney                                    $700.00
                Gregory Smith                                      $575.00
                Elizabeth Schaus                                   $495.00
                Carl Mueller                                       $525.00
                Gary A. Varnavides                                 $475.00
                Sharon Choi                                        $425.00
                Paralegals                                         $150.00

       The firm reserves its right to hire additional counsel and staff them on your matter at rates
commensurate with their experience and market rates without notice. Generally, the firm
increases its rates at the beginning of each successive calendar year to reflect the increased
experience of our personnel and inflation. The increased rates will generally be reflected in our
February invoice for January services. This invoice will be the only written notice of this
increase. The firm reserves the right to adjust its hourly rates at other times with 30-days'
advance written notice thereof.

       You are advised thefee structure/or this representation is not set by law, but rather is
negotiable.

                B.      Costs.

        You have authorized us to incur litigation costs and related expenses which include, but
are not limited to, deposition and court transcripts, photocopying, Lexis and/or Westlaw
( computerized legal research), telephone, fax, filing fees, parking, mileage, investigators, courier
and postage charges, word processing, computerized litigation support, expert consultants, and
travel costs which we deem necessary for the proper handling of this matter.

        You are advised that we expect this matter may require testimony from and consultation
with multiple expert witnesses. In particular, we will likely need to retain the services of expert
witnesses on at least the following issues: (1) the standard of care applicable to attorneys; (2) the
fiduciary duties that attorneys owe to their clients, (3) conflicts of interest arising when an
attorney represents multiple parties, and ( 4) damages. The nature and scope of experts expected
to be required for this matter may change as this matter progresses and additional information
comes to light.

       As noted above, in the event of a Gross Recovery, you agree to reimburse the firm for all
advanced costs and expenses, including expert witness costs, the firm has advanced on behalf of
the Receivership Estate.


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                  C.     Insurance.

        You may have a policy of insurance that provides for the payment of legal fees or costs
incurred to defend you in connection with your matter. You are advised to examine any
insurance policies you may have to determine whether those policies are applicable to this
matter. If you have any questions concerning the types of insurance you should look for or the
steps required to tender claims to your insurance carrier, please ask us. Unless expressly agreed
in writing, the firm shall have no obligation to investigate or evaluate whether insurance is
available for any matter covered by this engagement or to tender any of the matters covered by
this engagement to any insurance carrier.

        If your claims or defenses are covered, in whole or in part, by insurance, you (not the
insurance carrier) shall be responsible for payment of the entirety of the legal fees incurred, as
set forth above.

       The California Rules of Professional Conduct require us to inform you whether the firm
maintains errors and omissions insurance. The firm does maintain errors and omissions
insurance coverage applicable to the services to be rendered on your behalf.

3.         Your Obligations to Us.

       In retaining us, you agree that you will comply with all requests for information,
documents, input on strategy, and other requests related to this representation in a timely, full,
complete, and honest fashion. You agree to update us concerning any changed circumstances
that may impact our representation of you. You agree to keep us advised of any anticipated or
planned vacations, trips, medical procedures, or other schedule conflicts you may face that might
impair your ability to participate as needed in our representation of you. You agree to keep all
appointments, and to attend meetings or hearings where you are advised your presence is
necessary.

4.         Billing and Payment.

        This firm will provide you with statements on a regular basis, describing the services
rendered, the resulting legal fees, and any costs incurred. We generally issue invoices once per
month, but may do so at different intervals, shorter or longer, as circumstances warrant. We will
also furnish you with any other information regarding billing matters as you may reasonably
request. We will transmit invoices to you by electronic mail unless you request another method
of delivery.

           Payment is due upon receipt of our invoice or invoices to you.



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        All payments due shall be made payable to and delivered to The Maloney Firm, APC.
We accept payment by check, wire transfer, or credit card. Credit card payments may be made
online at our firm's payment portal: https://wwYv.malonevfirrn.corn/pavment/. Additionally, our
wire instructions are attached.

        When we represent more than one client, each of the clients is responsible for paying the
entirety of the fees and costs incurred, unless we have made other arrangements with you, in
writing.

        In the absence of any written objection to any statement within thirty (30) days of its
receipt, you will be deemed to have accepted and acknowledged the statement as correct through
the period covered by the statement.

       It is the firm's practice to charge interest at the rate of one percent (1%) per month on the
unpaid balance of any sums not paid within thirty (30) days of the date of the applicable
statement.

5.         Mediation as Prerequisite to Formal Legal Proceedings.

        If any dispute arises between you and this firm, including, but not limited to, disputes
over billing, fees, claimed malpractice, or any other complaints, we both agree that the dispute
shall be submitted first to mediation. Mediation is a condition precedent to any arbitration or
Superior Court proceeding, and both the Client and the firm agree to use their best efforts to
submit any such dispute to mediation, with each party thereto sharing equally the cost of a
mutually agreeable mediator (preferably, an "ADR Services" judge), to be governed by the
mediation rules then in effect at ADR Services. Only in the event that a full-day mediation
session is unsuccessful may either party then request or pursue relief in Los Angeles Superior
Court, or, if both parties agree, arbitration.

6.         Termination and/or Withdrawal.

           You have the right to terminate our services at any time.

       This firm shall have the right to withdraw from this representation for any other reason
for which withdrawal is authorized or required by Rule 1.16 of the California Rules of
Professional Conduct approved by the California Supreme Court.

        In the event you terminate our services, you will remain obligated both to compensate the
firm for its services in the event of a Gross Recovery and to reimburse the firm for all costs and
expenses it advanced on your behalf.




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        In certain circumstances, if the firm withdraws its representation of you, the firm may be
deemed to have waived our right to a contingent fee in the event of a Gross Recovery.
Irrespective of whether the firm waives its right to a contingent fee, you agree that in the event of
a Gross Recovery, the HOA will reimburse the firm for all costs and expenses advanced on your
behalf.

7.         Lien.

        You hereby grant the firm a lien on any recovery you may obtain in this matter and any
matter in which we are representing or in the future represent you to secure the payment of our
legal fees and advanced costs in that specific matter and in any other matter in which we are now
representing or in the future represent you. Thus, for purposes of clarification and as an
example, if you fail to pay fees owing in one matter and we collect a settlement or judgment for
you in another matter, the fees collected in the second matter shall be applied to the outstanding
receivable in the first matter, as well as the second matter.

        By agreeing to this lien, you acknowledge the firm may use monies you recover to satisfy
any outstanding legal bills. You also acknowledge that any funds generated or collected as a
result of our representation of you, including but not limited to amounts recovered by settlement,
judgment, or sanctions, will be deposited into the firm's trust account, and applied against any
outstanding balance you then have with the firm.

         The lien you are granting to us also applies in the event you terminate our services, or it
becomes necessary for us to withdraw from this matter. Thus, if you decide no longer to work
with us and successor counsel obtains a recovery on your behalf, we will still maintain a lien on
such funds. In these circumstances, you agree to advise any subsequent counsel of the existence
of the lien you have granted to us hereunder.

        Because the granting of a lien to this firm is, in many instances, adverse to you, because it
grants us a property right in your recover and may delay the disbursement of funds to you, you
are advised and encouraged to ask any questions you may have regarding this or any other
provision in this agreement. Additionally, you are advised to consult with independent counsel
of your own choosing to determine whether signing this agreement, including granting a lien in
our favor, is in your best interest.

8.         Disclosure.

       Lawsuits are inherently uncertain and can be expensive. Despite our best efforts, you
may suffer an adverse outcome in the matter in which we will represent you. We do not
guarantee the outcome or results of lawsuits.




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         To the extent we express to you our opinions concerning the outcome or recommend a
 particular course of action or the fees and costs that may be generated by a particular course of
 action, such opinions and recommendations are the product of our reasoned judgment. Such
 recommendations and opinions are not, however, guarantees of the success of any chosen or
 recommended strategy or the fees that will be generated as a result of such recommendations.

        Similarly, despite our best efforts to control the burden and expense of the matter in
which we are representing you, the total fees and burden occurring in a suit are often beyond our
control. Opposing parties and their counsel may take positions or utilize strategies that require
substantial effort on our part. Similarly, courts occasionally make unexpected rulings, which can
impact the path of your matter.

        You are advised that if you are not successful in the matter in which we are representing
you, you may be found responsible for paying the attorney's fees or costs incurred by your
adversary. In that event, you are solely responsible for paying such fees and costs, and the firm
shall have no responsibility for such fees or costs.

9.         Disclosure of Potential Conflicts of Interest.

           We are not presently aware of any conflicts of interest inherent in this representation.

10.        Client File and Property.

        The client file generated during our representation of you belongs to you. At the
conclusion of our representation of you, including the termination or withdrawal of our
representation of you, subject to any restrictions that may arise from the existence of a
confidentiality order or protective order, you are entitled to receive your client file and any of
your property that is in our possession. If you wish to receive the client file, please notify us in
writing of your wishes. If you do not notify us that you would like to receive the client file, then
we will store the file for a period of three years. At the conclusion of that period, we will arrange
to have the client file destroyed.

11.        Miscellaneous.

        In executing this agreement neither party has relied upon any inducements, promises or
representations made by the other party other than the explicit provisions of this agreement. This
agreement contains and is the entire agreement between the parties. This agreement may be
modified only by subsequent written agreement signed by all parties. If any provision of this
agreement is held in whole or in part to be unenforceable for any reason, the remainder of that
provision and of the entire agreement will be severable and remain in effect. This agreement
shall be binding upon and shall inure to the benefit of each party's respective heirs, legal
representatives, successors, and assigns. All questions with respect to the construction or


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interpretation of this agreement and/or the rights and liabilities of the parties hereto shall be
governed by the laws of the State of California, without regard to principles of conflict of law.

12.        Conclusion.

       By signing below, you are representing that you have asked, and we have answered any
questions you may have concerning the terms upon which we will represent you and also that
you have been provided the opportunity to consult with independent counsel concerning the
terms herein and you either did so or voluntarily decided not to do so.

        If this agreement is acceptable to you, please sign it and return it to us, and with any
requested Fee Deposit. You should retain a copy of the signed agreement for your files. If you
discover that due to an oversight, you have not received a fully executed copy of this agreement,
please let us know and we will provide one to you.

        This agreement may be executed in counterparts, each of which when so executed and
delivered to the other shall constitute one and the same instrument. The parties further agree that
signatures may be exchanged by facsimile transmission or electronically via email. Facsimile or
electronic signatures shall have the same weight and effect as an original signature.

       As noted above, our representation of you will begin only upon such time as we have
received a fully signed copy of this fee agreement.

           We look forward to working with you in this matter.

                                                  Sincerely,

                                                  THE MALONEY FIRM, APC


                                                  /?z-_)'1J?--
                                                  Patrick M. Maloney


                                         Stephen J. Donell, Receiver
                                         BOBSON/BAE PARTNERSHIP
                                         Bobson v. Bay, Los Angeles County Superior Court
                                         Case No. BC650612



                                         Stephen J. Donell


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              The Maloney Firm, APC Trust Account Wire Instructions

                                  Domestic Wires

                               The Maloney Firm, APC
                            Attorney Client Trust Account
                                 City National Bank
                              Routing No.: 122016066
                                Acct. No.: 200053362



                                 International Wires

                              The Maloney Firm, APC
                           Attorney Clients Trust Account
                           2381 Rosecrans Ave., Suite 405
                               El Segundo, CA 90245
                             SWIFT Code: CINAUS6L
                               Acct. No.: 200053362




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 Michael Buhman

 From:                                   Stephen J. Donell, CCIM, CPM <steve.donell@fedreceiver.com>
 Sent:                                   Monday, February 26, 2024 8:52 AM
 To:                                     kbaecommerce@gmail.com
 Cc:                                     Alejandro Herrera; Sarah R. Bates; Michael Bubman
 Subject:                                RE: Why is Jason is the new owner?


 Keith,
 Yes, I did provide Jason with access so that he could show an investor the restaurant and I am in discussions
 with him about his possible role in the restaurant and he is being provided access this morning to clean the
 restaurant and to view the business operations. No, he is not "prepping" for re-opening - he stated he would
 bring in a cleaning/maintenance crew but there are no plans or agreements in place to re-open at this time
 due to lack of funds. But to be clear, he is there with my express permission and authority.
Steve

Stephen J. Donell, CCIM, CPM
President I Receiver I Partition Referee I Interim Trustee I Asset Manager
Jalmar Properties, Inc., AMO
FedReceiver, Inc.
Donell Expert Services, Inc.
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025
United States
Main: 310-207-8481 ext:114
Fax: 310-806-4178
Direct: 310.689.2175
Email: steve.donell@fedreceiver.com
Web: www.fedreceiver.com
DRE# 01295754
Disclosure: The information contained herein is confidential and privileged attorney-client
information or work product intended only for the individual or entity to whom it is addressed.
Any unauthorized use, distribution or copying of this communication is strictly
prohibited. If you have received this communication in error, please notify m� immediately.


From: kbaecommerce@gmail.com <kbaecommerce@gmail.com>
Sent: Monday, February 26, 2024 8:25 AM
To: Stephen J. Donell, CCIM, CPM <steve.donell@fedreceiver.com>
Cc: Alejandro Herrera <alex@hch.law>; Sarah R. Bates <sarah.bates@fedreceiver.com>; Michael Bubman
<mbubman@mbn.law>
Subject: Re: Why is Jason is the new owner?


**CAUTION** External Email

Steve,

                                                                     1


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Why would you give access to Jason to have an investor meeting at 11 :00 am at the restaurant? And
didn't you talk to the police yesterday at 11 am giving Jason access to the restaurant?

Are you working with Jason to reopen the restaurant at any capacity such as finding investors and
working on taking over the lease?

Are you giving access to Jason today to prep for reopening?

Keith

On Mon, Feb 26, 2024 at 7:43 AM Stephen J. Danell, CCIM, CPM <steve.donell@fedreceiver.com> wrote:
I don't know why he would say any of those things.

Steve



        Stephen J. Donell, CCIM, CPM
        President I Receiver I Partition Referee I Interim Trustee I Asset Manager
        Jalmar Properties, Inc., AMO
        FedReceiver, Inc.
        Donell Expert Services, Inc.
        12121 Wilshire Blvd., Suite 1120
        Los Angeles, CA 90025
        United States
        Main: 310-207-8481 ext:114
        Fax: 310-806-4178
        Direct: 310.689.2175
        Email: steve.donell@fedreceiver.com
        Web: www.fedreceiver.com
         DRE# 01295754
        Disclosure: The information contained herein is confidential and privileged attorney-client
        information or work product intended only for the individual or entity to whom it is addressed.
        Any unauthorized use, distribution or copying of this communication is strictly
        prohibited. If you have received this communication in error, please notify me immediately.


        On Feb 26, 2024, at 5:20 AM, kbaecommerce@gmail.com wrote:



        **CAUTION** External Email

        Steve,

        Why is Jason claiming he is the new owner and asserting that Michael Bubman has a court
        order to kick me out and hand over the restaurant for him to operate as of this Friday?
        Yesterday, at 11:00 A.M., Jason arranged a meeting at Birdies with his investor so "he could

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get his money"? He said he will be returning on Monday to prepare the restaurant for
reopening by the end of the week.

Keith




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 Michael Buhman

 From:                                     Sarah R. Bates <sarah.bates@fedreceiver.com>
 Sent:                                     Friday, February 16, 2024 2:05 PM
 To:                                       Stephen J. Donell, CCIM, CPM; Michael Bubman
Subject:                                   Birdies - 3 day notice
Attachments:                               72981208580_D2A4F62A-37F4-4CAO-A058-6853DAAFE641.jpg


Keith instructed Patrick to give this to Oscar, it was on the counter when Patrick arrived this morning. No proof of
service.

Sarah R. Bates
Receiver Administrator I Vice President
Jalmar Properties, Inc., AMO
FedReceiver, Inc.
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025
United States
Tel: 310-207-8481 ext:119
Fax: 310-806-4178
Email: sarah.bates@fedreceiver.com
Web: www.fedreceiver.com
Disclosure: The information contained herein is confidential and privileged attorney-client
information or work product intended only for the individual or entity to whom it is addressed.
Any unauthorized use, distribution or copying of this communication is strictly
prohibited. If you have received this communication in error, please notify me immediately.




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                         3·-DAY NOTICE TO PAY RENT OR MOVE OUT
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   2/16/2024 CHECK 8183                      -768.78 CHECK_PAID                 8183
   2/14/2024 CHECK 9063                      -914.25 CHECK_PAID                 9063
   2/14/2024 CHECK 30453                     -493.45 CHECK_PAID                30453

 Sarah




Sarah R. Bates
Receiver Administrator I Vice President
Jalmar Properties, Inc., AMO
FedReceiver, Inc.
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025
United States
Tel: 310-207-8481 ext:119
Fax: 310-806-4178
Email: sarah.bates@fedreceiver.com
Web: www.fedreceiver.com
Disclosure: The information contained herein is confidential and privileged attorney-client
information or work product intended only for the individual or entity to whom it is addressed.
Any unauthorized use, distribution or copying of this communication is strictly
prohibited. If you have received this communication in error, please notify me immediately.

From: kbaecommerce@gmail.com <kbaecommerce@gmail.com>
Sent: Wednesday, February 21, 2024 4:40:34 PM
To: Sarah R. Bates <sarah.bates@fedreceiver.com>
Cc: Stephen J. Donell, CCIM, CPM <steve.donell@fedreceiver.com>; Alejandro Herrera <alex@hch.law>; Michael
Bubman <mbubman@mbn.law>
Subject: Re: Luke's last paycheck (72 hours after his resignation), Reminder Payroll checks need to go out starting
tomorrow


**CAUTION** External Email

Sarah,

For the item below, please provide me with the check numbers, amounts, and images of the checks. This
will help me identify the staff with double payment. I will then discuss the matter with the relevant staff
and obtain written consent to make any necessary adjustments or repayments in accordance with legal
requirements so you could release the payroll checks.

Could you work on it tonight so that I could get it to you first thing in the morning?



   •     Payroll issued by Keith Bae that has cleared the account $5,118.86 (excludes any payroll
         withholdings)


                                                                         2

                                                                   Exhibit A Page 81
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                                          CHASE O for BU s IN ESS ®
                                                            Printed from Chase for Business



          $493.45                                      Feb 14, 2024
                                                       Post date
                                                                                                   30453
                                                                                                   Check#
          Total




                                                                                           . ..   --·


                                BIRDIES DT PAYROLL                                 Chase                      Check No. 30453
                                   314 W. Olympic Blvd                              CA
                                  Los Angeles CA 90015                            90{(162
                                     (818) 436-2775


                       Four Hundred Ninety-Three Dollars and Forty-Five Cents
                                                                       .
                                                                                            Date                   Amount
                                                                                      02/05/2024            .,_....$493.45
                  Pay    Seth M, Walkey
                  to the 541 S Spring SI
                  Order Los Angeles CA 90013
                  of                                                                                                                 I
                                                                                                                                MP   I




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                                                                       Exhibit A Page 82
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                                           CHASEO for BU s IN ESS®
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          $670.82                                        Feb 20, 2024
                                                         Post date
                                                                                                         30448
                                                                                                         Check#
          Total




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                                BIRDIES OT PAYROLL                                        Chase                               Check No. 30448
                                   314 W. Olympic Blvd                                     CA
                                  Los Angeles CA 90015                                   8017162
                                     (818) 436-2775


                       Six Hundred Seventy Dollars and Eighty-Two Cents

                                                                                                    Date                           Amount
                                                                                                                           •······•s510.a2
                                                                                              02/0512024
                  Pay Hamzeh A. Islam
                  lo the 5032 W. Maplewood Ave
                  Order Los Angeles CA 90004
                  of                                                                          P,@N 1),�
           ---------------------------                                                                   --------·----..~·-IIP




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                                                                          Exhibit A Page 83
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                                            CHASE O for BU s IN ESS®
                                                     Main Document    Page 84 of 251


                                                            Printed from Chase for Business



          $914.25                                       Feb 14, 2024
                                                        Post date
                                                                                                  9063
                                                                                                  Check#
          Total




                                 BAE FG CORP                                   JP MORGAN CHASE BANK, N.A.                           9063
                                                                               WWW.CHASE.com

                                                                               9017162                DATE       =4..r/-4:Yf
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                                          CHASE O for Bus IN Es S ®
                                                                  Printed from Chase for Business



          $1,484.76                                         Feb 16, 2024
                                                            Post date
                                                                                                                        9060
                                                                                                                        Check#
         Total




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                             BAEFG CORP                                                      JP MORGAN CHASE BANK, N.A.                              9060
                                                                                             WWW.CHASE.com

                                                                                            8017162                               DATE   2 /S   /::zcyt
                  PAY TO THE                                  /
                  ORDER OF _____...._M
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 Michael Buhman

 From:                             Igor -ATPP <igor@accountingtaxespayroll.com>
 Sent:                             Thursday, February 15, 2024 11 :18 AM
 To:                               Sarah R. Bates
 Cc:                               steve.donell@fedreceiver.com; blandau@slbiggs.com; Michael Bubman; Maya -ATPP
 Subject:                          FW: Birdies DT Payroll
 Attachments:                      Birdies DT Payroll; Payroll Reports 02 15 24.pdf; Payroll Summary_ Keith Bae.pdf; Payroll
                                   Summary_ Mariana Ayala.pdf


 Hi Sarah,

Please see additional payroll for Keith and Mariana for 02/15 as well as email regarding EIN change for 2023.

Best,

Igor Zaikin
Accounting Tax Payroll Partners
15760 Ventura Blvd, Suite 610
Encino, CA 91436
{818) 436-2775 Ext 100
{818) 436-2825 Fax

 IJ □ fm
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attachments that arise as a result of e-mail transmission.




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 BIRDIES DT PAYROLL                                                                                      Page: 1
 Payroll Summary: Keith Bae
 02/15/2024
BIRDIES OT PAYROLL                                           Pay Date:            02/15/2024
314 W. Olympic Blvd                                          Period Beginning:    01/29/2024
Los Angeles CA 90015                                         Period Ending:       02/11/2024
                                                             Social Security:     xxx-xx-2555
Keith Bae
419 N. Larchmont Blvd 298
Los Angeles CA 90004


Incomes                          Amount      Year-to-Date
Salary                           3,125.00        3,125.00
 Totals:                         3,125.00        3,125.00

Taxes and Deductions             Amount      Year-to-Date
Federal Income Tax                251.71           251.71
Social Security - Employee        193.75           193.75
Medicare - Employee                45.31            45.31
CA Income Tax                      63.61            63.61
CA Disability Insurance            34.38            34.38
 Totals:                          588.76           588.76

Pa�ment                          Number           Amount        Year-to-Date
Check                                 1           2,536.24          2,536.24

Leave                        Begin    Earned            YTD          Used        YTD    Balance
Sick Leave                   48.00      0.00            0.00          0.00       0.00     48.00




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 BIRDIES DT PAYROLL                                                                                        Page: 1
 Payroll Summary: Mariana Ayala
 02/15/2024
BIRDIES DT PAYROLL                                             Pay Date:               02/15/2024
314 W. Olympic Blvd                                            Period Beginning:       01/29/2024
Los Angeles CA 90015                                           Period Ending:          02/11/2024
                                                               Social Security:        xxx-xx-1965
Mariana Ayala
2301 Kent St.
Los Angeles CA 90026


Incomes                              Hours              Rate         Amount        Year-to-Date
Salary                                                               1,354.17          1,354.17
 Totals:                                                             1,354.17          1,354.17

Taxes and Deductions             Amount       Year-to-Date
Federal Income Tax                 79.22             79.22
Social Security - Employee         83.96             83.96
Medicare - Employee                19.64             19.64
CA Income Tax                       9.15              9.15
CA Disability Insurance            14.90             14.90
 Totals:                          206.87            206.87

Pa�ment                          Number            Amount        Year-to-Date
Check                                 1            1,147.30          1,147.30

Leave                        Begin     Earned            YTD           Used           YTD     Balance
Sick Leave                   48.00       0.00            0.00           0.00          0.00      48.00




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Michael Buhman

From:                         kbaecommerce@gmail.com
Sent:                         Monday, March 27, 2023 1 :02 PM
To:                           Igor -ATPP
Subject:                      Birdies DT Payroll


Igor,

Effective this year, DT payroll will be filed under BAE FG Corp EIN XX-XXXXXXX. Please make this change
as of the 2023 1st quarter filing.

We would like to review the payroll filings before they are submitted. Do you think you could send the
941 and DE9C for our review?

Please let me know if you have any questions. Thanks.




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Michael Buhman

From:                            kbaecommerce@gmail.com
Sent:                            Wednesday, February 14, 2024 12:46 PM
To:                              Sarah R. Bates
Cc:                              Stephen J. Donell, CCIM, CPM; Alejandro Herrera; Michael Bubman; Brian Landau
Subject:                         Re: Birdies


Sarah,

Igor already possesses all the W4s, including Jose Mandujano's details. If payroll isn't addressed
today, the staff is prepared to escalate the matter to the Labor Board, and they've informed me they'll
seek penalties for delayed payroll. Steve assured everyone that paychecks wo�ld be prepared by
Monday or Tuesday, without exception beyond Wednesday. I fail to see how you expect staff
members to continue working without payment for 10 days.

You have access to ATPP and Homebase, enabling you to retrieve the necessary information
independently. Additionally, your GM access grants you full access to all pertinent payroll data.
Homebase only provides staff hours and no rates are included.

Mariana lacks any records for the business. She serves as my assistant, not as a bookkeeper or payroll
administrator.

Keith


On Wed, Feb 14, 2024 at 12:24 PM Sarah R. Bates <sarah. bates@fedreceiver.com> wrote:

Hi,




Ok, I'll see at the restaurant at 2pm. I found W4s for four out of the five employees in the W4s you provided. I am
still missing information for Jose Mandujano. I will forward the W4s to ATPP and ask them to update their records
and we will include everyone except Jose Mandujano when payroll is issued. I'm hopeful the payroll checks will
be available today or tomorrow. Steve has another meeting with Chase Bank today at 1 pm.




Forward the 2/15/24 payroll information to me, along with the backup timesheets, Homebase reports, etc. Again,
you ignored my request for administrative access to Homebase. I'd also like to speak with Mariana if she has
records for the business, including payroll records or other financial records. That information needs to be turned
over. Does she act as your bookkeeper? What is her role other than payroll administration?




                                                         1

                                                    Exhibit A Page 92
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Sarah R. Bates
Receiver Administrator I Vice President
Jalmar _Properties, Inc., AMO
FedReceiver, Inc.
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025
United States
Tel: 310-207-8481 ext:119
Fax: 310-806-4178
Email: sarah.bates@fedreceiver.com
Web: www.fedreceiver.com
Disclosure: The information contained herein is confidential and privileged attorney-client
information or work product intended only for the individual or entity to whom it is addressed.
Any unauthorized use, distribution or copying of this communication is strictly
prohibited. If you have received this communication in error, please notify me immediately.



From: kbaecommerce@gmail.com <kbaecommerce@gmail.com>
Sent: Wednesday, February 14, 2024 11:40 AM
To: Sarah R. Bates <sarah.bates@fedreceiver.com>
Cc: Stephen J. Danell, CCIM, CPM <steve.donell@fedreceiver.com>; Alejandro Herrera <alex@hch.law>; Michael
Bubman <mbubman@mbn.law>; Brian Landau <blandau@slbiggs.com>
Subject: Re: Birdies




**CAUTION** External Email

Yes 2 p.m. today for $700 cash.



Attached is my original sheet that shows the payroll that needed to be paid out emailed to you last week
February 9, 2024 at 9:39 AM.

I explained to you in our initial conversation, some staff are paid in cash. You later stated that all staff
must be included in the payroll service, and I have since addressed this. Furthermore, I have sent the
payroll information to ATPP, Mariana and myself to be processed for the payment due tomorrow on the
15th.



If you have concerns about social security numbers not appearing on the payroll summary, please
direct your inquiry to ATPP.




                                                                       2

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On Wed, Feb 14, 2024 at 11: 17 AM Sarah R. Bates <.s..arah.bates@fedreceiver.com> wrote:

 Keith,



 You are just now responding to my offer to bring you cash. I've been emailing you since yesterday with this offer.
 Instead you said you were taking cash from the restaurant, despite the fact that you aren't authorized to do so. I
 offered to meet you at the restaurant at 2pm to bring you the cash I have, a little over $700.00. That offer stands.
 Let me know if that works for you.



 Regarding payroll, you have made things even more difficult by suddenly changing the payroll report. You've
 altered pay rate, hours worked, tips, and overtime hours. Even more suspect, you've added five employees:




 Raymundo Aguilar Hernandez

 Jose Mandujano

 Oscar Rodriguez

 Baltazar Santiago

Glenda Vasquez



None of these employees are listed on the personnel list provided by Igor at ATPP. None of these employees
have been paid through payroll up until now. I need an explanation as to why these employees have suddenly
appeared. They also do not have social security numbers on their payroll summary, and we cannot issue them a
check without that.



I must have asked for access to Homebase at least a dozen times by now, I need administrative access now.



Sarah




Sarah R. Bates
Receiver Administrator I Vice President
Jalmar Properties, Inc., AMO
FedReceiver, Inc.
12121 Wilshire Blvd., Suite 1120
                                                         3

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  Michael Buhman

  From:                                     Sarah R. Bates <sarah.bates@fedreceiver.com>
 Sent:                                      Tuesday, February 20, 2024 11 :24 AM
 To:                                        kbaecommerce@gmail.com; Keith Bae
 Cc:                                        alex@hch.law; Stephen J. Donel!, CCIM, CPM; Michael Bubman
 Subject:                                   Administrative Access - Birdies - GrubHub, DoorDash, UberEats, Ario, Quickbooks, Toast
 Attachments:                               Kbaecommerce Main_ Edit User - Restaurant Access.pdf; M Admin_ Edit User -
                                            Restaurant Access.pdf; Sarah Bates_ Edit User - Restaurant Access.pdf


 Keith,

 You still have not provided us with administrative access for UberEats. I am unable to change the banking
 information for UberEats due to this issue. I need full administrative access. I must have asked 20 times for this
 already.

 You still have not provided us with administrative access for DoorDash. I am unable to create reports or change
 the banking information. I need full administrative access. I must have asked 20 times for this already.

 You have not provided any login information for GrubHub, I need full administrative access. I must have asked 20
 times for this already.

 I have also made numerous requests for access to the security cameras and Quickbooks with no response.

Regarding Toast, there are individual restaurants set up in the "Restaurant Access". There are restaurants titled
"Birdies - DTLA *NEW" among others that I don't have any access to. I cannot edit the permissions on this page. I
need access to these as well. See attached screenshots of your access vs my access.

Sarah

Sarah R. Bates
Receiver Administrator I Vice President
Jalmar Properties, Inc., AMO
FedReceiver, Inc.
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025
United States
Tel: 310-207-8481 ext:119
Fax: 310-806-4178
Email: sarah.bates@fedreceiver.com
Web: www.fedreceiver.com
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 Home / Employees / Kbaecommerce Main / Edit User / Restaurant Access



   Basic      Jobs and Permissions     Restaurant Access




 Accessible Restaurants:   II Wok n' Tender Group
                             m Birdies - DTLA *NEW - 314 West Olympic Blvd
                             m Birdies -Norco *NEW -1845 Hamner Ave Suite A
                             0 Birdies Chicken Sandwich - DTLA - 314 West Olympic Boulevard Los Angeles, CA 90015
                             0 Birdies Chicken Sandwich - NORCO - 1845 Hamner Avenue Suite A Norco, CA 92860
                            m Birdies EX - DTLA
                                                                                                               Save




                                      Required app version for Birdies EX -DTLA:
                                                           2.70

                                                    Restaurant ID:
                                                        124947


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 Home / Employees / M Admin / Edit User / Restaurant Access



   Basic      Jobs and Permissions     Restaurant Access




 Accessible Restaurants:   II Wok n' Tender Group
                             LI Birdies -DTLA *NEW -314 West Olympic Blvd
                             LI Birdies -Norco *NEW -1845 Hamner Ave Suite A
                             0 Birdies Chicken Sandwich - DTLA -314 West Olympic Boulevard Los Angeles, CA 90015
                             0 Birdies Chicken Sandwich - NORCO -1845 Hamner Avenue Suite A Norco, CA 92860
                             LI Birdies EX -DTLA
                                                                                                              Save




                                      Required app version for Birdies EX - DTLA:
                                                           2.70

                                                    Restaurant ID:
                                                       124947


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 Home / Employees / Sarah Bates / Edit User / Restaurant Access



   Basic      Jobs and Permissions     Restaurant Access




 Accessible Restaurants:   1:1 Wok n' Tender Group
                             0 Birdies - DTLA *NEW - 314 West Olympic Blvd
                             0 Birdies -Norco *NEW -1845 Hamner Ave Suite A
                             0 Birdies Chicken Sandwich - DTLA -314 West Olympic Boulevard Los Angeles, CA 90015
                             0 Birdies Chicken Sandwich -NORCO -1845 Hamner Avenue Suite A Norco, CA 92860
                            m Birdies EX -DTLA
                                                                                                              Save




                                      Required app version for Birdies EX -DTLA:
                                                           2.70

                                                    Restaurant ID:
                                                       124947


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    Sales summary                                 Main         Document
                                            Data as of Feb 23, 2024, 3:19 PM (PST)
                                                                                   Page 103 of 251
   DATE RANGE:
   February 7, 2024 • February 23, 2024
   SELECTED LOCATIONS:
   DTLA-Birdies EX



    % of total              off

 • SALES TRENDS

  Sales by day                                    Day of week (totals)                                      Time of day (totals)




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  $6K                                             $15K                                                      $6K



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                                                  $10K
                                                                                                            $3K
                                                   $SK
                                                    $0                                                        $0                       h, ..
      Feb 7      Feb 12   Feb 17   Feb 2,                Mon      Wed       Fri      Sun                        4AM 10AM 4 PM 10 PM


. REVENUE SUMMARY                                                                 CASH SUMMARY
   Net sales                                                   $55,574.77          Expected closeout cash                                        $5,480.71
   Gratuity                                                         $0,00          Actual closeout cash                                          $5,480.71
   Tax amount                                                   $4,514,72          Cash overage/shortage                                             $0.00
   Tips                                                         $2,440.27          Expected deposit                                              $5,480.71
   Deferred tax                                                     $0,00         Actual deposit
   Paid in total                                                    $0.00          Deposit overage/shortage
  Total amount                                                 $62,529.76
                                                                                  CASH ACTIVITY
: NET SALES SUMMARY                                                                Total cash payments                                           $5,480.71
  Gross sales                                                  $57,660.67          Cash adjustments                                                  $0,00
  Sales discounts                                              ·$2,085,90          Cash refunds                                                      $0.00
  Sales refunds                                                     $0,00          Cash before tipouts                                           $5,480.71
  Net sales                                                 $55,574,77             Cash gratuity                                                     $0.00

 TIP SUMMARY                                                                       Credit/non-cash gratuity                                          $0.00
                                                                                  Credit/non-cash tips                                          -$2,440.27
  Tips collected                                                $2,440.27
                                                                                  Tips withheld                                                      $0.00
  Tips refunded                                                    $0,00
  Total tips                                                   $2,440.27
                                                                                  Total cash                                                    $3,040.44

 PAYMENTS SUMMARY
  Payme�� �ype                                                 Amount                      Tip s              Grat           Refunds                  Total
                                                                                              -
  Credit                                                 $30,618.66                 $2,416.91               $0.00             $0,00            $33,035.57
  Amex                                                    $2,470.16                   $203.78              $0,00              $0,00              $2,673.94
  Discover                                                  $306.47                    $27,60              $0,00              $0,00               $334,07
  Mastercard                                              $5,421.10                  $435.46               $0,00              $0.00             $5,856.56
  Visa                                                   $22,420.93                 $1,750.07              $0.00              $0,00            $24,171.00
  Gift Card                                                     $0,00                   $0,00              $0,00              $0.00                 $0,00
 Cash                                                     $5,480.71                     $0,00              $0,00              $0,00             $5,480.71
 Other                                                   $23,953.39                   $23.36               $0.00              $0,00            $23,976.75
 Doordash                                                 $7 ,504,17                  $23,36               $0,00              $0.00             $7,527.53
 Gift certificate (paper)                                       $8.25                  $0,00               $0.00             $0,00                  $8,25
 Grubhub                                                  $2,746.98                    $0.00               $0.00             $0,00              $2,746,98
 Uber eats                                               $13,693.99                    $0.00              $0.00              $0.00             $13,693.99
 Total                                                   $60,052.76                $2,440.27              $0.00              $0.00             $62,493.03




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 , UNPAID ORDERS SUMMARY                                                                       : SERVICE MODE SUMMARY
   Unpaid amount                                                                    $36.73                                                                      Total
                                                                                                 Net sales                                                $55,574.77
 : SALES CATEGORY SUMMARY
                                                                                                 Total guests                                                   3,071
   Sales category                       Items        Net sales     Discounts     Gross sales
                                                                                                 Avg/Guest                                                     $18.10
   All-Day                             3,010 $31,559.15 $1,055.40 $32,614.55
   Brunch                                770      $8,476.83        $511.03       $8,987.86
                                                                                                 Total payments                                                 2,966
                                                                                                 Avg/Payment                                                   $20.25
   Donuts                              2,195      $8,412.22        $297.03       $8,709.25
                                       1,583                                     $7,285.25       Total orders                                                   3,071
   Drinks                                         $7,062.81        $222.44
                                                                                                 Avg/Order                                                     $18.10
   No Sales Category Assigned             12     $63.76     $0.00    $63.76
                                                        7
                                       7,570 $55(574:'1 $2,085.90 $5!,660,67                    Turn time                                                       08:32

 REVENUE CENTER SUMMARY                                                                        DISCOUNT SUMMARY
  Revenue center         Items                  Net sales Discounts             Gross sales     Discount                                          Count       Amount
  No Revenue Center     7,454                $54,540.86 $2,059.30              $56,600.16       BOGO (end of night donut special, NO Fri & Sat)     24         $84.15
  Online Ordering                116          $1,033.91            $26.60       $1,060.51       BOGO (for half dozen) 'NO Fri & Sat                  2         $16.50
 Total                          7,570        $55,574.77         $2,085.90       $57,660.67      Breakfast Combo Drink Substitution                 13           $6.50
 DINING OPTION SUMMARY                                                                          Complaint (return visit)                            2          $23.00
   �i,���,g op ti
             � ��
                                      Orders        Net sales     Discounts     Gross sales     Employee Discount                                  11          $78.24
  Take Out                             971 $13,688.92             $811.94 $14,500.86
                                                                                                Employee On-Clock Meal                             65        $705.20
   Phone Order                          82       $2,061.15         $61.25       $2,122.40       Keith Comp                                          8        $121.40
  DoorDash - Delivery                  201       $5,735.50          $0.00       $5,735.50       Law Enforcement                                              $199.26
                                                                                                                                                   38
  DoorDash - Takeout                    54       $1,117.50          $0.00       $1,117.50       Reward Dollars                                     57        $407.67
  Grubhub - Takeout                     95       $2,526.25          $0.00       $2,526.25       Shift lead DC                                                $125.73
                                                                                                                                                  198
  Dine In                             1,158 $16,756.34 $1,186.11 $17,942.45
                                                                                                SHIFTLEAD ONLY- close ticket                       20        $269.75
  Online Ordering - Takeout             58       $1,033.91         $26.60       $1,060.51       The Customer Lisi                                  5        $48.50
  Uber Eats - Takeout                   83       $1,965.50          $0.00       $1,965.50      Total discounts                                    443 . . s2;oss.9o
  Uber Eats - Delivery                 369 $10,689.70      $0.00 $10,689.70
 Total                                3,071 $55,574.77 $2,085.90 . $57,660.67
                    ..
! SERVICE/ DAYPART SUMMARY                                                                     VOID SUMMARY
   Se!vi_ceJ ��y ra�.   Orders                 Net sales     Discounts          Gross sales     Void amount                                                  $800.65
   All-Day              3,058           $55,379.32         $2,077.90           $57,457.22
                                                                                                Void order count                                                  20
  No Service                    13        $195.45              $8.00             $203.45
                                                                                                Void item count                                                   78
 Total                        3!071     $55,574.77         $2,085.9_0          $57,660.67
                                                                                                Void amount%                                                   1.4%

 TAX SUMMARY
  Tax rate                                                                                                                   Taxable amount               Ta)( amount
  CA STATE TAX                                                                                                                 $29,784.49                 $1,787.13
  CA COUNTY TAX                                                                                                                $29,397.85                    $72.31
  CA SPECIAL TAX                                                                                                               $59,475.49                   $965.32
 Non Taxable                                                                                                                    $6,392.33
  Marketplace Facilitator Taxes Paid                                                                                           $12,544.95                 $1,038.79
 Marketplace Facilitator Taxes Not Paid                                                                                         $6,853.00                   $651.17




                                                                                   Exhibit A Page 104
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                                EXHIBITP
                                  Exhibit A Page 105
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 Michael Buhman

 From:                        Sarah R.Bates<sarah.bates@fedreceiver.com>
 Sent:                        Sunday, February 18, 2024 10:10 PM
 To:                          kbaecommerce@gmail.com; Stephen J. Donell, CCIM, CPM; Alejandro Herrera; Michael
                              Bubman
 Subject:                     Re: Important: We need access to Toast POS System


 Keith,

Luke quit after you, Vicky Lee, and Danielle Hefner verbally attacked him over a key delivered to the
restaurant by an unknown person late at night. I won't repeat the detailed report from Luke in this email
without his consent.

I've asked Danielle repeatedly to provide detail on what permissions she needs on Toast, with no
response. When I spoke to her on Saturday she said it was working. If it's such an issue, why hasn't she
responded?

You fail to mention that you have not turned over complete control of the To,ast account to the Receiver.
I'm sure this is just another diversion tactic from the real issues at hand.

I returned Genesis' call this morning, there was no answer and voicemail was full.

The report I received from Luke is nothing short of disturbing. I again demand that you immediately turn
over access to the security cameras as well as access to the historical footage. I am quite familiar with
the bullying you and Danielle Hefner are capable of, I've experienced it myself. You have also harassed
me by calling me repeatedly at 1 :40am with false claims. You left a voicemail stating that you couldn't
turn off online ordering, but according to sales records, all transactions ceased before midnight.

Why are you having keys delivered to the restaurant anonymously in the middle of the night? Why would
a key be so important that you had to verbally attack and bully your employee?


You have intentionally ignored our repeated requests for information and administrative access to
business accounts and records. Your actions are creating a stressful work environment for staff. You
have undermined our efforts for a smooth transition at every turn. Most importantly, you are blatantly
ignoring the court's orders.

Sarah




                                                     1

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Sarah R. Bates
Receiver Administrator I Vice President
Jalmar Properties, Inc., AMO
FedReceiver, Inc.
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025
United States
Tel: 310-207-8481 ext:119
Fax: 310-806-4178
Email: sarah.bates@fedreceiver.com
Web: www.fedreceiver.com
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information or work product intended only for the individual or entity to whom it is addressed.
Any unauthorized use, distribution or copying of this communication is strictly
prohibited. If you have received this communication in error, please notify me immediately.



From: kbaecommerce@gmail.com <kbaecommerce@gmail.com>
Sent: Sunday, February 18, 2024 7:58 PM
To: Stephen J. Danell, CCIM, CPM <steve.donell@fedreceiver.com>; Sarah R. Bates
<sarah.bates@fedreceiver.com>; Alejandro Herrera <alex@hch.law>
Subject: Important: We need access to Toast POS System


**CAUTION** External Email

Sarah,

Due to Luke's resignation, we had to close the restaurant at 6:00 p.m. tonight. Furthermore, you
revoked Mariana and my access to the Toast POS system and limited Danielle's access, hindering
our ability to manage the third-party app. Despite the closure, orders continue to come in, causing
persistent issues both yesterday and today. Danielle has made multiple attempts to reach out to you,
and Genesis has also tried to contact you with no success.

We urgently require access to Toast. It's crucial for you to familiarize yourself with the Toast POS
system before implementing changes. Your alteration or restriction of access is disrupting restaurant
operations. Additionally, please address the expediter monitor in the front of the house; the lack of
visibility makes organizing orders impossible.

Several staff members have voiced concerns regarding potential discrimination, noting that your
responses appear to favor white staff. It's crucial that you promptly address all issues and
communicate with the entire staff without bias.

Keith




                                                                         2
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                               EXHIBITQ
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Exhibits G and H from Alejandro Herrera
Declaration Filed in Support of February 9,
2024 Ex. Parte Application Filed on Behalf
of Birdies, Inc. and Keith Bae


                  Exhibit G



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  Subject: [EXTERNAL] RE: [EXTERNAL] RE: URGENT Bobson v. Bae
  Date:      Tuesday, February 6, 2024 at 5:03:25 PM Pacific Standard Time
  From:     Michael Bubman <mbubman@mbn .law>
 To:         Alejandro Herrera <alex@hch.law>
 CC:        Stephen J. Donell- FedReceiver, Inc.(Steve.Donell@fedreceiver.com) <Steve.Donell@fedreceiver.com>, Brian
            Landau <blandau@slbiggs.com >


 Mr. Herrera:

 I am not going to argue with you about this -you refuse to acknowledge what happened in Court on
 Friday and what we discussed in the hallway. There are no games being played other than you and
 your client continuing to ignore the requests for information from the Receiver. I asked you for
 information about the entities in an email yesterday that you ignored. Please provide this
 information, as well as evidence of current liability insurance.

As for the issue regarding payroll, In order for Mr. Donell to authorize payroll, he needs to see the
payroll information, including:

       1. Payroll register or other report identifying the name of employee, rate of pay, hours worked
       and title;
    2. Confirmation that payroll taxes are being paid;
    3. Amount to be transferred for payroll purposes.

Once this information is received, Mr. Donell can make the appropriate transfer. It is too late in the
day for this to happen today. Once we get this information, we can have a call tomorrow.


Best regards,

Michael Bubman




Mirman, Bubman & Nahmias
16133 Ventura Blvd., Suite 1175
Encino, California 91436
Tel . No.: (818) 451-4600
Fax No.: (818) 451-4620
www.mbn.law
mbubman@mbn law


WE 1 VE MOVED!! Please note our new address

From: Alejandro Herrera <alex@hch.law>
Sent: Tuesday, February 6, 2024 4:42 PM
To: Michael Bubman <mbubman@mbn.law>

                                                                                                                   1 of 3

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 Subject: Re: [EXTERNAL] RE: URGENT Bobson v. Bae

 Mr. Bubman:

 Judge KaIra was very clear in that he was only clarifying the prior order. He made it very clear that this
 order was not doing anything new beyond clearing up names. The fact that your client intended to block
 the use of the business funds for normal business operations was never mentioned by you or your client
 either during court, afterwards, or in any way at all. The authority granted by the original order has
 always been the case, but your client never acted on it, not until now. Clearly, he only did this to retaliate
 against my client after his feelings were hurt (by a compliment that he misunderstood no less) during our
 hallway conversation on 2/2.

 You can hide behind notice of the court's order all you like (even though the order is not in dispute), but
 you're playing games with employee's livelihoods and putting the business at risk. Payroll is at risk of
 going unpaid today because you and your client couldn't send an email or pick up the phone. My client is
 cooperating and intends to continue cooperating, so the gamesmanship by you and your client need to
 stop.

 I'll wait for your conference call dial-in information so the payroll problem can be fixed today.

Regards,
Alejandro H. Herrera I Attorney Partner
c. 310.570.0513 I alex@herreracliftonhess.com
HERRERA CLIFTON HESS
100 Wilshire Blvd., Suite 700
Santa Monica, California 90401
o. 310.310.2201 I w. herreracliftonhess.com
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product doctrine. If you are not the intended recipient, please notify the sender immediately and then delete, destroy, or return the original
message and any attachments without reading or saving in any manner.




From: Michael Bubman <mbubman@mbn.law>
Date: Tuesday, February 6, 2024 at 4:03 PM
To: Alejandro Herrera <alex@hch.law>
Cc: Stephen J. Danell - FedReceiver, Inc.(Steve.Donell@fedreceiver.com)
<Steve.Donell@fedreceiver.com>
Subject: [EXTERNAL] RE: URGENT Bobson v. Bae

Mr. Herrera:

I will reiterate what I just told you in our call. On Friday, you were handed a copy of the order signed
by Judge Katra. The Receiver's approval is required for any and all expenses of the business. Your
client needs to coordinate with Steve Donell about the payment of any expenses, including payroll.


Best regards,

                                                                                                                                                 2 of 3

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 Michael

 :SuiteAmerica




 Mirman, Bubman & Nahmias
 16133 Ventura Blvd., Suite 1175
 Encino, California 91436
 Tel. No.: (818) 451- 4600
 Fax No.: (818) 451- 4620
 www.mbn.law
 mbubman@mbn.law


 WE'VE MOVED!! Please note our new address

From: Alejandro Herrera <alex@hch.law>
Sent: Tuesday, February 6, 2024 3:39 PM
To: Michael Bubman <mbubman@mbn.law>
Subject: URGENT Bobson v. Bae

Mr. Bubman:

I've been informed that you or your client may have interfered with the business operations. It seems
that a hold has been placed on the bank funds which frustrates the ability to run payroll TODAY. I'm not
sure why this action was taken, especially without any notice to myself or Mr. Bae.
It seems like retaliation. Please advise immediatelv. on this.

Regards,
Alejandro H. Herrera I Attorney Partner
c. 310.570.0513 I alex@herreracliftonhess.com
HERRERA CLIFTON HESS
100 Wilshire Blvd., Suite 700
Santa Monica, California 90401
o. 310.310.2201 I w. herreracliftonhess.com
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                 ExhibitH



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 Subject:             FW: Urgent Payroll Due 2/5/2024
 Date:                Wednesday, February 7, 2024 at 10:20:0BAM Pacific Standard Time
 From:               Alejandro Herrera <alex@hch.law>
 To:                  Michael Bubman <mbubman@mbn.law>
 Attachments: Payroll 2.5.2024.xlsx


 Mr. Bubman,

Please forward the attached payroll summary and ensure that monies are immediately transferred to
cover the payroll. Specifically, funds received by the DTLA South Park account need to be transferred to
the BAE FG account to cover.

Time is of the essence. Please confirm.

Regards,
Alejandro H. Herrera I Attorney Partner
c. 310.570.0513 J alex@herreracliftonhess.com

HERRERA CLIFTON HESS
100 Wilshire Blvd., Suite 700
Santa Monica, California 90401
o. 310.310.2201 I w. herreracliftonhess.com
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 Subject:       [EXTERNAL] RE: [EXTERNAL) RE: [EXTERNAL] RE: Urgent Payroll Due 2/5/2024
  Date:         Wednesday, February 7, 2024 at 4:03:12 PM Pacific Standard Time
 From:          Michael Bubman <mbubman@mbn.law>
 To:            Alejandro Herrera <alex@hch.law>
 CC:            Stephen J. Donell - FedReceiver, Inc.(Steve.Donell@fedreceiver.com)
                <Steve.Donell@fedreceiver.com>, Sarah R. Bates - FedReceiver, Inc.(Sarah.Bates@FedReceiver.com)
                <Sarah.Bates@FedReceiver.com>, Brian Landau <blandau@slbiggs.com>
 Attachments: Order Appointing Receiver 083022(00745533xB7A71 ).PDF, 2023-02-27 ORDER for Receiver to Take
                 control of Restaurant(00766178xB7A71). PDF, Conformed Notice of Entry of Order of February 2, 2024
                (00809739xB7A71).PDF


 Mr. Herrera:

Based upon the proceedings that have occurred, and in particular, the specific statements that
Judge Kalra has made directly to you, I did not think this necessary. Based on your email below,
however, I guess I do need to point you to the specific provisions of the Receivership order, issued
by the Court August 17, 2022 (attached).

The order provides:

 "WHEREAS the Court finds that, based on the record in these proceedings, the appointment
of a receiver in this action is necessary and appropriate for the purposes of marshaling and
preserving all Partnership assets of the parties, including but not limited to "Birdies" located at
314 W. Olympic Boulevard, Los Angeles, CA 91401; and, thus finding good cause:

       IT IS HEREBY ORDERED that Stephen J. Donell ofFedReceiver, Inc. ("Receiver"),
 12121 Wilshire Boulevard, Suite 1120, Los Angeles, California 90025, telephone number (310)
207-8481; email steve.donell@J.edreceiver.com be, and hereby is, appointed as Receiver ofall
Partnership interests and assets, including, but not limited to, the restaurant named "Birdies",
located at 314 W. Olympic Boulevard, Los Angeles, CA 91401 (hereinafter referred to an "the
Premises"), to carry out various duties as Receiver, including but not limited to, taking
possession of, managing, and collecting_a!!.proceeds from the OP-eration of said restaurant.
The Receiver shall take, without limitation to,_gossession of the following regarding
"Birdies": all accounts receivable, all Books and Records, all inventon: and eguiP-ment, all
bank accounts, all agreement(�) for the use of the name "Birdies", all cornorate filing
documentation, and any other information, asset, liability or documentation related to the
Partnershin.,..:_(Emphasis added.)

That appointing order was further su12i:1lemented by the order issued February 27, 2023 (attached)
requiring Mr. Bae to turn over all vendor information, including all merchant information re the POS


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 system of accepting payments from customers, all hardware and software used by Birdies, any and
 all information pertaining to bank accounts, any and all POS reports showing sales at Birdies. The
 Judge further ordered that all employees are to cooperate with the Receiver, including any and all
 demands for turnover of information pertaining to the operation of, and their employment with,
 Birdies.

 The refusal by your client to cooperate and abide by these and other orders of this Court led to the
 January 2, 2024 ruling finding that he had willfully failed to comply with the Court's orders and
 finding him guilty of 6 counts of contempt. It was only after these orders were issued and the
 sentencing hanging over his head that your client finally agreed to partially comply by turning over
 certain of the records, which allowed us to seek ex parte relief, which was issued last Friday
 (attached), which has allowed us to now enforce the court's orders.

 If you continue to think that this relates solely to an accounting, you have failed to fully understand
 these orders of this Court, as well as the "big picture" of what this Court has instructed the Receiver
 to do. You should read the orders, and if you have not yet done so, make sure to share them with
 your client. We know that he has already received them, as they were the basis of the findings of
 contempt- his failure to comply with them.

While this has taken approximately 17 months to get to this point, we are now here. The Receiver is
now able to carry out his appointed tasks, which includes the complete takeover of the business. If
it happens with the cooperation of your client, it will make the situation much easier for everyone.
If, however, your client digs in his heels, and fails or refuses to provide the information sought by the
Receiver, the outcome will be much worse for him. Your client should keep in mind that the Judge
still has not sentenced him for the findings of contempt. We still have quite a ways to go in this
matter. You and your client can either get on board, or your client will suffer the consequences of
his refusal to do so. Either way, the Receiver intends to carry out the Court's orders. If you want to
seek further orders from Judge Ka Ira, I welcome the opportunity to hear you explain your view of this
situation to him. I believe he has been abundantly clear, but it obviously still has not quite sunk in.


Best regards,

Michael

 Mirman,
• Bubman &
  Nahmias
Mirman, Bubman & Nahmias
16133 Ventura Blvd., Suite 1175
Encino, California 91436
Tel. No.: (818) 451- 4600
Fax No.: (818) 451- 4620
www.mbn.law
mbubman@mbn.law

WE"VE MOVED!! Please note our new address

                                                                                                        2 of 8

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 From: Alejandro Herrera <alex@hch.law>
 Sent: Wednesday, February 7, 2024 1:59 PM
 To: Michael Bubman <mbubman@mbn.law>
 Subject: Re: [EXTERNAL] RE: [EXTERNAL] RE: Urgent Payroll Due 2/5/2024

 Mr. Bubman:

 The big picture is that your client was hired to do an accounting. The court's order literally says that, and
 there is no court order that excuses your client from this obligation . Mr. Bae has and continues to
 cooperate and comply with the court's order. He's provided all the documents currently available to him,
 and he's attempted to communicate with your client as of yesterday. Your client didn't respond. Today,
 IVlr. Bae has already communicated with Sarah, and you knew this before sending your email. Enough
 with your posturing and games, it doesn't solve the problems created by your client, specifically, your
 client's sudden decision to block use of the bank accounts without any communication at all. This
 obvious retaliation is harmful to the business.

 I don't need to repeat the issues again. As I mentioned, Mr. Bae has already communicated with Sarah.

 If your client's goal here is to completely take over the business and ignore the need for the accounting
 (all while increasing his own billing), that is his decision to make. T he court's order does not compel your
 client to do what he's doing now, but it does compel your client to prepare an accounting of the
 partnership. Please ensure that it's done without needless delay or expense.

Regards,
Alejandro H. Herrera I Attorney Partner
c. 310.570.0513 I alex@herreracliftonhess.com

HERRERA CLIFTON HESS
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Santa Monica, California 90401
o. 310.310.2201 I w. herreracliftonhess.com
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message and any attachments without reading or saving in any manner.




 From: Michael Bubman <mbubman@mbn.law>
 Date: Wednesday, February 7, 2024 at 12:43 PM
 To: Alejandro Herrera <alex@hch.law>
 Cc: Stephen J. Danell- FedReceiver, Inc.(Steve.Donell@fedreceiver.com)
 <Steve.Donell@fedreceiver.com>, Sarah R. Bates- FedReceiver, Inc.
(Sarah.Bates@FedReceiver.com) <Sarah.Bates@FedReceiver.com>, Brian Landau
<blandau@slbiggs.com>
Subject: [EXTERNAL] RE: [EXTERNAL] RE: Urgent Payroll Due 2/5/2024

Mr. Herrera:

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 You STILL are missing the big picture here. Did you miss the fact that your client apparently wrote
 payroll checks and authorized ACH withdrawals for more than $17,000, which you were just
 advised that there is barely more than $3,300 in the account. This is not a lack of understanding of
 the business - it is a lack of money in the business to cover its expenses. There is no roadblock or
 blindside here - there is simply not enough money to pay the bills.

 As I advised in our call, you are also incorrect about the use of the two accounts based upon the
 information provided to us. The monies from Door Dash, Grub Hub and Uber Eats is deposited into
 the Bae account - not the DTLA account. While we are willing to make an accommodation for this
 one payroll period, we cannot magically invent money to put into the account to cover payroll. The
 shortfall has nothing to do with Mr. Donell. Once again -the accounts over which Mr. Donell now
 has control have approximately $3300 total. That is not enough to cover Mr. Bae's payroll. If Mr. Bae
 has not handed out all of the checks, you should tell us which one have not been handed out.

I gave you the telephone numbers for Sarah Bates, Mr. Donell's chief assistant who is running point
on this. You should have Keith Bae call her and work with her. The continued refusal by Mr. Bae to
contact anyone in Mr. Donall's office is not doing him any good. Additionally, Mr. Bae has not
provided all information to my client. You should be in receipt of a letter from my client detailing the
additional information that is missing from Mr. Bae.

Please note that your identification of what is important here is plainly wrong. You should read the
Court orders again, as you have failed to grasp the import of what the Court has ordered to occur
here.


Best regards,

Michael Bubman




Mirman, Bubman & Nahmias
16133 Ventura Blvd., Suite 1175
Encino, California 91436
Tel. No.: (818) 451- 4600
Fax No.: (818) 451- 4620
www.mbn.law
mbubman@mbn.law

WE 1 VE MOVED!! Please note our new address

From: Alejandro Herrera <alex@hch.law>
Sent: Wednesday, February 7, 2024 12:27 PM
To: Michael Bubman <mbubman@mbn.law>
Subject: Re: [EXTERNAL] RE: Urgent Payroll Due 2/5/2024


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 Mr. Bubman,

 I forwarded Sarah's information to Mr. Bae.

 And again, as I told you during our phone call a few minutes ago, the protocol used by Mr. Bae has been
 to move the revenues from the SouthPark account into the Bae FG account because fill the income goes
 into one, and fill the payroll/expenses come out of the other. In other words, ALL the revenues are
 transferred into the Bae FG account regardless of the amount and regardless of whether they cover the
 accounts payable or payroll. I understand that Mr. Bae can assist with this, but he was blindsided when
 blocked from the accounts. He was waiting yesterday for the conference call with your client, but you
 never sent a dial-in number. Today, it seems your client is putting up even more roadblocks that will
 prevent employees from being paid. This is unacceptable.

 Your client's lack of understanding (currently at least) is putting the business at risk by exposing it to
 unpaid wage claims. Your client was hired to do an accounting of the business, and while there might be
 plenty of criticisms related to how the business is or should be operated, it's not his job to damage the
 business because he doesn't like how something is done. All the information available to Mr. Bae has
 been produced to your client.

 Lastly, I'll follow up with you on your questions regarding the scope of AP and AR vendors both current
 and historical.

Please note, the accounting period most important in this action (and the very reason we're here in the
first place) is related to the 2016-2018 period. Please ensure that the accounting for this period is not
neglected and completed without delay. If there's anything missing or questions, again, please let me
know without delay.

Regards,

Alejandro H. Herrera I Attorney Partner
c. 310.570.0513 I alex@herreracliftonhess.com
HERRERA CLIFTON HESS
100 Wilshire Blvd., Suite 700
Santa Monica, California 90401
o. 310.310.2201 I w. herreracliftonhess.com
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product doctrine. If you are not the intended recipient, please notify the sender immediately and then delete, destroy, or return the original
message and any attachments without reading or saving in any manner.




From: Stephen J. Donell, CCIM, CPM<steve.donell@fedreceiver.com>
Date: Wednesday, February 7, 2024 at 12:05 PM
To: Sarah R.Bates<sarah.bates@fedreceiver.com>, MichaelBubman
<mbubman@mbn.law>, Alejandro Herrera<alex@hch.law>
Cc: Brian Landau<blandau@slbiggs.com>
Subject: [EXTERNAL] RE: Urgent Payroll Due 2/5/2024

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 I will approve release of funds from these accounts assuming there are funds to do so for
 purposes of funding payroll.

 Steve




Stephen J. Donell, CCIM, CPM
President I Receiver I Partition Referee I Interim Trustee I Asset Manager
Jalmar Properties, Inc., AMO
FedReceiver, Inc.
Donell Expert Services, Inc.
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025
United States
Main: 310-207-8481 ext:114
Fax: 310-806-4178
Direct: 310.689.2175
Email: steve.donell@fedreceiver.com
Web: www.fedreceiver.com
 DRE# 01295754
Disclosure: The information contained herein is confidential and privileged attorney-client
information or work product intended only for the individual or entity to whom it is addressed.
Any unauthorized use, distribution or copying of this communication is strictly
prohibited. If you have received this communication in error, please notify me immediately.


From: Sarah R. Bates <sarah.bates@fedreceiver.com>
Sent: Wednesday, February 7, 2024 12:03 PM
To: Michael Bubman <mbubman@mbn.law>; Alejandro Herrera <alex@hch.law>
Cc: Stephen J. Danell, CCIM, CPM <steve.donell@fedreceiver.com>; Brian Landau
<blandau@slbiggs.com>
Subject: RE: Urgent Payroll Due 2/5/2024

I just called Chase and the DTLA South Park account current balance is $2,337.34, the BAE FG
account balance is $1,013.52.


Sarah R. Bates•
Receiver Administrator I Vice President
Jalmar Properties, Inc., AMO
FedReceiver, Inc.
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025
United States
Tel: 310-207-8481 ext:119
Fax: 310-806-4178

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 Email: sarah.bates@fedreceiver.com
 Web: www.fedreceiver.com
 Disclosure: The information contained herein is confidential and privileged attorney-client
 information or work product intended only for the individual or entity to whom it is addressed.
 Any unauthorized use, distribution or copying of this communication is strictly
 prohibited. If you have received this communication in error, please notify me immediately.


 From: Michael Bubman <mbubman@mbn.law>
 Sent: Wednesday, February 7, 2024 11:52 AM
 To: Alejandro Herrera <alex@hch.law>
 Cc: Stephen J. Danell, CCIM, CPM <steve.donell@fedreceiver.com>; Sarah R. Bates
 <sarah.bates@fedreceiver.com>; Brian Landau <blandau@slbiggs.com>
 Subject: RE: Urgent Payroll Due 2/5/2024


**CAUTION** External Email

 Have Keith call Sarah. The office number is (310) 207-8481, x119. Her cell is (310) 330-6409.

The short story is that there is not enough money in the DTLA account to meet the payroll
obligations. If Keith only handed out certain checks, he needs to tell Sarah which checks were
handed out.


Best regards,

Michael




Mirman, Bubman & Nahmias
16133 Ventura Blvd., Suite 1175
Encino, California 91436
Tel. No.: (818) 451- 4600
Fax No.: (818) 451-4620
www.mbn.law
mbubman@mbn.law

WE,VE MOVED!! Please note our new address

From: Alejandro Herrera <alex@hch.law>
Sent: Wednesday, February 7, 2024 10:20 AM
To: Michael Bubman <mbubman@mbn.law>
Subject: FW: Urgent Payroll Due 2/5/2024

Mr. Bubman,

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Please forward the attached payroll summary and ensure that monies are immediately transferred to
cover the payroll. Specifically, funds received by the DTLA South Park account need to be transferred to
the BAE FG account to cover.

Time is of the essence. Please confirm.

Regards,

Alejandro H. Herrera I Attorney Partner
c. 310.570.0513 alex@herreracliftonhess.com
                     J



HERRERA CLIFTON HESS
100 Wilshire Blvd., Suite 700
Santa Monica, California 90401
o. 310.310.2201 I w. herreracliftonhess.com
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                                         Birdies - Recorded Liens

Date        Tax period             Lienor                 Amount

  10/3/2017 7/1/16 - 9/30/16       EDD                       $1,491.55
    9/4/2018 1/1/18 - 3/31/18      EDD                       $3,503.31
  12/3/2018 4/1/18 - 6/30/18       EDD                       $4,660.43
    3/5/2019 7/1/18 - 9/30/18      EDD                       $4,873.01
    6/7/2019 10/1/18 - 12/31/18    EDD                       $4,783.11
    9/4/2019 1/1/19 - 3/31/19      EDD                       $6,014.06
  12/3/2019 4/1/19-6/30/19         EDD                       $4,410.88
    3/6/2020 7/1/19 - 9/30/19      EDD                       $4,780.06
   6/5/2020 10/1/19 - 12/31/19     EDD                       $4,834.80
   9/4/2020 1/1/20 - 3/31/20       EDD                      $10,906.28
 12/8/2020 4/1/20 - 6/30/20        EDD                       $4,430.38
  3/12/2021 7/1/20 - 9/30/20       EDD                       $4,805.31
   6/8/2021 10/1/20 - 12/31/20     EDD                       $5,979.22
   9/7/2021 1/1/21- 3/31/21        EDD                       $8,824.91
             12/31/18, 3/31/18,
             6/30/18, 9/30/18,
             12/31/18, 3/31/19,
             6/30/19, 9/30/19,
            12/31/19, 3/31/20,
             6/30/20, 9/30/20,
             12/31/20, 3/31/21,
 5/24/2022 6/30/21                 IRS                    $453,423.85
 5/24/2022 13/31/19, 12/31/20      IRS                      $7,712.82
10/10/2022 4/1/21- 3/31/22         EDD                     $27,448.88
            12/31/2021, 9/30/21,
11/21/2022 12/31/21                IRS                     $54,632.28
12/29/2022 1/1/21 - 6/30/22        EDD                     $13,114.33
            3/31/22, 6/30/22,
   2/1/2023 9/30/22                IRS                     $58,426.95
   5/2/2023 1/1/18 - 12/31/18      CDTFA                  $207,926.78
 5/19/2023 10/16/19 judgment       Martinez                $11,012.50
 9/14/2023 4/1/22 - 3/31/23        EDD                     $18,999.97

                                                          $926,995.67




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  Michael Bubman

  From:                            Michael Bubman
  Sent:                            Friday, February 9, 2024 5:37 PM
  To:                              Alejandro Herrera
  Cc:                              Stephen J. Danell - FedReceiver, Inc.(Steve.Donell@fedreceiver.com); Sarah R. Bates •
                                   FedReceiver, Inc.(Sarah.Bates@FedReceiver.com)
  Subject:                         RE: [EXTERNAL] RE: [EXTERNAL] Re: Ex Parte Notice(Bobson vs Bae)
  Attachments:                     Birdies - payroll information(00810102xB7A71).XLSX


  Mr. Herrera:

 If Mr. Bae has provided all of the information, as you assert, it should be no problem for you to provide it to
 me. The simple fact is that he has not and will not provide the information that has been requested
 repeatedly. Let me respond directly to each of your statements below.

 First, Mr. Donell, as the Receiver, is authorized to be at the restaurant any time he wishes to do so. He does not
 need to consult with you or Mr. Bae. He has been authorized by Court order to do so, which you still refuse to
 acknowledge. Whether or not you and I were going to be in court has nothing to do with Mr. Donell's actions as
 Receiver.

 Second, Mr. Bae is unequivocally not cooperating with the Receiver. I take issue with your repeated statements
 asserting his cooperation, as it is plainly false. MY client and I have no grudge against Mr. Bae. All we seek is the
 cooperation we have not received for the past 1? months. The fact that there is now limited cooperation is
 insufficient. Mr. Bae needs to fully comply. I say this with the full advice and consent of my client, with whom I
 have been communicating at length.

Third, if the information has been provided by Mr. Bae, it should be no problem for you to reproduce it to
me. Please provide me with the documentation showing what has been requested repeatedly. For example, you
ask for payroll to be paid. It should be quite simple to provide the rates of pay and hours worked for each of the
employees. That has not been provided to the Receiver anywhere. If you have it, please forward it to me so we can
move this forward.

 Fourth, we have asked repeatedly for the basic information about the employees. Once again, that has not been
 provided. I have seen names of employees, but other than a gross amount of pay, we have not been provided with
their hours or rates of pay. There have been no calculations for payroll taxes. Even Brian Landau, Mr. Donell's
accountant, directly asked Mr. Bae to give him the name and number for the person at the payroll company since
Mr. Bae appears to be unable to provide this information. The response is a deafening silence. Make it simple -
give me that information in writing. I have attached the chart that you sent to me asking for payroll to be paid, to
which I have added 3 columns for the information we have been requesting but have not received. Just fill it in and
this will be handled. As long as there is money in the accounts, the payroll will be paid. Without this information,
however, the payroll taxes cannot be calculated. If that has already been calculated (i.e., perhaps by the payroll
company, whose information we cannot obtain) then that calculation need not be made. This could not be more
simple.

Fifth, I have seen repeated emails, including my own, asking for the login information for Toast. It simply has not
been provided. Mr. Bae's excuses have become as bad as "my dog ate my homework." Its on my other phone,
someone else has it, I don't know what it is, etc. Sarah Bates asked him in person today and did not receive it. She
emailed Mr. Bae multiple times, including the emailed letter on 2/7 at 11 :21 a.m., emails yesterday at 9:40 a.m.,
3:24 pm and 4:52 p.m., an email today at 12:15 p.m., at12:57 p.m. and again at 4:46 p.m. That is 7 requests that I

                                                           1



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  have seen, in writing from her, in addition to the numerous oral requests she has made. You can try to recreate
  history all you want-the simple fact is that he has not provided this information. If you provide it in writing, we can
  confirm the accuracy and this issue will be resolved. And I believe you are generally correct- Mr. Bae is not
  refusing to provide the information - he just simply is not providing it, but rather repeated excuses why he is not
  providing it.

  Sixth, we obviously provided information of Mr. Bae's wrongdoing, as the Court held him in contempt. I
  understand that you refuse to accept it. I am content with the Court's rulings, with which we will continue to
  abide.

  Seventh, the short list has NOT been addressed-as recently as 1 hour ago, Sarah was still asking for the same
  information.

 It is time to provide the information that has been requested repeatedly. We will not stop asking until we get it. If
 we do not receive the information requested, Mr. Bae can explain himself to Judge Katra.


 Best regards,

 Michael

           Mirman,
           Bubman &
           Nahmias
 Mirman, Bubman & Nahmias
 16133 Ventura Blvd., Suite 1175
 Encino, California 91436
 Tel. No.: (818) 451-4600
 Fax No.: (818) 451- 4620
 www.mbn.law
 mbubman@mbn.law

 WE'VE MOVED!! Please note our new address

From: Alejandro Herrera <alex@hch.law>
Sent: Friday, February 9, 2024 3:52 PM
To: Michael Bubman <mbubman@mbn.law>
Subject: Re: [EXTERNAL] RE: [EXTERNAL] Re: Ex Parte Notice (Bobson vs Bae)

Mr. Bubman:

I reject all your assertions and contentions. You call me delusional while ignoring the facts yourself. Your
emotional email is clearly in defense of Mr. Danell's shady appearance at the restaurant this morning during the
time you both knew we'd be in court.

You clearly take issue with the fact that Mr. Bae is fully and completely cooperating to the best of his ability. This
shouldn't be a problem for you, but you seem to think so. It's remarkable that you still complain in the face of
obvious and documented cooperation by Mr. Bae. You and your client are clearly holding a grudge against him.
Please communicate with your client before making more baseless allegations that Mr. Bae isn't cooperating.




                                                            2


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   AGAIN, all the information available to Mr. Bae HAS ALREADY BEEN PROVIDED to your client, which is
   documented, and any additional information already requested he is in the process of getting. You and your client
   have reached a point of harassment, which is wholly inappropriate.

  It is obvious you see the problem with not paying employees their wages. Just because your client is following the
  court's order (WHICH NOBODY IS DISPUTING) doesn't mean what he's doing isn't wrong, or at least having a
  detrimental impact on the business. It is wrong not to pay the employees wages that are due. You and your client's
  criticisms of how wages have been previously paid does not excuse either of you in frustrating the process. You are
  putting the entire business at risk without any end game to this all.

  AGAIN, Mr. Bae is not refusing to provide login information to Toast. It is disgusting how blatant your prejudice
  against Mr. Bae is. Mr. Bae has been in regular communication with Sarah about this topic. THERE HAS BEEN NO
  REFUSAL BY MR. BAE TO GET THIS INFORMATION.

  Your predisposition to the idea that Mr. Bae is somehow engaged in any wrongdoing is clearly feeding into your
  insecurities. If you have evidence of any wrongdoing, I demand that you produce it. If you don't, I demand that_yo_u_
  stop making these baseless allegations

  Your "short list" has already been addressed by Mr. Bae and your client/Sarah.

 Mr. Bae's ex parte application is scheduled for Tuesday, February 13, 2024 at 8:30 AM in Dept. 51. Monday is a
 court holiday.

 Regards,
 Alejandro H. Herrera I Attorney Partner
 c. 310.570.05131 alex@herreracliftonhess.com

 HERRERA CLIFTON HESS
 100 Wilshire Blvd., Suite 700
 Santa Monica, California 90401
 o. 310.310.2201 I w. herreracliftonhess.com
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 saving in any manner.




From: Michael Bubman <mbubman@mbn.law>
Date: Friday, February 9, 2024 at 1: 13 PM
To: Alejandro Herrera <alex@hch.law>
Subject: [EXTERNAL] RE: [EXTERNAL] Re: Ex Parte Notice (Bobson vs Bae)

Mr. Herrera:

We have asked numerous times for the information necessary for payroll, including employees' names, their rate
of pay, hours worked, as well as which payroll checks were handed out. We have the employees' names and an
amount that Mr. Bae says is due to them (which remains in excess of the amounts available in the bank accounts),
but nothing else of the requested information. Mr. Bae obviously has all of this information, as he purportedly
calculated the pay for each employee. We have no idea if that amount includes payroll taxes (it appears from Mr.
Bae's statements that it does not) which we will need in order to properly deduct and pay. As you have been
advised, we will not pay without payroll taxes being accounted for. Apparently, there is a payroll service that Mr.
Bae deals with but he refuses to provide the information for that service. It would certainly make it easy to get this
done if you and Mr. Bae would cooperate, but apparently that is not going to happen.

                                                                               3



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  Additionally, you have mentioned several times that payroll checks are handed out in waves. We need to know
  which checks were handed out but both you and Mr. Bae have refused to respond.

  We have also asked repeatedly for the login and password for Toast, which Mr. Bae has refused to provide. These
  items are always conveniently in another phone or at another location. We are now aware of daily reports
  generated through the Toast system- none of which have not been provided. This is yet another incident of Mr.
  Bae's non-cooperation.

  Mr. Bae refused to give Ms. Bates the code for the sate into which the case is dropped.

  Additionally, the tablet that contained information regarding the employees mysteriously disappeared when Ms.
  Bates asked that it be provided.

  The short list of things we need immediately:

     1. All requested payroll information;
     2. Toast login and p�ssword;
     3. Code to the on-site safe;
     4. Access to all employee information, including the tablet maintained at the restaurant.

 While we need all information identified in the February 7 letter from Mr. Donell, these items identified above are
 the priority. These are all things that Mr. Bae has within his control. If you and he are under the delusion that what
 he is doing constitutes "cooperation," you are sorely mistaken. I look forward to our next discussion with Judge
 Kalra.


 Best regards,

 Michael Bubman




Mirman, Bubman & Nahmias
16133 Ventura Blvd., Suite 1175
Encino, California 91436
Tel. No.: (818) 451-4600
Fax No.: (818) 451-4620
www.mbn.law
mbubman@mbn.law

WE'VE MOVED!! Please note our new address

From: Alejandro Herrera <alex@hch.law>
Sent: Friday, February 9, 2024 9:14 AM
To: Michael Bubman <mbubman@mbn.law>
Subject: Re: [EXTERNAL] Re: Ex Parte Notice (Bobson vs Bae)

The ex parte hearing was moved to Monday February 12, 2024 at 8:30 in dept 51.

Please request from your client that funds are transferred to cover payroll checks. Employees will be going into
the weekend without any paychecks if this isn't done.
                                                          4



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  Regards,
  Alejandro H. Herrera        I Attorney Partner
  c. 310.570.05131 alex@herreracliftonhess.com
  HERRERA CLIFTON HESS
  100 Wilshire Blvd., Suite 700
  Santa Monica, California 90401
  o. 310.310.22011 w. herreracliftonhess.com
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  saving in any manner.



 From: Alejandro Herrera <alex@hch.law>
 Sent: Friday, February 9, 2024 8:29:04 AM
 To: Michael Bubman <mbubman@mbn.law>
 Subject: Re: [EXTERNAL] Re: Ex Parte Notice (Bobson vs Bae)

 Dept 51 is dark today. I'll advise on either a new department or date ASAP.

 Regards,
 Alejandro H, Herrera        I Attorney Partner
 c. 310.570.05131 alex@herreracliftonhess.com
 HERRERA CLIFTON HESS
 100 Wilshire Blvd., Suite 700
 Santa Monica, California 90401
 o. 310.310.2201 I w. herreracliftonhess.com
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not the intended recipient, please notify the sender immediately and then delete, destroy, or return the original message and any attachments without reading or
saving in any manner.



From: Michael Bubman <mbubman@mbn.law>
Sent: Friday, February 9, 2024 6:30:16 AM
To: Alejandro Herrera <alex@hch.law>
Subject: [EXTERNAL] Re: Ex Parte Notice (Bobson vs Bae)

Mr. Herrera:

I have not received any papers from you. Are you still planning on seeking ex parte relief? Please advise.

Michael Buhman

Get Outlook for iOS

From: Alejandro Herrera <alex@hch.law>
Sent: Thursday, February 8, 2024 5:32 PM
To: Michael Bubman <mbubman@mbn.law>
Subject: Ex Parte Notice (Bobson vs Bae)

Mr. Bubman:


                                                                               5


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 Please take notice that Keith Bae will be appearing ex parte tomorrow at 8:30am in Dept. 51 seeking an order to stay
 enforcement of the court's August 17, 2022 Receivership Order !Ind all related subsequent orders pending a full hearing
 on Mr. Bae's request for clarification of the duties and purpose of the Receiver, prompted by the issues caused by the
 Receiver's refusal to pay employee wages.

 Please advise if you intend to appear and/or oppose the motion. Moving papers will be sent as soon as they are ready.

Regards,
Alejandro H. Herrera I Attorney Partner
c. 310.570.05131 alex@herreracliftonhess.com
HERRERA CLIFTON HESS
100 Wilshire Blvd., Suite 700
Santa Monica, California 90401
o. 310.310.2201 I w. herreracliftonhess.com
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Birdies DT Payroll
      02/05/24

Number          Date         Payee                       Position     Rate of Pay   Hours worked   Amount       Type
30442           02/05/24     Litzy Alvarez                                                          580.10      Payroll Check
30443           02/05/24     Noe Antonio Morales                                                   1484.76      Payroll Check
ACH             02/05/24     Noe Antonio Morales                                                     500.00     ACH
30444           02/05/24     Patrick Dowd                                                           986.54      Payroll Check
ACH             02/05/24     Kaili Gaspar Grinda                                                     685.68     Payroll Check
ACH             02/05/24     Kaili Gaspar Grinda                                                     140.03     ACH
ACH             02/05/24     Danielle Heflin                                                       1119.94       Payroll Check
ACH             02/05/24     Danielle Heflin                                                         394.36     ACH
30447           02/05/24     Carmen Rosibel Hernandez                                                683.68      Payroll Check
ACH             02/05/24     Carmen Rosibel Hernandez                                              1036.77       ACH
 30448          02/05/24     Hamzeh A. Islam                                                         670.82      Payroll Check
 Cash            02/05/24     Hamzeh A. Islam                                                         919.03     Cash
 30449           02/05/24     Roselyn J. Lazum                                                       635.61      Payroll Check
 30450           02/05/24     Oscar D. Lopez                                                        1302.67      Payroll Check
 Cash            02/05/24     Oscar D. Lopez                                                          419.50     Cash
 30451           02/05/24     Genesis C. Roman                                                        917.38      Payroll Check
 30452           02/05/24     Luke A. Severns                                                         705.38     Payroll Check
 30453           02/05/24     Seth M. Walkey                                                          493.45      Payroll Check
 9061            02/05/24     Baltazar Santiago                                                       890.86      Payroll Check
  9062           02/05/24     Glenda Vasquez                                                          254.95      Payroll Check
  9063           02/05/24     Jose Mandujano                                                          914.25      Payroll Check
  9064           02/05/24     Oscar Rodriguez                                                           982.3     Payroll Check
  9065           02/05/24      Raymundo Aguilar                                                       786.80      Payroll Check
  ACH             02/05/24     Katie Villanueva                                                        876.25     ACH

                                                                                                   18381.11




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      • Commercial Gross Lease
      I.Names. This lease, ia made h)' FRANK
      Tan.ant;                               JOHNSON/ 1PLKQYffiQRQtJP. tandlnn,, and _____,,,_
                               JAME D6E
      2• Premises Belq Leaaat. Landlord ia laaa�to Tenant
                                                          nnd Tmumt la Icaamifrom Landlord tho followini=;pmmu
               314 W,Q1.YMPIQ;;- • ., • •           7   I



      [ l Part of Building Only. Specifically, Tenant is leasingQf the       1230 sq/ft, Of thB hifing.
       [ ] Shared PAwitioa. Tenant and Tenant's employees and customen may me the following additional facilities in
      Common with other tenants. employees, and customers:
      [ ] Parking spaces                     #314
      [ ] RestroomPacilitlesi.-____________________
      [] Storagearcaa: __________a,,..________
      [ 1 Hallways. stairways.and elevators: _____.__________
      [ J Confercmcorooms _________...a,________
      [ ]Other _ ___________�--------
                                               • ,1;1;AP..,.RuI..,.
                                                                L._.1,....._.2�0 .L,Jt z� 111dends on APBU, Ql i024
                                      '

      3. Term of Lease. Tbl.s lease begins on __
                            .




     4- Rent. Tenant will pay rentln advance on the lJtday of each month. Tenant's first rent payment will be on_
  APRIJ.ot-2017 1n tho amount of $2,; 100 Tenant will pay rentofS2, 100 per month thereafter.
     [ ] Tenant will pay this rental amount for the entb:e term. of the Ieaso.
     ( ] Rent will increase each year. on the annivers&ey' of the starting date in paragraph 3, u follows:     3%


      5. Option to Extend Lease
      [ ] First Option.Landlord grants Temmttbo option to extend thia lease for an additional 3. years. To exercise this
      option. Temmtmustgive.Landl� written noticoon orbefcn02/01/202°"enantmayexmciae this option only
      Tenant ls in IObstantial compliance with tho tarms of thil lease.Tenant will lease the premises on fhe
      Same tams as In this Ieuo except as follows:_, -----l'---1,, Y....
                                                                     EA..,.R...,5._______
      [ ] Second Option.If Tenant emcises the option aranted above, Teoantwlll then have the option to extend this lei
      forL years boyond the tlnt option period. To exel'dse this option, Tenant must give I.andloro written notice
      On or before       ¢          . Tenant may �lie tbls option only if Tenant ls ln substmldal compllance.wttb the ti
      of thfl lease. Tenant will lcaso tho premises on the same terms as In this lease except as follows:
                  NONB

      6. Security Deposit Tenant bas deposited$ ' soo
                                                       3               with Landlord as security forTenanfs performance
      this lease. Land-lord will refund tho full security deposit to Tenant within 14 days followingtho end of the lease if
 ••   Tenant ietama the prcmiaes to Landlord In good condition (except for teasonable wear and tear) and Tenant has pai
      :t,andlard all lama du undertbfl lease. Othmwiao, Landlord may deduct any amC>llDtl required to place the premise
      In aaod oondldon and to pay for any money owed to Landlord under the lease.




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 • 1. Improvements by Landlord
      1
   [ X Before �e �ease term begins, Landlord (at
                                                  undlonl'a expense) will make the repairs and improveme
  Attachment I to this contract.                                                                         nts listed IN
  [ ] Tenant acc�s the premises in "as is" condidoo.
                                                     iandlord need not provide any mpaira or improvements. before the
  leaso term begins.                                 • •

 8• Improvements by Tenant. Tenant may make alterati
                                                            ons and improvements to the premises after obtaining the
 Landlord's written consent, which will not be WlffilSonably withheld.
                                                                       At any dme before this lease ends, Tenant may
 remove any of Tenant's alterations and improvements, as long as Tenant repairs any damage caused by attaching the
 items to or removing them from the premises.
 9. Tenant's Use of Premises. Tenant will use the premise! for the following business pwposes; FOOD' SERVICE
 ___may also use the premises for purposes reuonably related to the main use.
 10. Landlord's Representations. Landlord represents that:
 A. At the beginning of the lease tenn he premises will be properly zoned for Tenant's stated use and will be In
 compliance with all applicable laws and regulations.
 B. The premises have not been used for the storage or disposal of any toxic or hazardous substance, and Landlord has
 received no notice from any governmental authority concerning removal o� any toxic or huardous aubatBDCO from tho
 p roperty.
 11. Utilities and Senlcea. Landlord will pay for tho following udlitiea and services:
 [✓] Water
 [X] Electricity
 [x] Gas
 [x] Heat
 [x] Air-Conditioning
 Any items not checked will bo the responsibility of Tenant.
 12. Maintenance and Repaln
 A. Landlord will maintain and make all necessary repairs (1) the roof, strUctural components. exterior walla, and
 interior common walls of the pmnises, and (2) tho plumbing, electrical, heating, ventilating, and air-conditioning
 system.a.
 B. Landlord will regularly cloan and maintain (including snow removal) the parking areas. yards, common areas, and
 exterior of the building and remove all litter ao that tho prmn1aca will bo kept in an attractive condition.
 C. Tenant will clean and maintain Tenant's portion of the building so that it will be kept in an attractive candid.on.

 13. Insurance
 A. Landlord will carry fire and extended coverage insurance on tho building.
 B. Tenant will carry public liability insurance; this lnsurmcc will include Landlord u an Insured party.The public
 liability coverage for personal injury will be In at least tho following amounts:
  •       ssoo.ooo         per occurrence.
 •        $5.000.000       in any one year.
 c. Landlord   and Tenant  release each other from any llabillty to the other for any property loss, property damage. or
 personal injury to the extent covered by m11uraoce earned by the party suffering the loss, damage. or Injury.
 D. Tenant will give Landlord a copy of a\\ insurance policic1 th�\ tbia leaR �re& Ta,ant to obtain.

  14.Tues
  A. Landlord will pay all real property taxes levied and assessed against the premises.
  B. Tc:mnt will p,.y al pmmal property taxes levied and asseased against Tcnanl'a personal property.




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     15. Subletting and Assignment. Tmant will not assign this lease or soblet any part of the premises without tho writ
I·   consent of Landlord. Landlord will not unreasonably withhold such comcol

     16. Damage to-Premises
     A If the premises are damaged through fire or CJthor cause not the fault of Tenant, Tenant will owe no rent for any,
     Period during which Tenant ts substantially deprived of the use of the premises.
     B. If tenant Is substandally deprived of the use of the premises for more than 90 days because of such damage, Ten
     may terminate this lease by delivering written notice of tcrmfnation to Landlord.
     17. Notice or Default. Before starting a legal action to recover possession of the premises based on Tenant's default,
     Landlord will notify Tenant in writing of the default Landlord will take legal acdon only if Tenant does not correct
     thedefault within ten days after written notice is given or mailed to Tenant.
      18. Quiet Enjoyment. Al long as Tenant is not in default under the t.erms of this lease, Tenant will have the right
      to occupy the premises peacefully and without interference.

      19. Eminent Domain. This lease will become void if any part of the leased premises or the building in which the
      leased premises are located are taken by eminent domain. Tenant hu the right to receive and keep any amount of
      money that the agency taking the premi.sea by eminent domain pays for the value of Tenant's lease. ita lou of
      business, and for moving and relocation expenses.
                                                                        . .
      20. Holding Over. If Tenant remains in posses$ion afterthis lease ends. the continuing tenancy will be from month
      to month.

      21. Disputes
      [ ] Litigation. lfa dispute arises, either party may take the matter to court.
      [ ] Mediation and Possible Litigation. If a dispute arises, the parties will try m good faith to settle it through mediatf
      conduc ted by
      [1               ATI'QRNBY
      [ ] a mediator to be mumally selected.
      The parties will shan,thecosts of the mediator-equally. Why party will cooperate-fullyandfairly with the mediato
      and will attempt to reach a mutually satisfactory compromiao to tho dispute. If the dispute is not resolved within 3(
      days after it Is refeaed to the mediator, either party may tw the matter to court.
      [ ] Mediation and Possible Arbitration. Ifa dispute arises, the parties WIii try in good faith to settle it through mcdiati
      cond ucted by
      11                  ATl'ORNBY
      [ ] a mediator to be mutually selected.
      'Ibe parties will share the costs of the mediator equally. Bach party will cooperate fully and fairly with the mediate
      and will attempt to reach a mutually satisfactory compromise to the dispute. If the dispute is not .resolved within 3,
      days after it ls referred to the mediator, it will be arbitrated by
      [ l                  ATTORNEY
       [ ] an arbitnUOr to be mutually selected.

      Judgment on the arbitration award may bo entered in any coun that has jurisdiction over the matter. Costs of acbitra
      Including lawym' fees. will be allocated by the arbitrator.
      Landlord need not participate in mediation or arbitration of a dispute unless Tenant baa paid the rent called for by d
      lease or has placed any unpaid rent 1n escrow with an agreed upon mediator or arbitrator.
      22. Addidonal Agreements. Landlord and Tenant additionally agree that: --------- -
                      TBNANT PAYS TRASH                                                                               -

                                                                                                         UlllPOammtn:laJ Oroalal1:




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I      23. Addlttonal Agreements. Landlord and Tenant additionally agree that: RJI'AfflK'ABI.J3ATmBMQMFNr
                                I



      ~24. Entire A&rmnent. This is the entire agreement between the parties, It teplaces and supeaedcs any and all ori
       agreements between the parties, as well as any prior writings.
       25. Suceessors and Aalgnees. 'Ibis lease binds and benefits the he.in, successors, and assignees of the parties.
       26. Notices. All notices must be in writing. A notice may be delivered to a party at the address that follows a p�
       signature or to a now address that a party designates in writing, A notice may be delivered:
       (1) In person
       (2) By certified mail, or
       (3) By overnight courier.
       27. Governing Law. This lease will be governed by and construed in accordance with the laws of the state of
                CALIFORNIA
       28.. Countarparts. The parties may sign several identical counterparts of this lease.Any fally si2Ded counterpart
       be treated as an original.
        29. Modlfteatfon. This lease may be modified only by a writing signed by the party against whom such modifia
        is sought to be enforced.
        30. Walftr. If one party waives any term or provision of this lease at any tum,, that waiver will be effective only
        the specific instance and specific pu.rpose for which the waiver was given. If either party fails to exercise or dcla)
        exexcising any of its rights or remedies under this lease, that party retains the right to enforce that tmn or provisi1
        a later time.
        31. SnerablHty. 'If any court determines that any provision of this lease is invalid or unenforceable, any invalidJ
        unenforceabllity will affect only that provision and will not make any other provision of this lease invalid or
        unenfon:eable, and shall be modified. amended. or limited only to the extent necessary to render it valid and
        enforceable.
        Dated:  e,,   I   • �
                                    04/28/2017·

        LANDLORD                                      TENANT
        Name of Business: muroVBRQt:owt'fJOHNSONCQBP, Name of Business:__________
        At 9889 Qloucester/468N.CamdenDr At: _______________




       'Iitlo: Landlord/Manager                                   'Iitle.____Own"'"""llrler.___________
       Address: 468 N. Ornden Dr.    Beverly  Hilla. CA 9020      Addms_.,: ------------
          [] GUARANTOR
         By signing this lease. 1 pet80Dally guarantee the performance of all financial obligations stated undor the
         lease.


                                                                            ------------
                                                                                                                     "-LUJaO
                                                                                                                    •--A




                                                                                      --------
        Dated:.______________PrintcdName
        Title:                Address:



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         MIRMAN                                                                      Michael E. Bubman, Esq.
                                                                                     mbubman@mbn.law
         BUBMAN
         NAHMIAS
                                            February I 6, 2024

  Via Federal Express

  Ms.Harianne Zolkover
  1001 S.Hill, LLC
  9889 Gloucester Drive
  Beverly Hills, CA 90210-0 I 51

  Re:    314 W. Olympic Blvd., Los Angeles, CA 91401
         Bobson v. Bae
         Los Angeles Superior Court Case No.BC650612

 Dear Ms. Zolkover:

         Thank you for speaking with me on Friday, February 16, 2024. Our firm represents
 Stephen J. Donnell (the "Receiver"), the State Court Appointed Receiver over the partnership
 assets and interests by and between Keith Bae and Jason Harley Bobson including, but not
 limited to: (1) the restaurant named Birdies, located at 314 W. Olympic Boulevard, Los Angeles,
 California 91401 ("Birdies") and (4) the restaurant named Wok N' Tenders, located at 312 W.
 Olympic Boulevard, Los Angeles, California 91401 ("Wok N' Tenders").
         Enclosed for your information are copies of the Order Appointing Receiver and for
  Issuance of Preliminary Injunction in Aid of the Receiver (the "August 17, 2022 Order"), the
 Order on Ex Parte Application by Plaintiff for Turnover of Specific Vendor Information (the
  "February 27, 2023 Order"), and the Order Granting Ex Parle Application by Receiver Stephen
 J. Donel! for Issuance of an Order: (1) Expanding the Order Appointing Receiver to Include the
 Operation and Control of the Entities DTLA South Park Corp., Bae FG Corp., and Wok N'
 Tenders, (2) Prohibiting Redirection of Any Merchant Processing Accounts with Respect to
 Birdies, DTLA South Park Corp., Bae FG Corp., and Wok N' Tenders, and (3) Requiring
 Approval of the Receiver of Any and All Expenses for Any Receivership Business (the
 "February 2, 2024 Order").
        Paragraph 1 of the August 17, 2022 Order instructs the Receiver to:
        "enter, gain access to, and take immediate possession of any Partnership asset wherever
        located, including but not limited to "Birdies", located at 314 W. Olympic Boulevard,
        Los Angeles, CA 91401, including the business Premises and any other location from
        which "Birdies" conducts business and operate, seize, manage, possess, control, collect.
        proceeds of said bu.siness(es) ...".
        This order was reiterated and expanded on February 27, 2023, which instructed an·
vendors. of Birdies to cooperate with the Receiver in continuing to provide service to the
Receiver for the continuing operations of Birdies, as well as providing information regarding• •
past services provided to Birdies.

{00810553}


                    16133 Ventura Boulevard, Suite 1175 I Encino, California 91436
                      Tel: (818) 451-4600 I Fax: (818) 451-4620 I www.mbn.law

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  Ms. Harianne Zolkover
  Re: 314 W. Olympic Blvd., Los Angeles, CA 91401
  February 16, 2024
  Page2

         Finally, the order was further expanded by the February2,2024 order by which the Judge
  included the entity Wok N' Tenders, which entity was doing business at 312 W. Olympic.
          As I stated in our conversation, it is the Receiver's intention to continue paying you the
  rent for the space he occupies. This morning, Keith Bae served the enclosed 3 Day Notice to Pay
  Rent or Quit to the Receiver. He purported to serve this as the "landlord" over your space at 314
  W. Olympic. This 3 Day Notice is in violation of the Court's orders to Mr. Bae. In fact, Mr.
  Bae has been held in contempt by the Court for his failure to abide by the Court's orders.
         Those issues are obviously not your concern. The purpose of my contact to you is to let
  you know who we are, about the Court orders that have been issued, and to let you know that the
  Receiver intends to fully comply with the obligations under the lease for the space.
        I would be very happy to speak or meet with you and any attorney you may involve in
 this matter. We are simply attempting to carry out the orders of the Los Angeles Superior Court
 issued in this receivership, which includes the operation of the restaurant Birdies at 314 W.
 Olympic.
        I thank you in advance for your cooperation and I look forward to speaking with you
 and/or your representatives at your earliest convenience.

                                         Very truly yours,

                               MIRMAN BUBMAN & NAH IAS
                                                                      /,



                                                                  n




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  Officers                                                                                                                  I

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              Officer Name                      Officer Address                                           Position(s)                                          (/)
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      D A ntonio D Jones            312 W OLYMPIC BLVD                     Chief Executive Officer, Chief Financial Officer, Secretruy                         Ii
                                    LOS ANGELES, CA 90015                                                                                                      (D
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  Additional Officers                                                                                                                                         '<!
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  Directors
                                    Director Name                                                        Director Address
     D A ntonio D Jones                                                       312 W OLYMPIC BLVD
                                                                              LOS ANGELES, CA 90015
   The number of vacancies on Board of Directors is: 0

 Agent for Service of Process
  Agent Name                                                                  Alejandro H. Herrera
   Agent Address                                                              100 WILSHIRE BLVD SUIT E 700
                                                                              SANTA M ONICA, CA 90401
 Type of Business
   Type of Business                                                           Fast Casual Restaurant
 Email Notifications
  Opt-in Email Notifications                                                   Yes, I opt-in to receive entity notifications via email.
 Labor Judgment
  No Officer or Director of this Corporation has an outstand ing final judgme nt issued by the Division of Labor
  Standards Enforcement or a court of law, for which n o appeal therefrom is pe nding, for the violation of any wage
  order or provision of the Labor Code.



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Electronic Signature                                                                                                                      lJl
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 [81 By signing, I affirm that the information herein is true and correct and that I am authorized by California law to sign.             --.J
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 antonio jones                                                      01/29/2024                                                             0
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 Signature                                                          Date                                                                 ..........
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     Formed In                                                                    CALIFORNIA                                                                        3:
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  Street Address of Principal Ottice of Corporation                                                                                                                 (1)
                                                                                                                                                                    ()
     Principal Address                                                            1845 HAMNER AVE                                                                   (D
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                                                                                  A                                                                                 <:
                                                                                  NORCO, CA 92860                                                                   (1)
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  Mailing Address of Corporation                                                                                                                                   b"
                                                                                                                                                                  "<
    Mailing Address                                                               1845 HAMNER AVE
                                                                                  A                                                                                ()
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                                                                                  NORCO, CA 92860                                                                  f-'
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    Attention                                                                     Cali FG Corp                                                                     Hi
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  Street Address of Calffornia Ottice of Corporation                                                                                                               :::,
                                                                                                                                                                   I-'·
    Street Address of California Office                                           1845 HAMNER AVE                                                                  jll
                                                                                  A                                                                                Cf.l
                                                                                  NORCO, CA 92860                                                                  (D
                                                                                                                                                                   ()
  Otticers                                                                                                                                                         l"i
                                                                                                                                                                   (D
                                                                                                                                                                   rt
              Otticer Name                      Otticer Address                                            Position(s)                                             jll
                                                                                                                                                                   l"i
      B Antonio D Jones                1845 HAMNER AVE                  Chief Executive Officer, Secretary, Chief Financial Officer                               "<
                                       A                                                                                                                          0
                                                                                                                                                                  Hi
                                       NORCO, CA 92860
                                                                                                                                                                  Cf.l
                                                                                                                                                                  rt
                                                                                                                                                                  jll
  Additional Otticers                                                                                                                                             rt

                                            I                                          I                        I
                                                                                                                                                                  (D
                    Otticer Name                           Otticer Address                      Position                       Stated Position

                                                                        None Entered


  Directors
                                     Director Name                                                          Director Address

     D Antonio Jones                                                            1845 HAMNER AVE
                                                                                A
                                                                                NORCO, CA 92860
    The number of vacancies on Board of Directors is: 0

 Agent for Service of Process
   Agent Name                                                                    Alejandro H. Herrera
   Agent Address                                                                 100 WILSHIRE BLVD SUITE 700
                                                                                 SANTA MONICA, CA 90401
 Type of Business
   Type of Business                                                              Fast Casual Restaurant
 Email Notifications
   Opt-in Email Notifications                                                   Yes, I opt-in to receive entity notifications via email.
 Labor Judgment


                                                                                                                                                       Page 1 of 2
                                                                      Exhibit A Page 144
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                                                                                                                                            t:rJ
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                                                                                                                                            U1
  No Officer or Director of this Corporation has an ou tstanding final judg men t issu ed by the Division of Labor                          0
                                                                                                                                            N
  Standards Enforcement or a court of law, for which no appeal therefrom is pending, for the violation of any wag e                           I
                                                                                                                                            �
  order or provision of the Labor Code.                                                                                                     U1
                                                                                                                                            0
Electronic Signature                                                                                                                        '3
 181 By signing, I affirm that the information herein is true and correct and that I am authorized by California law to sign.               0
                                                                                                                                            N
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                                                                                                                                            �
                                                                   02/14/2024                                                             -.......
 Antonio Jones                                                                                                                             N
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 Signature                                                         Date                                                                    N
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                   California Secretary of State
                   Electronic Filing                                                  Secretary of State
                                                                                      State of California


 Corporation - Statement of Information
                             Entity Name:           PINK PANDA INC.


                      Entity (File) Number:         C4727078
                                    File Date:      10/18/2021
                                  Entity Type:      Corporation
                                  Jurisdiction:     CALIFORNIA
                               Document ID:        GX58825

 Detailed Filing Information

 1. Entity Name:                                         PINK PANDA INC.


 2. Business Addresses:
    a. Street Address of Principal
        Office in California:




    b. Mailing Address:
                                                         312 W. Olympic Blvd
                                                         Los Angeles, California 90015
                                                         United States of America

    c. Street Address of Principal
       Executive Office:                                 312 W. Olympic Blvd
                                                         Los Angeles, California 90015
                                                                                                         Lt)
                                                         United States of America                        N
3. Officers:                                                                                             (X)
                                                                                                         (X)

    a. Chief Executive Officer:
                                                        Andrew Wong
                                                                                                         ><
                                                                                                         Lt)

                                                                                                         (9
                                                        312 W. Olympic Blvd                              0
                                                        Los Angeles, California 90015
                                                                                                         C
                                                        United States of America                         (1)
    b. Secretary:
                                                        Andrew Wong                                      :::J
                                                        312 W. Olympic Blvd                              u
                                                                                                         0
                                                        Los Angeles, California 90015                0
                                                        United States of America
          Use bizfi/e.sos.ca.gov for on/ine filings, searches, business records, and resources.
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                      California Secretary of State
                      Electronic Filing

 Officers (cont'd):
      c. Chief Financial Officer:
                                                           Andrew Wong
                                                           312 W. Olympic Blvd
                                                           Los Angeles, California 90015
                                                           United States of America
4.   Director:
                                                          Andrew Wong
                                                          312 W. Olympic Blvd
                                                          Los Angeles, California 90015
     Number of Vacancies on the Board of                  United States of America
     Directors:                                           0

5. Agent for Service of Process:
                                                          Alejandro Herrera
                                                          100 Wilshire Blvd Ste 700
                                                          Santa Monica, California 90401
                                                          United States of America
6. Type of Business:                                      restaurant




     By signing this document, I certify that the information is true and correct and that I am authorized by
     California law to sign.




     Electronic Signature:   Andrew Wong



                                                                                                                    LO
            Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.                   N
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 [Dj PROPUBLICA TRACKING PPP                                                                                   Donate


 Tracking PPP
 Search Every Company Approved for Federal Loans

     Search for PPP loan applications by organization, lender, zip code and business type.

                                                                                               Search



 Home>
I SAVANT NORCO CORP
0 Why is my loan information here?
 Loan Amount                                                   Amount Forgiven
$73,090                                                        $73,703
                                                               Includes any accrued interest

Where applicants said the money will go

Payroll                                                       $73,090
Utilities                                                     $0
Mortgage Interest                                             $0
HealthCare                                                   $0
Rent                                                         $0
Refinance EIDL                                               $0
Debt Interest                                                $0



Location
Los Angeles, CA
Urban

Industry
Limited-Service Restaurants
Date Approved
June 9, 2020 (First Round)
Lender
usccu
Jobs Reported
20

Business Type
Corporation
Business Age

                                                       Exhibit A Page 150
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 Startup, Loan Funds will Open Business
 Loan Status
 Forgiven


 Companies and nonprofit organizations that receive PPP loans may have the loans forgiven if they
 meet certain criteria, including not laying off employees during the defined period covered by the
 loan. Applicants must attest in their application that the loans are necessary for their continuing
 operation. Note: This data reflects loan applications approved by banks and submitted to the SBA.
 It may not account for money not distributed to, or credit not used by, a given company.

 If you are a representative of this company and believe this record is in error, use this form to let
 the SBA know.




  About this data
  This data comes from the Small Business Administration, and includes lender-approved loans under the Paycheck Protection
  Program as of June 1, 2021. Other loan programs, such as Economic Injury Disaster Loans, are not included in this database. The
  data includes the congressional district of each organization, but for Pennsylvania and North Carolina the districts do not reflect
  2018 redistricting.

  Journalists: Thank you for using this database. Please cite ProPublica by linking to this page. Questions? Contact us.




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                               EXHIBITY
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 fl PROPUBLICA TRACKING PPP
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                                                                                                               Donate



 Tracking PPP
 Search Every Company Approved for Federal Loans

     Search for PPP loan applications by organization, lender, zip code and business type.

                                                                                               Search



 Home,
 I SAVANT NORCO CORP.
 0 Why is my loan information here?
 Loan Amount                                                   Amount Forgiven
 $108,000                                                      $108,612
                                                               Includes any accrued interest

Where applicants said the money will go

Payroll                                                       $108,000

Utilities                                                     $0
Mortgage Interest                                             $0
HealthCare                                                    $0
Rent                                                         $0
Refinance EIDL                                               $0
Debt Interest                                                $0



Location
Los Angeles, CA
Urban

Industry
Limited-Service Restaurants
Date Approved
March 1, 2021 (Second Round)
Lender
USC CU
Jobs Reported
20

Business Type
Corporation
Business Age


                                                       Exhibit A Page 153
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 Existing or more than 2 years old
 Loan Status
 Forgiven



 Companies and nonprofit organizations that receive PPP loans may have the loans forgiven if they
 meet certain criteria, including not laying off employees during the defined period covered by the
                                                                                         0

 loan. Applicants must attest in their application that the loans are necessary for their continuing
 operation. Note: This data reflects loan applications approved by banks and submitted to the SBA.
 It may not account for money not distributed to, or credit not used by, a given company.

 If you are a representative of this company and believe this record is in error, use this form to let
 the SBA know.




  About this data
  This data comes from the Small Business Administration, and includes lender-approved loans under the Paycheck Protection
  Program as of June 1, 2021. Other loan programs, such as Economic Injury Disaster Loans, are not included in this database. The
  data includes the congressional district of each organization, but for Pennsylvania and North Carolina the districts do not reflect
  2018 redistricting.

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                                       February 29, 2024

VIA EMAIL

Mr. Jason Bobson
13600 Sylvan St.
Van Nuys, CA 91401
chefj@blacksteel.tv

Alejandro H. Herrera, Esq.
Herrera Clifton Hess
100 Wilshire Blvd., Suite 700
Santa Monica, CA 90401
alex@herreracliftonhess.com

Re: Bobson v. Bae, LASC Case No. BC650612 - NOTICE OF EX PARTE APPLICATION

Counsel and Parties:

I am writing to provide you notice of an ex parte application by the Receiver, Stephen J. Donell,
in the above-referenced matter. On Friday, March 1, 2024, I will be appearing in Department 51
of the Los Angeles Superior Court, located at 111 N. Hill Street, Los Angeles, CA 90012 at 8:30
a.m., on an ex parte basis on behalf of State Court Appointed Receiver, Stephen J. Donell,
seeking the issuance of an order: (1) Granting the Receiver the Authority To Hire The Maloney
Group, APC as Counsel for the Limited Purpose of Pursuing Professional Negligence and Legal
Malpractice Claims against Alejandro Herrera, Esq. on Behalf of Birdies, and to Pursue a Legal
Malpractice Action; (2) Granting the Receiver the Authority to File a Chapter 7 Bankruptcy
Petition, if Necessary; (3) Seeking Clarification of the Appointing Order as: (a) Applying to
Various Additional Entities, Including I Savant FG, I Savant Norco Corp., Cali FG Corp., Pink
Panda Inc., Norco Hamner Corp, Birdies LA, and Birdies DTLA; and (B) Enjoining Eviction of
The Receiver from the Birdies Premises by Defendant Keith Bae and His Associates.

Please let me know at your earliest convenience whether you plan to attend the hearing and if
you will be opposing (or alternatively, are in favor of) the requested relief. Thank you.

                                       Very Truly Yours,


                                      Michael E. Bubman
MEB
cc: Stephen J. Donell


{00811457}

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                                                                        (SPACE BELOW FOR FILING STAMP ONLY)




 1                                              PROOF OF SERVICE
       LOS ANGELES COUNTY )
 2                         ) ss
 3     STATE OF CALIFORNIA )

 4             I am employed in the County of Los Angeles, State of California, in the office of a member
       of the bar of this court at whose direction the service was made. I am over the age of 18 and not a
 5     party to the within action. My business address is 16133 Ventura Blvd., Suite 1175, Encino,
       California 91436.
 6

 7              On February 29, 2024, I served a true and correct copy of the document described as
       DECLARATIONS OF STEPHEN DONELL, SARAH BATES, OSCAR GONZALEZ SANCHEZ, AND
       MICHAEL E. BUBMAN IN SUPPORT OF EX PARTE APPLICATION BY RECEIVER STEPHEN J.
 8
       DONELL FOR ISSUANCE OF AN ORDER: 1. GRANTING RECEIVER AUTHORITY TO HIRE
       SPECIAL COUNSEL FOR THE PURPOSE OF INVESTIGATING AND PURSUING
 9
       PROFESSIONAL NEGLIGENCE CLAIMS AGAINST ALEJANDRO HERRERA, ESQ.; 2.
       GRANTING RECEIVER AUTHORITY TO FILE BANKRUPTCY PETITION; 3. CLARIFYING
10
       APPOINTING ORDER AS: (A) APPLYING TO ADDITIONAL ENTITIES; AND (B) ENJOINING
       EVICTION OF THE RECEIVER FROM BIRDIES PREMISES BY BAE AND HIS ASSOCIATES the
11
       interested parties named below, as follows:
12                                       SEE ATTACHED SERVICE LIST
        [X] (BY MAIL) I am familiar with the ordinary business practice of the law firm of MIRMAN,
13             BUBMAN & NAHMIAS for collection and processing of correspondence for mailing with
               the United States Postal Service at the aforementioned place of business and that the above-
14             entitled document was placed in a sealed envelope and deposited for collection and mailing on
               the date stated above, following such ordinary practices, and in such manner as to cause it to
15             be deposited with the United States Postal Service that same day, with postage thereon fully
               prepaid, in the ordinary course of business, addressed as indicated above.
16
       [ ]      (BY FACSIMILE TRANSMISSION) Based on the agreement of the parties to accept service
17              by facsimile transmission, I faxed the document(s) to the person(s) via facsimile machine
                number (818) 451-4620 to the person(s) at the fax number(s) listed on the service list on
18              February 29, 2024. No error was reported by the facsimile machine that I used.
19     [X]      (BY E-MAIL) Based on a court order or an agreement of the parties to accept service by e-
                mail or electronic transmission. I caused the documents to be sent to the persons at the e-mail
20              addresses listed. I did not receive, within a reasonable time after the transmission, any
                electronic message or other indication that the transmission was unsuccessful.
21
       [ ]      (BY PERSONAL SERVICE) I caused such envelope to be delivered by hand to the
22              offices of the addressee.
23     [ ]      (BY OVERNIGHT DELIVERY, CCP 1013(c, d) I enclosed the documents in an envelope or
                package provided by an overnight delivery carrier and addressed to the persons at the
24              addresses listed below. I placed the envelope or package for collection and overnight delivery
                at an office or a regularly utilized drop box of the overnight delivery carrier.
25
       [X]      (STATE) I declare under penalty of perjury under the laws of the State of California that the
26              above is true and correct.
27              Executed on February 29, 2024 at Encino, California.
28                                                                 ____________________________
                                                                   ANA I. ACOSTA
       {00745790}                                      1
                                                  PROOF OF SERVICE
                                               Exhibit A Page 157
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                                                 Service List
 1                                            Bobson v. Bae, et al.
 2
       BY EMAIL AND MAIL
 3     Jason Bobson
       13600 Sylvan St.
 4     Van Nuys, CA 91401
       Telephone: (310) 428-3060
 5
       Email: chefj@blacksteel.tv
 6     In Pro Per

 7     BY EMAIL ONLY
       Alejandro H. Herrera, Esq.
 8     HERRERA CLIFTON HESS, PC
       100 Wilshire Blvd., Suite 700
 9
       Santa Monica, CA 90401
10     Telephone: (310) 570-0513
       Email: alex@hch.law
11            alex@herreracliftonhess.com
12

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            ___________________________________________________________________________________________
                                                PROOF OF SERVICE
                                            Exhibit A Page 158                                {00745790}
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                                                                           1

1           SUPERIOR COURT OF THE STATE OF CALIFORNIA
2                  FOR THE COUNTY OF LOS ANGELES
3    DEPARTMENT 51                   HON. UPINDER KALRA, JUDGE
4
5    JASON HARLEY BOBSON, AN INDIVIDUAL,)
                                        )
6                 PLAINTIFF,            )
                                        )
7           VS.                         ) NO. BC650612
                                        )
8    KEITH BAE, AN INDIVIDUAL; AND      )
     DOES 1-10, INCLUSIVE,              )
9                                       )
                  DEFENDANTS.           )
10   ___________________________________)
11
12
13            REPORTER'S TRANSCRIPT OF ORAL PROCEEDINGS
14                      FRIDAY, MARCH 1, 2024
15
16
17   APPEARANCES:
18   FOR PLAINTIFF:
19   HERRERA CLIFTON HESS, P.C.
     BY: ALEJANDRO H. HERRERA, ESQ.
20   100 WILSHIRE BOULEVARD, SUITE 700
     SANTA MONICA, CALIFORNIA 90401
21   (310) 570-0513
22   FOR COURT-APPOINTED RECEIVER, STEPHEN J. DONELL:
23   MIRMAN, BUBMAN & NAHMIAS
     BY: MICHAEL E. BUBMAN, ESQ.
24        MORGAN L. BUBMAN, ESQ.
     16133 VENTURA BOULEVARD, SUITE 1175
25   ENCINO, CALIFORNIA 91436
     (818) 451-4600
26
27   REPORTED BY:                          KYLIE SHEPHERD, CSR NO. 13756
                                           OFFICIAL REPORTER PRO TEMPORE
28

                                 Veritext Legal Solutions
                         Calendar-CA@veritext.com 866-299-5127

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                                                                           2

1                                  I N D E X
2
3
4                                    SESSIONS
5                                                                      PAGE
6    FRIDAY, MARCH 1, 2024
           A.M. SESSION                                                    3
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                                 Veritext Legal Solutions
                         Calendar-CA@veritext.com 866-299-5127

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                                                                             3

1    CASE NUMBER:                            BC650612
2    CASE NAME:                              BOBSON VS. BAE, ET AL.
3    LOS ANGELES, CALIFORNIA                 FRIDAY, MARCH 1, 2024
4    DEPARTMENT 51                           HON. UPINDER KALRA, JUDGE
5    APPEARANCES:                            (AS HERETOFORE NOTED)
6    REPORTER:                               KYLIE SHEPHERD, CSR NO. 13756
7    TIME:                                   9:34 A.M.
8                               (IN OPEN COURT:)
9
10           THE COURT:     LET'S CALL THE BOBSON VS. BAE MATTERS.
11           COUNSEL, STEP FORWARD, PLEASE.                LET'S CALL COUNSEL
12   FOR THE RECEIVER, PLEASE.
13           MR. BUBMAN:     GOOD MORNING, YOUR HONOR.             MICHAEL
14   BUBMAN AND MORGAN BUBMAN FOR THE RECEIVER, STEPHEN
15   DONELL.
16           THE COURT:     COUNSEL FOR MR. BAE?
17           MR. HERRERA:      ALEJANDRO HERRERA FOR MR. BAE, WHO'S
18   ALSO PRESENT.
19           THE COURT:     OKAY.      YOU ALL MAY HAVE A SEAT.
20           WE HAVE A SENTENCING FOR CONTEMPT.                I WAS GOING TO
21   PROCEED WITH THE SENTENCING TODAY, BUT THERE'S ALSO AN
22   EX PARTE APPLICATION FOR AN ORDER AUTHORIZING TO HIRE
23   SPECIAL COUNSEL TO FILE BANKRUPTCY, THEREBY APPOINTING
24   ORDER.
25           I RECEIVED THAT DECLARATION.                I REVIEWED THE
26   DECLARATION.       I REVIEWED THE POINTS AND AUTHORITIES.               I
27   RECEIVED NO OPPOSITION.
28           MR. BAE, DID YOU WANT TO BE HEARD?

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127

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                                                                                 4

1          MR. HERRERA:       YES, YOUR HONOR.
2          THERE'S NO EMERGENCY BEHIND IT, FIRST OF ALL.                    SO
3    IT CAN BE SET AS A REGULAR MOTION, THEN WE COULD GET AN
4    OPPORTUNITY TO CLOSE IT.
5          THEY KNOW THAT WE'RE IN THE PROCESS OF BEING
6    INUNDATED WITH EMAILS, GETTING DOCUMENTS UPLOADED SO
7    THAT THEY HAVE ACCESS TO EVERYTHING AND COMPLETED IT.
8    EVERYTHING'S BEEN COMPLETED AS OF YESTERDAY.
9          AND JUST GIVEN AN OPPORTUNITY TO RESPOND TO 200
10   PAGES OF AN EX PARTE, MAKING ALLEGATIONS THAT DON'T HAVE
11   ANY EVIDENCE UNDERNEATH.            FOR EXAMPLE, EVEN ACCUSING
12   MYSELF OF PARTICIPATING IN SOME TAX FRAUD BECAUSE I'M
13   LISTED AS AN AGENT FOR SERVICE ON ENTITIES.                  BUT IT'S AN
14   OUTRAGEOUS ALLEGATION, BUT THAT'S IT.                  IF THEY WANT A
15   HEARING ON THAT, THEY CAN HAVE A HEARING ON THAT, BUT
16   NOT ON AN EX PARTE BASIS.
17         IF THEY WANT TO EXPAND THE ORDER NOW AND TRY TO
18   GRAB THE LOCATION NEXT DOOR BECAUSE THERE'S AN OVERLAP
19   THERE, IT'S A SEPARATE BUSINESS.                  IT'S ALWAYS BEEN A
20   SEPARATE BUSINESS.        THE BUSINESS SHUT DOWN AND
21   ALLOWED -- TO USE SOME OF ITS LOGISTICS.                  AND NOW,
22   THEY'RE TRYING TO EXPAND INTO IT, ACCUSING MR. BAE OF
23   THEFT, ACCUSING HIM OF INTERFERING WITH HIS OWN
24   BUSINESS, SOME WAY SOMEHOW, HURTING HIMSELF, CLEARLY
25   BECAUSE THEY WANT TO ATTACK HIM IN EVERY POSSIBLE WAY
26   AND COMPLETELY RUIN HIS BUSINESS.
27         AT THE END OF THE DAY, THE PARTNERSHIP HAS BEEN
28   DISSOLVED.     THERE NEEDS TO BE A FINAL ACCOUNTING AND

                                 Veritext Legal Solutions
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1    DISPOSE THAT.       THAT IS THE CASE.
2          I UNDERSTAND THINGS ARE -- BUT WE'RE COMPLETELY OFF
3    THE RAILS WITH WHAT'S HAPPENING NOW.                MR. BAE'S ENTIRE
4    BUSINESS HAS BEEN SHUT DOWN AT THIS POINT, TO THE POINT
5    OF WANTING TO SEEK BANKRUPTCY, YOUR HONOR.
6          WE WARNED THE COURT ABOUT THIS:               THAT THEY'RE
7    SHUTTING IT DOWN.        THEY DON'T KNOW WHAT THEY'RE DOING.
8    THEY DO NOT HAVE EXPERIENCE IN THE RESTAURANT BUSINESS
9    AND THEY WON'T BE ABLE TO VERIFY THAT THEY DO.
10         MR. DONELL HAD NO IDEA.               HIS OWN EMPLOYEES HAVE
11   ADMITTED THAT THEY JUST DON'T KNOW WHAT THEY'RE DOING
12   AND THEY WERE RUNNING THE BUSINESS INTO THE GROUND.
13         AND EVERY SINGLE THING, EVERY SINGLE THING THAT HAS
14   HAPPENED, ANY SHORTCOMING HAS BEEN BLAMED ON MR. BAE.
15   HE'S BEEN BLAMED FOR EVERY SINGLE THING, NO MATTER WHAT
16   IT IS.    INVENTORY SHORTAGES; STEALING CASH, EVEN THOUGH
17   HE WAS GIVEN WRITTEN PERMISSION TO DO WHAT HE DID.
18         HE'S CONSTANTLY BEING ACCUSED OF ONE WRONG THING OR
19   THE OTHER, BLAMED FOR THE FAILURE OF THE RESTAURANT
20   WHICH HE WAS OPERATING, BLAMED FOR AVOIDING TAXES WHICH
21   HE, IN WRITING, ACCEPTED AND HAS BEEN IN COMMUNICATIONS
22   WITH THE TAX AGENCY.
23         SO NONE OF THESE ALLEGATIONS HAVE EVIDENCE.
24   THEY'RE ABSOLUTELY MISLEADING, JUST IN MY REVIEW OF IT.
25   AN OPPORTUNITY TO RESPOND IN A MEANINGFUL WAY IS
26   ABSOLUTELY NECESSARY BECAUSE THERE'S NOTHING -- THERE'S
27   NOTHING WITH ANY URGENCY HERE WHERE ANOTHER ORDER NEEDS
28   TO BE -- THIS JUST FURTHER FRUSTRATING EVERYTHING.

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1    THERE'S JUST NOTHING THERE THAT REQUIRES ANYTHING ON AN
2    EMERGENCY BASIS.
3          THE COURT:       OKAY.      THIS MATTER SUBMITTED?
4          MR. HERRERA:       YES.
5          THE COURT:       THE COURT IS GRANTING IT IN FULL.
6          I HOLD THE STANDARD FOR IRREPARABLE HARM SERIOUSLY.
7    MOST EX PARTES ARE DENIED BECAUSE PARTIES CANNOT REACH
8    THAT STANDARD.       THEY HAVE MORE THAN EXCEEDED THE
9    STANDARD HERE.
10         THE CONDUCT BY YOUR CLIENT IS OUTRAGEOUS, CONTINUES
11   TO BE OUTRAGEOUS.        THE ALLEGATIONS ARE SUPPORTED BY
12   EVIDENCE.    THERE IS DECLARATIONS.                 THERE'S SPORTING
13   DOCUMENTS.     THE NOTION THAT THERE'S NO EVIDENCE BEFORE
14   THE COURT IS SPECIOUS.
15         THE COURT HAS RECEIVED SIGNIFICANT AMOUNTS OF
16   EVIDENCE IN OTHER HEARINGS.                 I'M NOT BLIND TO WHAT'S
17   GOING ON.    YOUR CLIENT, FOR YEARS, HAS REFUSED TO COMPLY
18   WITH COURT ORDERS, REFUSED -- WILLFULLY REFUSED.                   THE
19   COURT CONDUCTED A CONTEMPT HEARING AND MADE SUCH
20   FINDINGS, PUT THE SENTENCING OVER AT HIS REQUEST AND
21   YOUR REQUEST.
22         YOU, TOO, ARE PART OF THE CONTENTION.                  AND BECAUSE
23   OF DEFECTS, THE COURT RIGHTFULLY ACQUITTED YOU.                   THAT'S
24   NOT TO SAY THAT YOU'RE NOT PART OF WHAT THEY LABELED AS
25   OUTRAGEOUS MISCONDUCT.            THEY LABEL IT AS CONSPIRACY.
26   YOU ARE PART IN PARCEL OF WHAT IS GOING ON HERE.
27         WHILE THE COURT MAY HAVE ACQUITTED YOU OF THE
28   CONTEMPT BECAUSE THE STANDARD IS BEYOND A REASONABLE

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1    DOUBT, THE COURT IN NO WAY IS SANCTIONING OR CONDONING
2    YOUR BEHAVIOR, NOR IS IT BLIND TO YOUR BEHAVIOR AS AN
3    INDIVIDUAL.
4          AND MR. BAE'S BEHAVIOR IS INEXCUSABLE.                  IT'S EVEN
5    WORSE THAN WAS PRESENTED TO ME AT THE CONTEMPT HEARING.
6    BUT I'M NOT GOING TO LET THAT BLEED INTO THE SENTENCING,
7    MY CONTEMPT HEARING.          MY SENTENCING IS MY SENTENCING.              I
8    PUT IT OVER FOR HIM FOR MITIGATION.
9          I'M NOT GOING TO ADD ANYTHING TO -- AGGRAVATION, I
10   WANT TO MAKE THAT CLEAR.             BUT IN REGARDS TO WHAT THEY'RE
11   REQUESTING HERE SO THEY CAN DO THEIR JOB AS THE
12   RECEIVER, THE ORDER WAS ENTERED TWO YEARS AGO,
13   APPROXIMATELY.        THERE WAS NO REASON FOR A RECEIVER
14   EXCEPT FOR YOUR CLIENT'S UNWILLINGNESS TO PARTICIPATE IN
15   ACCOUNTING.        THAT'S WHAT STARTED THIS OFF.             THAT IS WHY
16   THERE WAS A RECEIVER.
17         AND NOW, THE RECEIVER HAS BEEN PREVENTED FROM DOING
18   THEIR JOB FOR YEARS.          WHEN THEY FINALLY GOT IN TO SEE
19   THE HABIT AND THE DESTRUCTION AND THE MALFEASANCE THAT
20   YOUR CLIENT HAS ENGAGED IN IN RUNNING THIS BUSINESS,
21   THEY'RE ASKING FOR ADDITIONAL AUTHORITY.                  THIS AUTHORITY
22   IS -- SOME OF IT IS JUST A CLARIFICATION; SOME OF IT IS
23   ADDITIONAL AUTHORITY.          THEY WANT TO HIRE A -- TO DO
24   BANKRUPTCY, THAT'S ADDITIONAL AUTHORITY.
25         AS REGARDS TO THE ORDER REGARDING THESE OTHER
26   ENTITIES, THEY WERE SET UP BY YOUR CLIENT TO AVOID
27   COMPLYING WITH THE COURT'S ORDER.                  THAT JUST IS A
28   CLARIFICATION.        THE COURT --

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1          MR. HERRERA:        THAT WASN'T IN THE MOTION, YOUR
2    HONOR.    I'M SORRY.       NOTHING WAS SET UP.
3          THE COURT:       EXCUSE ME.          EXCUSE ME.   YOU SUBMITTED.
4    I'M RULING.        THE ORDER IS GRANTED IN FULL.
5          NEXT ISSUE:       YOU WANT TO PROCEED WITH THE
6    SENTENCING OR NOT?
7          MR. HERRERA:        YES, YOUR HONOR.
8          I WANT TO POINT OUT THAT THE COURT'S FEBRUARY
9    SENTENCE ORDER, THERE HAS BEEN AN APPEAL FILED IN THAT
10   MATTER.     SO I WANTED TO POINT THAT OUT.
11         THERE'S ALSO A COUPLE OF MOTIONS THAT ARE ON FILE,
12   JUST REGULAR MOTIONS.          AND ONE OF THEM ADDRESSES THE
13   ISSUE OF THE ACCOUNTING PERIOD THAT WE'VE BEEN
14   REQUESTING FOR YEARS.          AND IT'S AS SIMPLE AS THAT.
15         WE'RE ASKING THAT THE COURT FINISH THE RULINGS THAT
16   IT'S BEEN ASKED TO DO, AND THAT WOULD ALLOW THE
17   ACCOUNTING PERIOD TO BE DETERMINED AND THE ACCOUNTING
18   COMPLETE AND THE PARTNERSHIP DISSOLUTION COMPLETE.
19   THAT'S ON CALENDAR, YOUR HONOR.
20         AND THE SECOND ONE IS TO ADDRESS THE ISSUE WITH THE
21   RECEIVER.     THE RECEIVER HAS ACTED IN A BIASED WAY.                FOR
22   EXAMPLE, THE MOST --
23         THE COURT:       SO THAT'S -- THAT'S -- OKAY.             YOU HAVE
24   A MOTION ON CALENDAR, YOU CAN --
25         MR. HERRERA:        IT RELATES TO THIS ONE.            THE BIAS AND
26   THE CONDUCT OF THE RECEIVER IS ABSOLUTELY -- IS
27   ABSOLUTELY PROVEABLE BY --
28         THE COURT:       THE QUESTION RIGHT NOW FROM THE COURT,

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1    THE QUESTION THE COURT ASKED YOU:                  DO YOU WANT TO
2    PROCEED WITH THE SENTENCING?                 THAT'S THE ONLY ISSUE
3    RIGHT NOW THIS CALENDAR THAT'S LEFT TODAY IS THE
4    SENTENCING OF YOUR CLIENT.
5          I PUT IT OVER SINCE JANUARY.                 WE WERE SUPPOSED TO
6    SENTENCE FORTHWITH.         THE ONLY REASON I DIDN'T IS WE WERE
7    AT 4:30, AND I ASKED YOUR CLIENT, "DO YOU WANT ME TO
8    SENTENCE YOU?"        AND HE ASKED ME A QUESTION ABOUT WHETHER
9    HE'S GOING TO GO TO JAIL.              I SAID, "IT'S NOT GOING TO
10   HAPPEN NOW.        IF YOU WANT TO PUT THE SENTENCING OVER,
11   I'LL PUT IT OVER."         I PUT IT OVER AT HIS REQUEST.              IT
12   GOT PUT OVER ONCE.
13         WE'RE HERE.       DO YOU WANT ME TO PROCEED WITH THE
14   SENTENCING OR NOT?         THAT'S MY QUESTION.
15         MR. HERRERA:        YES, WE ARE, YOUR HONOR.           I WAS JUST
16   POINTING OUT -- PROCEEDING WITHOUT THE COURT CONSIDER
17   THE FILINGS INVOLVED.
18         AND I DIDN'T FINISH EXPLAINING WHAT THE LAST ONE
19   WAS, BUT --
20         THE COURT:       I DON'T KNOW -- WHAT I INDICATED TO
21   YOUR CLIENT, BECAUSE YOUR CLIENT WALKED IN, I ENCOURAGED
22   HIM WHILE WE PUT IT OVER FOR THE SENTENCING, WHAT WOULD
23   BE HELPFUL TO THE COURT IS, IN REGARDS TO MITIGATION, IF
24   HE ULTIMATELY COMPLIED WITH THE COURT'S ORDERS.                     THAT
25   WAS IN JANUARY.        WE PUT IT OVER FOR A PERIOD OF TIME.
26         HE WALKED IN WITH A BOX AT THIS SENTENCING, WHICH
27   IS KIND OF SURPRISING, THINKING THAT THAT WAS
28   MITIGATION.        IT WAS NOT.       AND THEN I ASKED HIM AGAIN ON

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1    THAT DATE AND -- PUT IT OVER TO NOW COMPLY.                    WE PUT IT
2    OVER ANOTHER DAY.
3          THERE WERE MORE FILINGS, ELECTRONIC FILINGS.                      OTHER
4    ISSUES AROSE.       WE WERE ASKED TO PUT OVER THE SENTENCING
5    AGAIN.     THIS IS ALL ABOUT MITIGATION.                 SO IF YOU'RE
6    READY TO PROCEED WITH SENTENCING, WE'LL PROCEED, BECAUSE
7    I HAVE NO MITIGATION.
8          MR. HERRERA:       DECLARATION WAS FILED YESTERDAY BY --
9    DECLARATION FROM MR. BAE, SHOWING ITEM BY ITEM ON THE --
10   LETTER REQUEST FROM MR. DONELL FEBRUARY 7 LETTER,
11   SHOWING ITEM BY ITEM AND ADDRESSING HIS COMPLIANCE WITH
12   EVERY SINGLE ITEM.
13         AT THIS POINT, HE'S DONE EVERYTHING HE CAN DO.                      IT
14   DOESN'T SEEM LIKE THERE'S ANYTHING THAT MR. BAE CAN DO
15   THAT WON'T RECEIVE A COMPLAINT OF SOME SORT OR
16   GRIEVANCE.
17         THERE'S THIS WHOLE RAMBLE ABOUT ACCESS TO -- AND
18   HOW IT CAN BE DISRUPTED AND ALL OF THAT.                    THEY'VE NEVER
19   BEEN DISRUPTED FROM THEIR ACCESS.                    THEY ALWAYS HAVE FULL
20   ACCESS TO IT AND THEY CONTINUE TO HAVE FULL ACCESS.
21   THAT'S THE REALITY AND THE TRUTH.
22         AND HE'S HANDED EVERYTHING THAT HE CAN HAND OVER,
23   YET SOMEHOW, THERE'S STILL COMPLAINTS ABOUT HIM.                    THOSE
24   DON'T SEEM TO BE ESCAPABLE.               BUT COMPLIANCE BY MR. BAE
25   IS DONE.     HE HAS TO FIND ITEM BY ITEM, EVERYTHING --
26   CAPABLE OF PROVIDING.
27         AND THAT, I WANT TO MAKE SURE THE COURT DEFINITELY
28   HEARS BECAUSE HE HAS COMPLIED.                    HE'S AT THE END OF HIS

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1    ABILITY TO DO ANYTHING MORE.                 HE'S NOT BEING PAID.       HE
2    DOESN'T WORK FOR THE RESTAURANT -- I MEAN, BEFORE IT
3    CLOSED.     AND GIVE ALL THE INFORMATION AND RECORDS, WHICH
4    HE'S DONE.
5            AND HERE WE ARE.       HE COMPLETED AS MUCH AS HE CAN
6    COMPLETE.     THERE'S STILL COMPLAINTS ABOUT IT, BUT
7    THERE'S NOTHING MORE THAT HE CAN DO ABOUT IT.                    HE'S
8    AVAILABLE TO HELP.         BUT ANYTHING -- IT GOES BEYOND
9    REASONABLENESS OF WHAT'S BEING EXPECTED OF HIM.
10           HOWEVER, LIKE I SAID, AS LONG AS THE COURT CAN
11   CONSIDER THAT, I WANT TO MAKE SURE THAT THE COURT DOES
12   SEE IT AND DOES CONSIDER THAT AT SENTENCING.
13           THE COURT:     SO I LOOK AT MY FILES A FEW DAYS BEFORE
14   THE HEARINGS.        WHEN I LEFT YESTERDAY, IT WAS ABOUT 6:00.
15   I HAD NO FILINGS.         SO ONCE AGAIN, FILINGS WERE MADE
16   LATE.
17           I REMINDED YOU ABOUT THAT.                 THIS FILING IS FILED
18   11:32.     THAT IS CONSISTENT WITH WHAT YOU AND MR. BAE
19   ENGAGED IN.        YOU WALK IN WITH DOCUMENTS AT A HEARING OR
20   YOU FILE DOCUMENTS THE MORNING OF THE HEARING, WHICH IS
21   WHAT HAPPENED LAST TIME.             NOW, YOU FILE IT THE NIGHT OF
22   THE HEARING.
23           I READ IT.     YOU WANT ME TO CONSIDER THIS, I WILL
24   HEAR FROM THE RECEIVER, BECAUSE I'M SURE THEY HAVE A --
25   THEY'LL HAVE A POSITION.
26           MR. HERRERA:      YEAH, THAT'S FINE.
27           MR. BUBMAN:     THE ONLY POSITION I HAVE, YOUR HONOR,
28   WE WEREN'T SERVED WITH IT.               I'VE NEVER SEEN IT.       I JUST

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1    LOOKED AT MY EMAIL AGAIN.               WE WEREN'T SERVED WITH
2    ANYTHING.     I HAVE NO IDEA WHAT HE FILED LAST NIGHT.
3          THE COURT:       I DIDN'T KNOW ANYTHING UNTIL JUST THIS
4    MOMENT BECAUSE IT JUST GOT IN MY QUEUE.                      AND I'VE
5    EXPLAINED THAT TO THEM.             THE WAY THE FILING WORKS, HE
6    HAS TO FILE AT LEAST A DAY AHEAD OF TIME.                      HE FILED THE
7    MORNING OF, WHICH IS WHAT THEY DID LAST TIME, OR AT
8    11:32 P.M.     IT DOESN'T GET TO THE QUEUE.                   AND THE PROOF
9    OF SERVICE SAYS THAT THEY SERVED YOU BY EMAIL AT 11:32
10   LAST NIGHT.
11         MR. BUBMAN:       DIDN'T HAVE IT.
12         THE COURT:       OKAY.      FINE.         I'LL PASS.     I WILL PRINT
13   IT OUT.     WE'LL HAVE YOU READ IT.                 WE'LL PASS IT.       I'M
14   GOING TO GO TO MY NEXT CASE.
15                (RECESS TAKEN.)
16         THE COURT:       OKAY.      WE'RE BACK ON THE RECORD ON THE
17   BOBSON MATTER.       WE HAVE COUNSEL FOR THE RECEIVER IN
18   COURT.    WE HAVE COUNSEL FOR MR. BAE IN COURT.
19         COUNSEL FOR THE RECEIVER, DID YOU HAVE A CHANCE TO
20   REVIEW THE DECLARATION FILED LAST NIGHT AT 11:30-ISH?
21         MR. BUBMAN:       YES, I HAVE, YOUR HONOR.
22         THE COURT:       DO YOU HAVE ANY COMMENTS?
23         MR. BUBMAN:       I HAVE MANY COMMENTS.
24         THE COURT:       BRIEF.       HOW ABOUT FIVE MINUTES OR LESS?
25         MR. BUBMAN:       PERFECT.
26         JUST GOING THROUGH THIS, MR. BAE TAKES A PORTION OF
27   WHAT WAS REQUESTED AND SAYS, "OH, I PROVIDED THAT ONE
28   THING."     A PERFECT EXAMPLE, THE FIRST ONE:                   NAME A

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1    PAYROLL SERVICE PROVIDER.             A WHOLE PARAGRAPH FULL OF
2    STUFF THAT WE WERE REQUESTING.
3           HE DID PROVIDE THE NAME OF THE PAYROLL SERVICE
4    PROVIDER ULTIMATELY.         IT REQUIRED THAT I PERSONALLY WENT
5    TO THE PAYROLL SERVICE PROVIDER, SERVED THEM WITH THE
6    ORDERS, AND SAID, "WE'VE ASKED YOU TO COMPLY."                  AND THEY
7    SAID, "OH, WE'RE WAITING TO GET CONSENT FROM MR. BAE
8    BEFORE WE PROVIDED ANY INFORMATION."
9           I SHOWED THEM THE ORDER AND TOLD THEM, "HEY, YOU
10   NEED TO GIVE THIS TO THE RECEIVER."                 THEY SAID, "NO
11   PROBLEM.    WE'LL GIVE YOU WHATEVER YOU WANT FROM US."                SO
12   WE GOT THE RECORDS FROM THEM.                 HE STILL HASN'T PROVIDED
13   MUCH OF THE INFORMATION THAT WE'VE BEEN ASKING FOR FROM
14   HIM.
15          AND BY THE WAY, I'LL NOTE THAT IN HIS DECLARATION,
16   HE SAYS, "AS OF THE LAST HEARING DATE OF FEBRUARY 2, I
17   PROVIDED THE INFORMATION AND RECORDS LISTED ON
18   MR. DONELL'S FEBRUARY 7, 2024, LETTER."
19          IF HE'S SAYING THAT I PROVIDED IT AS OF FEBRUARY 2,
20   THAT CLEARLY DIDN'T HAPPEN BECAUSE THIS LETTER WAS
21   WRITTEN ON FEBRUARY 7 TO SAY, "THIS IS THINGS WE STILL
22   NEED AND HAVEN'T GOTTEN."
23          IF HE'S SAYING THAT IN ADDITION TO THAT, "I'VE
24   PROVIDED THESE THINGS," I CAN TELL YOU ANYTHING THAT HE
25   SAYS, NO. 1:       WAS PROVIDED VIA DROPBOX.            NOBODY EVER
26   SAID, "HEY, HERE'S A DROPBOX.                 GO LOOK AT IT."
27          NOW, THERE WERE THINGS THAT WERE UPLOADED TO
28   DROPBOX PRIOR TO FEBRUARY 2ND, WHICH I DOWNLOADED AND

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1    RECEIVED.     NONE OF THESE THINGS WERE IN THERE.                 AND
2    SINCE THAT TIME, I HAVEN'T LOOKED AT IT AND NOBODY'S
3    TOLD ME, "HEY, WE'VE UPLOADED MORE THINGS TO THAT
4    DROPBOX IF YOU WANT TO TAKE A LOOK AT IT."                    EVERY OTHER
5    TIME SINCE, I BELIEVE IT WAS JANUARY 2ND, I WENT AND
6    LOOKED AT THE DROPBOX NUMEROUS TIMES TO SEE WHAT WAS
7    UPLOADED, AND NOT ONE THING WAS UPLOADED SINCE THAT
8    TIME.
9            MOST OF THE INFORMATION ON HERE, WHAT IS
10   INTERESTING ABOUT IT IS IT'S SIMILAR TO THE FIRST ITEM.
11   HE SAYS, NO. 2:        PAYROLL TAXES.              HE DIDN'T GIVE US
12   ANYTHING ABOUT PAYROLL TAXES.
13           THE ONLY THING WE GOT ABOUT PAYROLL TAXES WAS THE
14   PAYROLL TAX PROVIDER TOLD US, "WE FILED ALL THE 941
15   RETURNS."     SOMEHOW MR. BAE SEEMS TO THINK THAT WAS
16   ENOUGH, AND I GUESS YOU DON'T HAVE TO PAY THE PAYROLL
17   TAXES.     NONE OF THE PAYROLL TAXES WERE PAID.                 WE HAVEN'T
18   GOTTEN ANY RECORDS SHOWING THAT ANYTHING WAS PAID.
19           BUT WHAT WE DO KNOW FROM THE RECORDS WE RECEIVED
20   FROM THE PAYROLL SERVICE PROVIDER, THAT THE EMPLOYEES
21   WERE PAID THEIR NET PAY AS IF TAXES HAD BEEN TAKEN OUT,
22   YET NONE OF THOSE WERE PAID IN.                    SO HE'S BASICALLY TAKEN
23   MONEY FROM THE EMPLOYEES.
24           THE COURT:     SO LET ME ASK YOU A QUESTION ABOUT
25   THAT.
26           MR. BUBMAN:     YEAH.
27           THE COURT:     AND THIS IS IN REFERENCE TO YOUR
28   DECLARATION.       APPROXIMATELY, THERE'S A $900,000 LIEN IN

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1    TAXES.    IS THAT PAYROLL TAXES?                    REAL ESTATE TAXES?
2    SALES TAX?     WHAT TYPE OF TAXES?
3          MR. BUBMAN:       IT'S ALL -- IT'S PAYROLL TAXES, IT'S
4    SALES TAXES.       I'M NOT ENTIRELY SURE A FEW OF THE OTHERS.
5    BUT THEY'RE ALL LISTED.
6          THE COURT:       OKAY.      IN REGARDS TO THE LIEN, IS THERE
7    AN ACTUAL LIEN OR ARE YOU --
8          MR. BUBMAN:       ACTUAL LIENS THAT ARE -- I ONLY PULLED
9    THOSE OFF OF THE SECRETARY OF STATE'S WEBSITE.                      SO THOSE
10   WERE LIENS THAT HAVE BEEN REPORTED.                      THERE MAY BE MORE
11   OUT THERE.     I DON'T KNOW.            BUT I JUST PULLED THE LIENS
12   FROM 2016 ALL THE WAY TO 2023.
13         THE COURT:       THAT'S MY NEXT QUESTION.                THEY'RE GOING
14   BACK TO 2016?
15         MR. BUBMAN:       CORRECT.
16         THE COURT:       AND THEY'RE CURRENT?                AS OF 2023,
17   THERE'S STILL LIENS OUTSTANDING?
18         MR. BUBMAN:       THEY'RE STILL THERE.                NOTHING HAS BEEN
19   RELEASED.    AND IF THEY HAVE, I HAVEN'T SEEN ANY
20   INFORMATION OF IT.        BECAUSE LIKE I SAID, I TOOK THIS
21   DIRECTLY FROM THE SECRETARY OF STATE'S WEBSITE.                      I DID
22   IT PERSONALLY MYSELF.
23         THE COURT:       OKAY.      SO IN REGARDS TO THE ORDER THAT
24   THE COURT ENTERED AND IT WAS DEMANDING COMPLIANCE THAT
25   LED TO THE CONTEMPT HEARING, WHAT IS STILL OUTSTANDING,
26   AS FAR AS YOU KNOW?
27         MR. BUBMAN:       THE VAST MAJORITY OF THINGS.                I MEAN,
28   TO THE EXTENT THAT HE WOULD COMPLY WITH SOMETHING, FOR

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1    EXAMPLE, AS WE SEE IN HERE, HE SAYS, "I GAVE A USERNAME
2    AND PASSWORD."        THEY WEREN'T THE ADMINISTRATIVE ACCESS
3    THAT WE NEEDED TO CONTROL THESE SYSTEMS.
4            HE SAYS WITH REGARD TO THE SECURITY SYSTEM, THE
5    INFORMATION WAS PROVIDED.              IT'S JUST NOT TRUE.     WITH
6    REGARD TO THE CAMERA SYSTEM, THE ARLO CAMERA SECURITY
7    SYSTEM, HE SAYS HE PROVIDED THE INFORMATION.                 IT'S NOT
8    TRUE.
9            HE'S ACKNOWLEDGING THAT HE HASN'T FILED TAX
10   RETURNS.     THERE ARE SO MANY OF THESE THINGS THAT ARE
11   BEYOND BELIEF THAT HE HAS OPERATED THE BUSINESS THIS
12   ENTIRE TIME WITHOUT DOING ANY ACCOUNTING HIMSELF.                 I
13   JUST FIND THAT UNBELIEVABLE.
14           WHEN WE TALK ABOUT THE -- WE ASK ABOUT THE
15   QUICKBOOKS SYSTEM THAT HE'S BEEN PAYING FOR MONTHLY, HE
16   SAYS THAT WAS CLOSED AND "I DON'T HAVE ACCESS."                 BUT HE
17   HASN'T PROVIDED US WITH ANY INFORMATION.
18           THE BANK ACCOUNTS, WE ASKED HIM TO LIST ALL OF THE
19   BANK ACCOUNTS.        HE DIDN'T DO THAT.           HE PROVIDED A COUPLE
20   OF BANK ACCOUNTS.         WE HAD TO GO GET THEM OURSELVES.            THE
21   VAST MAJORITY OF THIS INFORMATION, TO THE EXTENT THAT WE
22   HAVE IT, CAME FROM OUR OWN EFFORTS.
23           SO THERE IS STILL A PLETHORA OF ITEMS THAT HAVE NOT
24   BEEN PROVIDED THAT WERE ORDERED TO BE PROVIDED AND, OF
25   COURSE -- ON THE CONTEMPT.
26           THE COURT:     THE NEXT QUESTION I HAVE IS THE DELAY
27   IN PROVIDING YOU THIS INFORMATION DATING BACK TO THE
28   FEBRUARY 22, 2022 ORDER PROVIDING ALL FINANCIAL RECORDS

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1    TO THE COUNTY, YOU WERE NOT YET INVOLVED.                    HOW HAS THAT
2    ADVERSELY IMPACTED YOUR ABILITY?
3          ACTUALLY, LET'S START WITH THE AUGUST 17TH ORDER.
4    YOU WERE APPOINTED ON AUGUST 17TH, 2022.                AND
5    THEREAFTER, THERE WAS AN ORDER OCTOBER 7TH, '22 TO
6    APPEAR.     FEBRUARY 21ST, 2023, ORDERED TO APPEAR, PRODUCE
7    ALL PAPERS TO THE RECEIVER BY FEBRUARY 24TH, 2023.
8          HOW HAVE YOU BEEN ADVERSELY IMPACTED BY THAT DELAY?
9          MR. BUBMAN:       AT THIS POINT, YOUR HONOR, THE ONLY
10   THING -- ONE OF THE THINGS THAT WE ALWAYS DO IN
11   RECEIVERSHIPS I'VE BEEN INVOLVED WITH WITH MR. DONELL IS
12   THAT WE GET THE RECORDS, OUR ACCOUNTANT GETS INVOLVED.
13   WE RUN THE NUMBERS, NO. 1:               TO FIND OUT WHAT'S REAL AND
14   WHAT'S NOT.        AND NO. 2:      TO SEE IF A BUSINESS IS
15   SUSTAINABLE.
16         THERE ARE SO MANY RECORDS THAT WE HAVE NOT
17   RECEIVED.     THE ACCOUNTANT WAS FIRST ABLE TO DO THIS
18   ABOUT TWO WEEKS AGO.          STARTING ALL THE WAY BACK FROM
19   ASKING FOR ALL OF THESE RECORDS IN AUGUST OF '22, THE
20   FIRST TIME WE'RE ABLE TO DO -- TO RUN A PROFORMA TRIAL
21   BALANCE AND TRY TO FIGURE OUT WHAT WAS GOING ON WITH
22   THIS BUSINESS WAS IN PROBABLY THE FEBRUARY -- AROUND
23   FEBRUARY 10TH OR 11TH.           AND A LOT OF IT WAS STILL LEFT
24   TO GUESSWORK BECAUSE THERE WERE ITEMS STILL NOT
25   EXPLAINED, THE CASH THAT WAS USED BY MR. BAE.
26         THE COURT EVEN COMMENTED ON THIS IN REVIEWING THE
27   RECORDS.     THERE WERE $30,000 IN A MONTH IN CASH
28   WITHDRAWN.     AND WHAT MR. BAE SAYS IN HIS DECLARATION

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1    HERE, "I TOOK THE CASH FROM ONE ACCOUNT AND I DEPOSITED
2    IT INTO THE OTHER."
3            BUT THEN CASH WAS WITHDRAWN FROM THE OTHER, AND
4    ONLY RECENTLY, WITHIN THE LAST TWO OR THREE DAYS, DID WE
5    FIND OUT WHEN MS. BATES FROM MR. DONELL'S OFFICE SPOKE
6    WITH ONE OF THE EMPLOYEES WHO TOLD HER, "OH, WELL, AT
7    LEAST HALF OF MY PAY COMES IN CASH.                  MR. BAE PAYS ME IN
8    CASH."     THIS IS TRUE FOR THE VAST MAJORITY OF THE
9    EMPLOYEES THERE.        SOME WAS A PAYROLL CHECK; SOME WAS
10   CASH.
11           WE JUST COULD NOT FIGURE OUT WHAT THE FINANCIALS OF
12   THIS BUSINESS WERE LIKE.              AND IT'S ALL OVER THE BOARD.
13   WE WERE ABLE TO GET SOME OF THAT INFORMATION ONCE WE
14   FINALLY GOT ACCESS TO THE TOAST SYSTEM.
15           BUT IT'S STILL NOT EVERYTHING.               BECAUSE AS I NOTED
16   IN ONE OF THE DOCUMENTS THAT WE PROVIDED, SINCE THE
17   LAST -- PROBABLY IN THE LAST WEEK, WEEK AND A HALF OF
18   OPERATIONS, MR. BAE PUT A SIGN UP AT THE CASH REGISTER
19   THAT SAID, "10 PERCENT DISCOUNT FOR CASH."                    AND THE CASH
20   THEN WAS NOT PUT INTO THE CASH SAFE AND MR. DONELL NEVER
21   RECEIVED THAT MONEY.
22           THE COURT:     OKAY.      ALL RIGHT.        YOUR FIVE MINUTES IS
23   EXHAUSTED.
24           YOU GET TWO MINUTES TO RESPOND.
25           MR. HERRERA:      YOUR HONOR, THE PAYROLL EXAMPLE, ALL
26   THE INFORMATION WAS DISCLOSED LONG AGO.                  THE USE OF THE
27   CASH TO PAY CERTAIN EMPLOYEES THAT WANTED TO BE PAID IN
28   CASH, ALL OF THAT WAS DISCLOSED UP FRONT.                    THERE WAS A

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1    SUMMARY, AN EXCEL SPREADSHEET THAT WAS PROVIDED,
2    INDICATING WHO THEY WERE, THEIR NAMES, THE AMOUNT.                  IT
3    WAS ALL THERE, ALL OF IT.
4          THERE'S A LOT OF ALLEGATIONS ABOUT CASH BEING TAKEN
5    FROM ONE PLACE --
6          THE COURT:       HOW DO YOU SUPPOSE THAT APPEARS TO THE
7    COURT WHEN YOU SAY IN 2024, A BUSINESS LIKE A RESTAURANT
8    THAT IS GOING THROUGH A RECEIVERSHIP AND THERE'S A
9    DISPUTE, THAT THE CLIENTS WANT TO BE PAID IN CASH AND
10   THEY'RE -- AND MR. BAE'S DOING IT AS A COURTESY TO THE
11   EMPLOYEES?     HOW DO YOU THINK THAT APPEARS TO THE COURT?
12         MR. HERRERA:        IT MAY NOT APPEAR GOOD TO THE COURT.
13   BUT WE'RE NOT TALKING ABOUT SUBSTANTIAL SUMS OF MONEY.
14   WE'RE TALKING ABOUT A SMALL HANDFUL OF PEOPLE, A FEW
15   HUNDRED DOLLARS AT A TIME.               THIS IS NOT TENS OF
16   THOUSANDS OF DOLLARS BEING, YOU KNOW, PUSHED IN SOME
17   DIRECTION TO HIDE OR AVOID SOMETHING.                  THAT'S WHAT THEY
18   WANTED --
19         THE COURT:       REALLY?       IT DOESN'T LOOK LIKE YOU'RE
20   TRYING TO AVOID ANY TYPE OF PAPER TRAIL?
21         MR. HERRERA:        IT'S NOT SIGNIFICANT ENOUGH,
22   YOUR HONOR.        THE MONEY THAT'S PAID IN CASH IS NOT --
23         THE COURT:       I REMIND YOU THAT I LOOKED AT THE BANK
24   ACCOUNTS IN THE LAST HEARING.                  I WENT THROUGH THE BANK
25   RECORDS AND I SAW THE UNBELIEVABLE AMOUNT OF CASH THAT
26   WAS BEING WITHDRAWN BY YOUR CLIENT WITH AN ATM, MOVING
27   MONEY FROM ONE ACCOUNT TO ANOTHER ACCOUNT WITH HUGE SUMS
28   OF CASH WITHDRAWALS MONTH AFTER MONTH.

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1          MR. HERRERA:        AND DEPOSITS, YOUR HONOR.             THERE'S
2    ANOTHER SIDE TO THAT.            THAT'S WHERE IT LOOKS GOOD.          IT
3    MIGHT START BAD.        IT MAY BE A BAD LOOK AT FIRST.              BUT
4    WHEN YOU SEE THE DEPOSITS ON THE OTHER SIDE, THAT'S A
5    GOOD LOOK.
6          IT SHOWS YOU THE CYCLE OF THE MONEY MONTH AFTER
7    MONTH AFTER MONTH.         IT'S NOT JUST RANDOM, ALL THE SUDDEN
8    HAPPENING.     IT DIDN'T HAPPEN, YOUR HONOR.
9          THE COURT:       OKAY.      IS THERE ANYTHING ELSE YOU WANT
10   TO TELL ME?
11         MR. HERRERA:        YES.      THE QUESTION THE COURT ASKED IS
12   WHAT ADVERSE IMPACT TO THE RECEIVER THERE WAS, AND THERE
13   HASN'T BEEN.        THERE IS NO ADVERSE IMPACT.              THEY HAVE A
14   JOB TO DO.     AND THERE'S NO URGENCY.              THERE'S NO HARM IN
15   THE DELAY THAT OCCURRED.
16         IT WAS MR. BAE'S BUSINESS THAT'S BEING HARMED.
17   THAT HARM HAS OCCURRED, BUT NOT -- NOT TO THE RECEIVER'S
18   JOB, NOT IN HIS ABILITY TO DO WHAT HE WAS ASKED TO DO AT
19   THIS POINT.
20         THE INFORMATION -- THE QUICKBOOKS EXAMPLE WAS
21   BROUGHT UP.        IT'S AN OLD QUICKBOOKS ACCOUNT THAT MR. BAE
22   DIDN'T HAVE ACCESS TO THAT APPARENTLY STILL HAD AN
23   AUTO-CHARGE.        AND HE TOLD THEM THAT.           HE GAVE THEM -- HE
24   GAVE THEM THE INFORMATION.
25         CRITICIZING THAT IS COMPLETELY SEPARATE AND NOT
26   RELEVANT TO THE FACT THAT HE GAVE THEM THE INFORMATION
27   OF WHATEVER IT WAS.
28         THE ACCESS TO THE TOAST, THE ACCESS TO THE BANK

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1    ACCOUNTS, ALL OF THAT ACCESS IS ABSOLUTE AT THIS POINT.
2    THERE IS NO ACCESS THEY DON'T HAVE AT ALL.                    THERE JUST
3    ISN'T.    THEY HAVE FULL ACCESS.
4          THERE'S EMAIL CORRESPONDENCE WITH MR. DONELL'S
5    OFFICE -- CONFIRMING, "WE HAVE EVERYTHING WE NEED WITH
6    THE TOAST SYSTEM.        WE HAVE EVERYTHING WE NEED WITH THE
7    BANKS.    WE DON'T NEED BANK STATEMENTS OR ANYTHING.                  WE
8    HAVE ALL THE ACCESS TO THE ACTUAL BANK ACCOUNTS WITH THE
9    BANK."
10         THEY WENT DIRECTLY TO THE PAYROLL COMPANY.                   THEY
11   HAVE FULL AND COMPLETE ACCESS TO ANYTHING THEY NEED WITH
12   THAT COMPANY.       THERE IS NOTHING MISSING.
13         MR. BUBMAN DID NOT ANSWER THE QUESTION WITH, "THIS
14   IS MISSING, THAT'S MISSING," BECAUSE IT'S NOT.                    MR. BAE
15   HANDED EVERYTHING OVER.           HE'S DONE EVERYTHING HE'S ASKED
16   TO DO.    HE'S BEEN INUNDATED WITH REQUESTS AND DONE A
17   REMARKABLE JOB OF TRYING TO KEEP UP WITH HUNDREDS OF
18   EMAILS, HUNDREDS OF EMAILS, SOME OF THEM COMING IN
19   MINUTES APART FROM EACH OTHER, COMPLAINING ABOUT THE
20   EMAIL FROM FIVE MINUTES EARLIER.
21         ALL OF THAT WILL SHOW UP IN THESE MOTIONS THAT
22   MR. BAE FILED BECAUSE IT'S JUST A LOT AND IT'S NOT GOING
23   TO BE THROWN TO THE COURT IN EX PARTE.                    THAT -- IT JUST
24   DOESN'T SEEM PRACTICAL.           BUT IT'S THERE, YOUR HONOR.
25         AND MR. BAE HAS COMPLIED.                   MR. BAE MAY WORK TO THE
26   LAST MINUTE AND FILE THINGS LATE, BUT AT THE END OF THE
27   DAY, HE'S DOING WHAT HE'S ASKED TO DO AND HE DID.                    AND
28   EVERYTHING'S THERE.

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1            THE DROPBOX LINK HAS BEEN AVAILABLE TO COUNSEL FOR
2    THE ENTIRE MONTH.         AND IT'S STILL THERE.           AND THERE IS
3    NO POSSIBILITY TO LOOK AT WHAT'S BEEN UPLOADED.                  THAT'S
4    NOT HOW IT WORKS.         THAT'S JUST A MADE UP STORY BECAUSE I
5    MONITOR IT.        I CREATED IT IN A WAY WHERE YOU HIT THE
6    LINK AND IT DOWNLOADS EVERYTHING.                  AND I CAN SEE AND
7    TRACK AND PROVIDE TO THE COURT PROOF OF WHEN THAT
8    HAPPENS.     I CAN SEE THAT.           AND THIS IDEA THAT HE'S
9    SEEING THINGS UPLOADED ARE NOT IS NOT TRUE, JUST SIMPLY
10   PUT, YOUR HONOR.
11           MR. BUBMAN:     YOUR HONOR, CAN I GIVE ONE RESPONSIVE
12   STATEMENT, BRIEF AND CONCISE ABOUT THE HARM THAT HAS
13   BEEN DONE AND HOW THIS RECEIVERSHIP --
14           THE COURT:     ONE STATEMENT AND THEY GET THE FINAL
15   WORD.
16           MR. BUBMAN:     GOT IT.
17           WHEN THE RECEIVERSHIP WAS INITIALLY ORDERED, THE
18   RECEIVER WAITED IN ORDER TO GET SUFFICIENT INFORMATION
19   ABOUT THE BUSINESS TO ALLOW HIM TO GO IN AND OPERATE THE
20   BUSINESS.     THAT WAS PART OF THE RECEIVERSHIP ORDER.
21           THAT DIDN'T HAPPEN UNTIL WE GOT RECORDS IN EARLY
22   FEBRUARY OF 2024.         THAT WAS THE FIRST TIME WE HAD ENOUGH
23   INFORMATION TO BE ABLE TO DETERMINE WHETHER, NO. 1, WE
24   HAD TO TRACK AND FIND OUT WHETHER INSURANCE WAS STILL
25   VALID AND TO FIND OUT IF PAYROLL COULD BE PAID.
26           WE AT LEAST KNEW WHERE THE CASH SOURCES WERE -- THE
27   CASH WAS SUPPOSEDLY GOING AND WE WOULD TAKE THAT CASH
28   MONEY.     AT THAT POINT, ONLY AT THAT POINT, STARTING ON

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1    FEBRUARY 6 WAS THE FIRST DAY THAT CHASE BANK LOCKED
2    THOSE ACCOUNTS AND STARTED PROVIDING ACCESS TO THE
3    RECEIVER.     THAT WAS THE FIRST POINT AT WHICH MR. DONELL
4    HAD ANY INVOLVEMENT WHATSOEVER WITH RESPECT TO THE
5    BUSINESS.
6          SO WE'RE TALKING ABOUT AUGUST 17 FROM '22, UNTIL
7    FEBRUARY 6, 2024, THAT WE FIRST GOT ENOUGH INFORMATION
8    TO EVEN CONSIDER ANY INVOLVEMENT IN THAT BUSINESS.                 ONCE
9    WE GOT THAT, THEN WE STARTED TO TRY TO UNDERSTAND THE
10   FINANCIALS.
11         AND IN A PERIOD OF ABOUT TWO WEEKS, IT BECAME
12   ABUNDANTLY CLEAR THAT THE BUSINESS THAT WE SAW, WHETHER
13   IT WAS EVERYTHING OR ENOUGH, WAS NOT ENOUGH.                THE STUFF
14   THAT WAS GIVEN TO US WAS NOT ENOUGH TO BE ABLE TO PAY
15   EMPLOYEES THEIR PAYROLL, AS WELL AS THEIR FULL PAYROLL.
16   AND A PAYROLL CHECK FROM WHICH PAYROLL TAXES WERE
17   DEDUCTED TO PAY THE SALES TAXES FROM SALES THAT WERE
18   MADE, IT WAS JUST NOT SUSTAINABLE.
19         AND WE WERE NOT GOING TO CONTINUE TO ALLOW
20   EMPLOYEES TO WORK WHEN THERE WAS NO MONEY TO PAY THE
21   PAYROLL, LET ALONE THE PAYROLL TAXES.              THERE'S STILL
22   PAYROLL THAT'S DUE WITHOUT ENOUGH MONEY TO PAY IT, AND
23   THAT'S WHY THE BUSINESS WAS SHUT DOWN ON FEBRUARY 23RD,
24   BECAUSE THE RECEIVER WAS NOT GOING TO ALLOW THESE
25   EMPLOYEES TO CONTINUE WORKING WITHOUT THE ABILITY TO PAY
26   THEM FOR THE SERVICES THAT THEY WERE PROVIDING.
27         SO MR. BAE HAS THEN CONTINUED TO BASICALLY LIE TO
28   THE EMPLOYEES.       "IT WAS ALL THE RECEIVER'S FAULT.

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1    THERE'S NOTHING I COULD DO ABOUT IT."                  I CAN MAKE -- SO
2    THAT'S THE SITUATION WE'RE LEFT WITH.                  THAT'S HOW THE
3    RECEIVERSHIP WAS HARMED.
4            THE COURT:     YOU CAN RESPOND TO THAT BRIEFLY.
5            MR. HERRERA:      YOUR HONOR, WHAT YOU DIDN'T HEAR IS
6    THAT THIS MASSIVE TAX LIABILITY IS SOMETHING THAT
7    MR. BAE HAS BEEN WORKING WITH THE TAX AUTHORITY TO
8    ASSUME LIABILITY ON AND HAS A PAYMENT PLAN THAT HE
9    NEGOTIATED WITH THEM.          HE'S BEEN PAYING THE EMPLOYEES
10   AND ABSORBING LIABILITY TO KEEP THEM EMPLOYED, TO KEEP
11   THEIR LIVELIHOODS INTACT.              AND EVERYTHING POINTS TO
12   THAT.     EVERYTHING POINTS TO THAT.
13           MR. BAE IS NOT POCKETING MONEY.               HE'S DOING
14   WHATEVER HE CAN UNDER THE CIRCUMSTANCES TO ABSORB HIS
15   LIABILITY AND KEEP PEOPLE EMPLOYED SO THEY CAN LIVE
16   THEIR LIVES.       AND HE'S DOING IT AT HIS OWN EXPENSE.
17           I UNDERSTAND THAT HE DIDN'T COMPLY WITH THE COURT'S
18   ORDERS WHEN WE SHOULD HAVE.                HE DIDN'T APPEAR WHEN WE
19   SHOULD HAVE.       I UNDERSTAND THAT.
20           BUT CLOSELY LOOKING AT WHAT HAPPENED HERE, WHETHER
21   THE EVIDENCE IS ALL BEFORE THE COURT OR NOT, IT WILL,
22   AND AT THIS POINT, DOES IN A LARGE WAY POINT TO MR. BAE
23   DOING THINGS IN THE INTEREST OF KEEPING THE BUSINESS
24   OPEN AND ITS PEOPLE EMPLOYED.
25           HE'S NOT STEALING MONEY.               THERE'S ONLY ALLEGATIONS
26   OF THAT.     AND YOU DON'T HEAR THAT FROM THE RECEIVER.
27   YOU HEAR NOTHING BUT COMPLAINTS AND INFORMATION THEY
28   HAVE, LIKE, THE PAYMENT PLAN, THE FACT THAT THEY'VE

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1    NEGOTIATED A $300,000 CREDIT THAT'S DUE TO THE BUSINESS
2    TO REDUCE THIS TAX LIABILITY, HE'S TRYING TO FIGURE OUT
3    AND WORK THAT OUT WITH THE GOVERNMENT, WITH THE STATE
4    AGENCY, IN ORDER TO KEEP THE BUSINESS OPERATIONAL AND
5    PEOPLE EMPLOYED.
6            THAT'S, AT THE END OF THE DAY, AT THE TOP OF HIS
7    LIST.     AND WE'VE TRIED TO BRING THAT TO THE ATTENTION OF
8    THE COURT.     HAVEN'T BEEN SUCCESSFUL.               BUT STILL, IT
9    NEEDS TO BE CONSIDERED IN SENTENCING HIM.                    HE'S NOT
10   DOING THIS IN ANY MALICIOUS WAY.
11           THERE IS NO OTHER PARTNER IN THIS BUSINESS.
12   MR. BOBSON IS NOT A PARTNER.                 THE -- WAS DISSOLVED.          THE
13   COURT DISSOLVED IT.         THERE'S AN ORDER DISSOLVING IT.
14   THERE JUST NEEDED TO BE AN ACCOUNTING BECAUSE THE
15   AGREEMENT SAID SO.         AND THAT'S WHAT THE STATUS QUO WAS,
16   EVEN WITH EVERYTHING THAT'S HAPPENED.                   SO IT'S HIM
17   HIMSELF DOING EVERYTHING FOR HIS OWN PURPOSE, NOT
18   BECAUSE OF A PARTNER.
19           MR. BOBSON, AFTER THE JURY TRIAL, WAS
20   MISAPPROPRIATING FUNDS.            HE'S THE ONE THAT STOLE MONEY,
21   ACTUALLY STOLE MONEY, AND THERE'S A JUDGMENT.
22           THE COURT:     LET'S GO BACK AND FOCUS ON THIS.                 I
23   ASKED YOU TO RESPOND BRIEFLY.                  YOU'RE GOING ASTRAY.
24   WRAP IT UP, PLEASE.
25           MR. HERRERA:      IT MATTERS, YOUR HONOR, BECAUSE IT IS
26   MR. BOBSON WHO STOLE MONEY; YET, MR. BAE'S THE ONE
27   ACCUSED OF IT.
28           THE COURT:     EXCUSE ME.          EXCUSE ME.     WE'RE HERE FOR

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1    ADJUDICATING THE APPROPRIATE SENTENCE FOR YOUR CLIENT
2    BEING HELD IN CONTEMPT FOR VIOLATING THE COURT'S ORDER.
3    LAST CHANCE TO FOCUS ON THAT OR I'M GOING TO CONCLUDE --
4          MR. HERRERA:        THE COURT'S BEEN VERY ADAMANT IN
5    GETTING COMPLIANCE WITH MR. BAE.                   YOU'VE OPENLY SAID
6    WHAT YOU'RE TRYING TO DO IS GET COMPLIANCE.                      YOU'VE
7    LITERALLY SAID THAT MULTIPLE TIMES.                   YOU HAVE
8    COMPLIANCE.        YOU HAVE FULL COMPLIANCE AT THIS POINT,
9    COMPLETE AND FULL COMPLIANCE.
10         THE CONSEQUENCES THAT HAVE RESULTED FROM IT ARE A
11   FAILURE AND BANKRUPT BUSINESS OF MR. BAE.                    I ARGUE THAT
12   HE IS BEING PUNISHED ALREADY AND IT SHOULD ABSOLUTELY BE
13   CONSIDERED IN MR. BAE'S SENTENCING BECAUSE IT'S ALREADY
14   SOMETHING THAT HE'S BEING NEGATIVELY IMPACTED BY.                         AND
15   AS COUPLED WITH THE FACT THAT HE IS COMPLYING, IT'S
16   PROVEABLE.
17         HE'S, ITEM BY ITEM, GONE DOWN THE LIST.                     AND
18   COUNSEL, IN A PESSIMISTIC WAY, AGREED THEY DO HAVE
19   EVERYTHING, AS ROCKY AS IT MAY HAVE BEEN.                    BUT THE
20   COMPLIANCE IS THERE.          AND THAT IS WHAT THE COURT WANTED
21   AND IT IS WHAT THE COURT GOT AND THAT SHIFTS THE
22   STATUS QUO THAT WE'RE IN.              AND I THINK IT SHOULD BE VERY
23   MINIMAL AS FAR AS THE SENTENCING WHEN YOU TAKE ALL OF
24   THAT INTO ACCOUNT COLLECTIVELY.
25         MR. BUBMAN:       30 SECONDS, YOUR HONOR?
26         THE COURT:       NO.    WE'RE DONE.
27         DO YOU WAIVE HEARING, ARRAIGNMENT FOR JUDGMENT,
28   TIME FOR SENTENCING ON BEHALF OF MR. BAE?

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1          MR. HERRERA:       YES.
2          THE COURT:       SO THE COURT HAS CONDUCTED A CONTEMPT
3    HEARING ON JANUARY 2ND.           THE COURT WAS GIVEN PRELIMINARY
4    RULING BUT DIDN'T COMPLETE THE SENTENCING HEARING TO
5    COMPLETELY COMPLY WITH THE REQUIREMENTS OF THE LAW.                   AT
6    THE REQUEST OF MR. BAE, THE COURT PUT IT OVER TO
7    CONCLUDE THE SENTENCING PORTION AND THE FINDING PORTION.
8    THE COURT IS NOW PROCEEDING.
9          THE COURT MADE CERTAIN FINDINGS BEFORE.               THE
10   COURT'S GOING TO REPEAT THE FINDINGS SO THAT THERE'S ONE
11   CLEAN RECORD.       THE COURT WAS TASKED TO PREPARE THE
12   WRITTEN ORDER.       THE WRITTEN ORDER WILL BE ISSUED TODAY
13   AND WILL BE PART OF THE RECORD AS WELL.
14         THE COURT TAKES JUDICIAL NOTICE OF THE FOLLOWING
15   ORDERS THAT WERE ISSUED BY THE COURT, A:               THE COURT'S
16   JANUARY 11TH, 2022 ORDER ORDERING THE PARTIES TO SELECT
17   A NEUTRAL ACCOUNTANT.
18         B:   THE COURT'S FEBRUARY 22ND, 2022 ORDER ORDERING
19   KEITH BAE TO PROVIDE ALL FINANCIAL RECORDS TO THE
20   PLAINTIFF'S ACCOUNTANT.
21         C:   THE COURT'S MARCH 9TH, 2022 ORDER ORDERING
22   KEITH BAE TO PROVIDE ALL FINANCIAL RECORDS TO THE
23   PLAINTIFF'S ACCOUNTANT.
24         D:   THE COURT'S APRIL 6, 2022 ORDER ORDERING KEITH
25   BAE TO FILE A STATUS REPORT BY APRIL 29TH, 2022,
26   REGARDING THE EXCHANGE OF FINANCIAL RECORDS AND THE
27   STATUS OF AN AGREEMENT REGARDING THE DISTRIBUTION OF
28   PARTNERSHIP ASSETS.

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1            E:   THE COURT'S AUGUST 17TH, 2022 ORDER APPOINTING
2    A RECEIVER AND FOR ISSUANCE OF PRELIMINARY INJUNCTION IN
3    AID OF THE RECEIVER.
4            F:   THE COURT'S OCTOBER 7TH, 2022 ORDER REQUIRING
5    BOTH BAE TO APPEAR BEFORE THE COURT ON NOVEMBER 18,
6    2022.
7            G:   THE COURT'S NOVEMBER 28TH, 2022 ORDER REQUIRING
8    HERRERA TO COMPLY WITH PRIOR ORDERS BY JANUARY 4TH,
9    2023.
10           H:   THE COURT'S FEBRUARY 21ST, 2023 ORDER ORDERING
11   BAE TO TURN OVER ALL BOOKS AND PAPERS TO THE RECEIVER BY
12   NOON ON FEBRUARY 24TH, 2023.
13           I:   THE COURT'S FEBRUARY 27TH, 2023 ORDER REQUIRING
14   BAE TO TURN OVER DOCUMENTS REQUESTED BY RECEIVER
15   PURSUANT TO HIS INITIAL DEMAND OF SEPTEMBER 1ST, 2022,
16   WHICH WAS FILED WITH THE COURT ON FEBRUARY 24TH, 2023.
17           J:   THE COURT'S APRIL 18TH, 2023 ORDER REQUIRING
18   MR. HERRERA TO RETURN THE PROTECTIVE ORDER TO RECEIVER'S
19   COUNSEL NO LATER THAN FRIDAY, APRIL 21ST.
20           AFTER DUE CONSIDERATION, THE COURT FINDS, BEYOND A
21   REASONABLE DOUBT, A:         THE COURT FINDS EACH OF THE ABOVE
22   ORDERS ARE VALID COURT ORDERS.
23           B:   THE COURT FINDS BAE HAD ACKNOWLEDGE OF THE
24   ORDERS.
25           C:   THE COURT FINDS THAT BAE WILLFULLY FAILED TO
26   COMPLY WITH EACH OF THE FOLLOWING ORDERS, I:                THE
27   COURT'S FEBRUARY 22ND, 2022 ORDER ORDERING KEITH BAE TO
28   PROVIDE ALL FINANCIAL RECORDS TO THE PLAINTIFF'S

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1    ACCOUNTANT.        THIS WAS ALLEGED AS 1B ABOVE.
2            REGARDS TO 1C ABOVE, THE COURT'S MARCH 9TH, 2022
3    ORDER ORDERING KEITH BAE TO PROVIDE ALL FINANCIAL
4    RECORDS TO THE PLAINTIFF'S ACCOUNTANT, JAMES GREFF,
5    G-R-E-F-F.
6            IN REGARDS TO 1E, THE COURT'S AUGUST 17TH, 2022
7    ORDER APPOINTING RECEIVER AND FOR ISSUANCE OF
8    PRELIMINARY INJUNCTION IN AID OF THE RECEIVER.
9            1F:   THE COURT'S OCTOBER 7TH, 2022 ORDER REQUIRING
10   BAE TO APPEAR BEFORE THE COURT ON NOVEMBER 18, 2022.
11           1H:   THE COURT'S FEBRUARY 21, 2023 ORDER ORDERING
12   BAE TO TURN OVER ALL BOOKS AND PAPERS TO THE RECEIVER BY
13   NOON ON FEBRUARY 24TH, 2023.
14           AND 1I:     THE COURT'S FEBRUARY 27TH, 2023 ORDER
15   REQUIRING BAE TO TURN OVER DOCUMENTS REQUESTED BY
16   RECEIVER PURSUANT TO ITS INITIAL DEMAND OF SEPTEMBER 1,
17   2022, WHICH WAS FILED WITH THE COURT ON FEBRUARY 24TH,
18   2023.
19           THE COURT FINDS THAT EACH -- THAT BAE HAD THE
20   ABILITY TO COMPLY WITH EACH OF THESE ORDERS.
21           COURT FINDS THAT BAE IS NOT GUILTY OF ORDERS 1A,
22   1D, 1G, AND 1J.
23           THAT THE CONTEMPTOR BAE IS SENTENCED TO THE
24   FOLLOWING:        AS TO THE FIRST OFFENSE, THE FIRST ORDER
25   PROVIDING ALL FINANCIAL RECORDS, THE COURT IMPOSES A
26   $500 FINE.
27           AS TO THE SECOND OFFENSE, IT'S A $1,000 FINE.             TO
28   BE CLEAR, THAT'S AS TO THE COURT'S MARCH 9TH ORDER.                   AS

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1    TO COURT'S -- I'M SORRY.            THAT'S 1C.    IT'S A $1,000 FINE
2    AND IT'S FIVE DAYS IN JAIL.
3            AND TO 1E, WHICH IS THE COURT'S AUGUST 17TH, 2022
4    ORDER, $1,000 FINE.
5            AS TO THE ORDER FOR OCTOBER 7, ORDERING HIM TO
6    APPEAR BEFORE THE COURT ON OCTOBER 18TH, IT'S A $1,000
7    FINE AND FIVE DAYS IN JAIL.
8            AS TO 1H, WHICH IS THE COURT'S FEBRUARY 21ST, 2023
9    ORDER, $1,000 FINE AND FIVE DAYS IN JAIL.
10           AS TO 1I, $1,000 FINE AND FIVE DAYS IN JAIL.
11           THE COURT HAS TAKEN INTO ACCOUNT THAT THERE'S BEEN
12   SOME COMPLIANCE.        BUT THE COURT IS -- AND THAT'S WHY IT
13   WAS STAGGERED, WHY THERE WAS TWO FINES.               BUT THE LENGTH
14   AND THE BREADTH AND DEPTH OF THE FAILURE TO COMPLY WITH
15   NUMEROUS VALID ORDERS TO SIMPLY GAIN COMPLIANCE IS
16   REALLY INEXCUSABLE.
17           I AM GOING TO STAY THE JAIL FOR 30 DAYS AS TO EACH
18   OF THESE OFFENSES TO GIVE YOU AN OPPORTUNITY TO FILE A
19   WRIT.     AND I MAY CONSIDER STAYING THE JAIL, WHICH ARE 20
20   DAYS, AND DISCUSS WEEKEND JAILS TO SATISFY THE JAIL AS
21   WELL.     WE CAN DISCUSS THAT IN 30 DAYS.
22           I'M NOW PROPOSING THE FINES ARE PAYABLE IN 45 DAYS
23   TO THE CLERK OF THE COURT.              THE CLERK OF THE COURT IS
24   ORDERED TO IMMEDIATELY TO FILE THIS ORDER AND ENTER THE
25   CONTEMPT ON THE DOCKET OF THE COURT WITH A LETTER -- AND
26   TO COUNSEL -- COPY OR TO COUNSEL ORDER A COPY OF THIS
27   ORDER, PLEASE REMAIN SO YOU CAN GET A COPY OF THE ORDER.
28           CLERK IS TO GIVE NOTICE TO ALL INTERESTED PARTIES.

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1    IT IS SO ORDERED TODAY'S DATE:                    MARCH 1ST, 2024.
2          WE'RE GOING TO SET STATUS DATES.                   TODAY IS
3    MARCH 1ST.     WE'LL COME BACK ON APRIL 5TH.                 IF THERE'S A
4    STAY ISSUED, I'LL TAKE THAT INTO CONSIDERATION IF THE
5    STAY IS ISSUED BY THE COURT OF APPEAL ON A WRIT.
6    OTHERWISE, IF THERE'S NO WRIT OR THERE'S NO STAY ISSUED,
7    THE COURT WILL DISCUSS SERVICE OF THE JAIL SENTENCE.
8          DO YOU UNDERSTAND THE ORDERS, COUNSEL FOR MR. BAE?
9          MR. HERRERA:       YES, YOUR HONOR.
10         THE COURT:       DO YOU HAVE ANY QUESTIONS OF THE COURT?
11         MR. HERRERA:       CAN WE EXTEND THE 45-DAY DUE DATE FOR
12   THE MONEY?
13         THE COURT:       NO.   THAT'S GENEROUS.
14         MR. HERRERA:       I MEAN, HE'S BEEN RENDERED INSOLVENT
15   AT THIS POINT, YOUR HONOR.              IT'S JUST NOT REALISTIC.
16         THE COURT:       45 -- THEY'RE PAYABLE WITHIN 45 DAYS TO
17   THE CLERK OF THE COURT.           YOU'LL GET A COPY OF THE ORDER.
18   AND WE ARE GOING TO CONTINUE THIS FURTHER STATUS ON HOW
19   THE RECEIVER'S GOING TO PROCEED TO THE APRIL 5TH DATE AS
20   WELL, HAVE EVERYONE COME BACK.
21         MR. BUBMAN:       AND THAT'S AT 8:30, YOUR HONOR?
22         THE COURT:       I HAVEN'T EVEN LOOKED AT MY CALENDAR.
23         MR. HERRERA:       YOUR HONOR, CAN WE MAKE SURE THAT WE
24   KNOW THE COURT'S POSITION ON MR. BAE'S COMPLIANCE TODAY?
25   I KNOW THAT THERE WAS SOME COMMENT MADE ON IT, BUT IT
26   SEEMS LIKE AN ENDLESS PROCESS.                    I WANT TO ENSURE THAT
27   THERE'S FINALITY TO IT, IT'S DOCUMENTED HE'S COMPLIED.
28         THE COURT:       I'M NOT MAKING SUCH A FINDING.                I'M NOT

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1    MAKING -- DO YOU WANT ME TO MAKE SPECIFIC FINDINGS?                       I
2    DON'T THINK I'M REQUIRED TO.                  I'VE STAYED THE JAIL
3    FURTHER AND I'VE INDICATED THAT I MIGHT STAY IT EVEN
4    FURTHER.     RIGHT NOW, I'M ONLY STAYING IT FOR WRIT
5    REVIEW.
6            ON THE NEXT COURT DATE, IF YOU'D LIKE OTHER ISSUES
7    YOU WANT TO PRESENT TO THE COURT REGARDING STAYING IT
8    FURTHER IF THERE'S NOT A WRIT, IF THERE'S NOT A STAY
9    ISSUED BY THE COURT OF APPEAL, THEN WE'RE GOING TO TALK
10   ABOUT WHEN I'M GOING TO HAVE THE SURRENDER DATE AND/OR
11   OTHER OPTIONS.        I'M LEAVING IT OPEN TO YOU.              OKAY?
12           MR. HERRERA:      OKAY.
13           THE COURT:     ON 9:00 O'CLOCK ON APRIL 5TH.              DOES
14   THAT WORK FOR THE RECEIVER?
15           MR. BUBMAN:     YES, YOUR HONOR.
16           THE COURT:     OKAY.
17           MR. BUBMAN:     AND WHEN YOU SAY YOU'RE LEAVING IT
18   OPEN UNTIL THEN, ARE YOU EXPECTING THAT PERHAPS MR. BAE
19   MAY CONSIDER ACTUALLY COMPLYING NOW?
20           THE COURT:     THAT WOULD BE WONDERFUL, WOULDN'T IT?
21           MR. BUBMAN:     YES, IT WOULD.              I WOULD LOVE TO SEE
22   THAT.     STRANGER THINGS HAVE HAPPENED, I THINK.
23           THE COURT:     I HAVE TO STAY THE JAIL IN ORDER TO
24   GIVE THEM WRIT REVIEW.            THEREAFTER, IT'S MY PREROGATIVE.
25   AND CERTAINLY, MY BACKGROUND'S CRIMINAL.                    I'VE TOLD YOU.
26   IN CRIMINAL, WE HAVE PROBATION.
27           MR. HERRERA:      I UNDERSTAND.
28           THE COURT:     IN CRIMINAL, PROBATION IS TO GET

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1    PEOPLE, YOU KNOW, TO COMPLY.                 AND IT'S NOT UNUSUAL FOR A
2    COURT TO IMPOSE A SUSPENDED SENTENCE OR IMPOSE A STAY OF
3    SENTENCE AND TO GIVE PEOPLE AN OPPORTUNITY TO COMPLY.
4    AND HOPEFULLY, THERE HAVE BEEN MANY INSTANCES WHERE
5    PEOPLE HAVE BEEN SUCCESSFUL ON PROBATION, WHERE THE
6    IMPOSITION OR THAT STAY BECOMES PERMANENT.                   AND THAT
7    WOULD ALWAYS BE MY GOAL.
8          MR. HERRERA:        I WOULD REQUEST SPECIFICITY IN WHAT
9    COMPLIANCE LOOKS LIKE, BECAUSE RIGHT NOW, IT'S JUST
10   IMPOSSIBLE.
11         THE COURT:       THAT'S MY POINT.            THIS ISN'T A CRIMINAL
12   PROCEEDING.        IT IS NOT A PROBATIONARY SENTENCE.               I'M
13   MAKING AN ANALOGY.
14         I'VE SEEN WHAT'S HAPPENED BEFORE, AND I HEAR -- THE
15   ORDERS HAVE IMPACTED CONSEQUENCES.                  THEY'RE NOT A
16   VACUUM.     AND I THINK THAT THERE'S BEEN SIGNIFICANT
17   CONSEQUENCES.
18         I INDICATED THAT I MIGHT REDUCE THE SENTENCE.                       MY
19   SENTENCE ACTUALLY CAME DOWN.                 I HAD AN IDEA WHAT I WAS
20   GOING TO DO.        I WAS GOING TO GIVE HIM JAIL AND SENTENCE
21   ON EVERY OFFENSE.         I DIDN'T.          IT MAY COME DOWN EVEN
22   FURTHER.     IT DOESN'T HAVE TO.               THE SENTENCING RANGE IS
23   UP TO $1,000 FINE AND FIVE DAYS OF JAIL FOR EACH
24   OFFENSE.     HE HAS NOT BEEN MAXED OUT OR HE MAY NOT SERVE
25   ANY JAIL.     WE'LL SEE.
26         MR. HERRERA:        YOUR HONOR, HE -- HE'S GONE DOWN ITEM
27   BY ITEM WITH THE LIST PROVIDED.
28         THE COURT:       I NEED TO GO ON TO MY NEXT CASE.

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1           MR. HERRERA:        HOW MUCH MORE SPECIFIC --
2           THE COURT:       I NEED TO GO TO MY NEXT CASE.             YOU'RE
3    GOING TO GET A COPY OF THE ORDER.                 PLEASE REMAIN.
4           WAIVE NOTICE ON THE NEXT HEARING DATE, RECEIVER?
5           MR. BUBMAN:        YES, YOUR HONOR.
6           THE COURT:       COUNSEL FOR MR. BAE?
7           MR. HERRERA:        THIS IS APRIL 5TH?
8           THE COURT:       YES.      9:00 A.M.
9           MR. HERRERA:        9:00 A.M.
10                (PROCEEDINGS CONCLUDED.)
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1           SUPERIOR COURT OF THE STATE OF CALIFORNIA
2                  FOR THE COUNTY OF LOS ANGELES
3    DEPARTMENT 51                   HON. UPINDER KALRA, JUDGE
4
5    JASON HARLEY BOBSON, AN INDIVIDUAL,)
                                        )
6                 PLAINTIFF,            )
                                        )
7           VS.                         ) NO. BC650612
                                        )
8    KEITH BAE, AN INDIVIDUAL; AND      )
     DOES 1-10, INCLUSIVE,              )
9                                       )
                  DEFENDANTS.           ) REPORTER'S
10   ___________________________________) CERTIFICATE
11
12
13            I, KYLIE SHEPHERD, CSR NO. 13756, OFFICIAL
14   PRO TEMPORE REPORTER OF THE SUPERIOR COURT OF THE STATE
15   OF CALIFORNIA, COUNTY OF LOS ANGELES, DO HEREBY CERTIFY
16   THAT THE FOREGOING PAGES COMPRISE A FULL, TRUE, AND
17   CORRECT TRANSCRIPT OF THE PROCEEDINGS TAKEN IN THE
18   ABOVE-ENTITLED CAUSE FOR THE DATE OF MARCH 1, 2024.
19
20              DATED THIS 16TH DAY OF MAY, 2024
21
22
23
24                                 <%18185,Signature%>
                                    KYLIE SHEPHERD
25                                  CSR NO. 13756
                                    OFFICIAL REPORTER PRO TEMPORE
26
27
28

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                                                                           1

1            SUPERIOR COURT OF THE STATE OF CALIFORNIA
2                  FOR THE COUNTY OF LOS ANGELES
3    DEPARTMENT 51               HON. UPINDER S. KALRA, JUDGE
4
5    JASON HARLEY BOBSON,               )
                                        )
6                         PLAINTIFF,    )
                                        ) SUPERIOR COURT
7                  VS.                  ) NO. BC650612
                                        )
8    KEITH BAE, AN INDIVIDUAL; AND DOES )
     1 - 10, INCLUSIVE                  )
9                                       )
                          DEFENDANTS.   )
10   ___________________________________)
11
12               REPORTER'S TRANSCRIPT OF PROCEEDINGS
13                          APRIL 25, 2024
14
15   APPEARANCES:
16   FOR THE PLAINTIFF:          NO APPEARANCE
17
     FOR THE DEFENDANTS:         HERRERA CLIFTON HESS
18                               BY: ALEJANDRO H. HERRERA, ESQ.
                                 100 WILSHIRE BOULEVARD
19                               SUITE 700
                                 SANTA MONICA, CALIFORNIA 90401
20                               (310) 310-2201
21
     FOR THE COURT-APPOINTED RECEIVER:
22
                                 MIRMAN, BUBMAN & NAHMIAS
23                               BY: MICHAEL E. BUBMAN, ESQ.
                                      MORGAN L. BUBMAN, ESQ.
24                               16133 VENTURA BOULEVARD
                                 SUITE 1175
25                               ENCINO, CALIFORNIA 91436
                                 (818) 451-4600
26
27
              SHAWNDA R. DORN, CSR NO. 11387, RPR, CRR, CCRR, CLR
28            OFFICIAL REPORTER PRO TEMPORE

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1    CASE NUMBER:                            BC650612
2    CASE NAME:                              BOBSON VS. BAE
3    LOS ANGELES, CALIFORNIA                 THURSDAY, APRIL 25, 2024
4    DEPARTMENT 51                           HON. UPINDER S. KALRA, JUDGE
5    APPEARANCES:                            (AS HERETOFORE NOTED.)
6    REPORTER:                               SHAWNDA R. DORN, CSR 11387
7    TIME:                                   A.M. SESSION
8
9                                          -0O0-
10
11            THE COURT:      OKAY.      LET'S CALL BOBSON VERSUS BAE.
12   WE'RE GOING TO CALL AN EX PARTE AS WELL AS A MOTION AS WELL
13   AS A STATUS.
14            THE CLERK:      WE HAVE A COURT REPORTER.
15            THE COURT:      ON COURTCONNECT.
16            THE REPORTER:       GOOD MORNING, YOUR HONOR.        SHAWNDA
17   DORN, COURT REPORTER.
18            MR. BUBMAN:      GOOD MORNING, YOUR HONOR.         MICHAEL
19   BUBMAN AND MORGAN BUBMAN APPEARING ON BEHALF OF RECEIVER
20   STEPHEN DONELL.
21            MR. HERRERA:       GOOD MORNING, YOUR HONOR.        ALEJANDRO
22   HERRERA FOR KEITH BAE.
23            THE COURT:      OKAY.      SO I READ EVERYTHING.     THE
24   COURT'S ORDER IS THE COURT'S ORDER WITH REGARDS TO THE
25   EX PARTE APPLICATION FOR FURTHER CLARIFICATION.
26   PREVIOUSLY YOU WANTED A CLARIFICATION BECAUSE YOU NEEDED
27   TO NAME SPECIFIC BANK ACCOUNTS AND BANK ENTITIES IN ORDER
28   FOR THE BANKS TO ACKNOWLEDGE THE COURT'S ORDER.

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1                       NOW IT'S A LITTLE BIT FURTHER.             YOU ARE
2    ASKING THE COURT TO SPECIFICALLY SAY THAT HEFLIN AND AYALA
3    ARE PART OF -- ARE ESSENTIALLY NAMED REPRESENTATIVES OF
4    MR. BAE, AND THEREFORE THEY FALL UNDER THE PENUMBRA OF THE
5    PRIOR ORDER AS WELL AS IF YOU HAVE AUTHORITY TO SUE.
6                       AT THIS POINT, YOU ARE ASKING ME TO MAKE
7    FINDINGS BEFORE I HEAR EVIDENCE.                   AND I KNOW I HAVE
8    EVIDENCE, BUT IT'S -- THE COMPLEXION HAS CHANGED.                      THE
9    ORDER SPEAKS FOR ITSELF.
10                      IF SOMEBODY -- YOU BELIEVE, AS THE RECEIVER
11   AND COUNSEL FOR THE RECEIVER, SOMEBODY HAS REPRESENTED
12   MR. BAE AND THEY'RE TRYING TO PREVENT YOU FROM DOING THE
13   RECEIVER'S JOB, WHICH IS TO IDENTIFY THE ASSETS OF THE
14   PARTNERSHIP, YOU DO WHAT YOU HAVE TO DO.                   YOU DO NOT NEED
15   FURTHER CLARIFICATION FROM THE COURT.
16                      THIS PUTS ME OTHERWISE IN A PROBLEMATIC
17   SITUATION.     AND I KNOW I'VE HAD TO MAKE FINDINGS BEFORE,
18   AND I'VE BEEN ABLE TO MAKE FINDINGS BASED UPON
19   DECLARATIONS, BUT NOW WE'RE GETTING FURTHER -- FURTHER
20   AFIELD, AND I DON'T THINK I NEED TO DO THAT.                   THE ORDER
21   SPEAKS FOR ITSELF.
22                      DO YOU HAVE ANY QUESTIONS?
23            MR. BUBMAN:       ACTUALLY, I THINK WE'RE GETTING FURTHER
24   INTO THE FIELD IN THIS SITUATION.                   AND, YOU KNOW, IT'S
25   JUST BECOME CLEAR THAT ANYBODY ASSOCIATED WITH MR. BAE JUST
26   DOESN'T CARE WHAT THE COURT ORDERS.                   IT'S AN ASTOUNDING
27   THING TO ME THAT PEOPLE ARE ACTING WITH SUCH IMPUNITY WITH
28   COURT ORDERS.

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1             THE COURT:       YOU HAVE AUTHORITY.            YOU CAN BRING AN
2    OSC.   YOU HAVE DONE THAT BEFORE.                  YOU HAVE GOT THE POWER
3    OF THE COURT BEHIND YOU AS THE RECEIVER.                   YOU HAVE GOT
4    CHARGING ORDERS.        YOU HAVE GOT A CURRENT INJUNCTION.                YOU
5    HAVE TOOLS AT YOUR DISPOSAL.
6             MR. BUBMAN:       IT WAS JUST MY HOPE THAT SOMETHING
7    SHORT OF BRINGING AN OSC AND GOING THROUGH AN ENTIRE
8    CONTEMPT PROCEEDING AGAIN MIGHT PERSUADE THESE PEOPLE THAT
9    THEY DO HAVE TO FOLLOW COURT ORDERS.
10            THE COURT:       THERE ARE OTHER PEOPLE THAT CAN MAKE
11   CONTEMPT PROCEEDINGS THAT ARE IN COURT RIGHT NOW, AND THOSE
12   PROCEEDINGS WILL MOVE MUCH QUICKER.
13                      SO WITH REGARDS TO YOUR EX PARTE REGARDING
14   CLARIFICATION, THAT'S DENIED WITHOUT PREJUDICE.
15                       SWITCHING NOW TO A MOTION FILED BY
16   PURPORTEDLY MR. BAE --
17            MR. BUBMAN:       I'M SORRY, YOUR HONOR.            ONE LAST -- ON
18   THE NAMING OF THE LAW FIRM AS WELL --
19            THE COURT:       YOU WANTED TO NAME THE LAW FIRM --
20            MR. BUBMAN:       -- WE HAVE -- IN BRINGING THE
21   LAWSUIT --
22            THE COURT:       RIGHT.
23            MR. BUBMAN:       -- WE'VE SUED MR. HERRERA.
24            THE COURT:       OH, I KNOW.
25            MR. BUBMAN:       WE'VE ALSO SUED HIS PARTNERS AND THE
26   LAW FIRM --
27            THE COURT:       OH, RIGHT.
28            MR. BUBMAN:       -- WHICH WE BELIEVE IS APPROPRIATE.

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1    WE'RE TRYING TO AVOID -- YOU KNOW, THEY'RE TRYING TO SAY
2    YOU DIDN'T SPECIFICALLY HAVE PERMISSION TO NAME THE
3    LAWYERS AND THE FIRM.         AND WE JUST WANT TO MAKE SURE IT'S
4    CLEAR THAT THAT'S INCLUDED.
5             THE COURT:      SO I DON'T THINK -- THAT'S WHERE IT GETS
6    PROBLEMATIC.       NOW YOU ARE INTO A NEW LAWSUIT.          I DON'T
7    KNOW IF THERE IS A NOTICE OF RELATED CASE OR NOT, BUT
8    THAT'S A SEPARATE ISSUE.            BUT FOR ME TO SAY YOU HAVE A
9    RIGHT TO SUE SOMEONE IS --
10            MR. BUBMAN:      IT'S JUST RELATING THE PERMISSION THAT
11   YOU GRANTED TO US.
12            THE COURT:      YOU HAVE PERMISSION TO DO WHAT'S IN THE
13   ORDER.     SO WHAT YOU THINK WAS NECESSARY TO EFFECTUATE, TO
14   IMPLEMENT THE ORDER THAT I'VE ALREADY PUT IN PLACE, YOU
15   HAVE PERMISSION TO DO IT.             IT'S VERY HARD FOR ME TO LIKE
16   CAST AN ADVISORY OPINION -- AND THAT'S THE WAY I SEE IT --
17   UP FRONT.     YOU KNOW, IT MAY BE SUBJECT TO CHALLENGES, BUT
18   THAT DOESN'T MEAN YOU CAN'T FILE A LAWSUIT.
19            MR. BUBMAN:      RIGHT.
20            THE COURT:      PEOPLE CAN ALWAYS COME IN WITH
21   CHALLENGES, BUT THAT DOES NOT MEAN YOU CANNOT FILE A
22   LAWSUIT.     IF YOU BELIEVE IN YOUR FULFILLING YOUR DUTY IN
23   GOOD FAITH THAT THIS IS THE APPROPRIATE WAY TO ACT, YOU
24   ACT THAT WAY.       YOU DON'T NEED MY FURTHER PERMISSION IS WHAT
25   I'M SAYING.
26            MR. BUBMAN:      OKAY.       UNDERSTOOD.
27            THE COURT:      OKAY.      NOW, IN REGARDS TO THE MOTION --
28   YOU ALL CAN HAVE A SEAT.            YOU DON'T HAVE TO STAND.

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1                       THERE IS NO SUCH MOTION.                 THERE IS NO SUCH
2    MOTION FOR DECLARATORY RELIEF.                       IF YOU WANT TO FILE A
3    LAWSUIT, YOU CAN SEEK DECLARATORY RELIEF SEPARATE AND
4    APART.     BUT THIS MOTION, IT'S NONSENSE.                    THERE IS NO
5    FOUNDATION, NO LEGAL FOUNDATION FOR ANY OF THIS MOTION,
6    AND YOU CAN CAPTION IT ALL YOU WANT.                       WHAT YOU CAPTIONED
7    IT WAS:
8                       "NOTICE OF MOTION AND MOTION FOR
9              DECLARATORY RELIEF TO SET EFFECTIVE DATE
10             OF DISSOLUTION OF PARTNERSHIP AFTER JURY
11             VERDICT; AN ORDER TO MODIFY OR TERMINATE
12             THE RECEIVERSHIP; TEMPORARY STAY OF
13             AUGUST 17, 2022, APPOINTING RECEIVER;
14             ALTERNATIVELY, A REQUEST FOR AN
15             EVIDENTIARY HEARING."
16                       IT'S DENIED.           IT'S NONSENSE.        YOU HAVE
17   PRESENTED THE COURT NO LEGAL AUTHORITY.                       WHAT YOU ARE
18   REALLY ASKING FOR IS A MOTION FOR RECONSIDERATION UNDER
19   1008.     YOU HAVE GOT TEN DAYS.                 THOSE DAYS HAVE GONE.
20   ABSENT THAT, IT'S DENIED ON ITS FACE.                       THE COURT ON ITS
21   OWN CAN ALWAYS RECONSIDER IT.                    IF THIS IS AN INVITATION
22   FOR THE COURT TO RECONSIDER, IT'S DENIED.                       THERE IS NO
23   FOUNDATION FOR YOU TO FILE THIS MOTION, TO HAVE A HEARING
24   ON THIS MOTION TO CLOG MY CALENDAR.                       COMPLY WITH THE
25   COURT'S ORDERS OR FACE THE CONSEQUENCES.                       THAT CONCLUDES
26   THIS PROCEEDING ON THAT ORDER.
27             MR. HERRERA:      YOUR HONOR, CAN I BE HEARD?
28             THE COURT:      NO.      YOU DON'T HAVE A RIGHT TO BE HEARD

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1    ON A MOTION THAT HAS NO LEGAL AUTHORITY.                 TELL ME WHERE
2    THE LEGAL AUTHORITY TO FILE THIS IS OTHER THAN 1008.                  THAT
3    IS THE ONLY THING YOU CAN BE HEARD ON, BECAUSE THERE IS NO
4    AUTHORITY IN YOUR MOVING PAPERS, NONE.
5             MR. HERRERA:       YOUR HONOR, IF THE COURT DOESN'T WANT
6    TO HEAR FROM ME --
7             THE COURT:      NO.      DO YOU HAVE ANY AUTHORITY?
8             MR. HERRERA:       THE COURT'S INSTRUCTION NOT TO -- I
9    WON'T BE HEARD.        I UNDERSTAND.
10            THE COURT:      MY QUESTION TO YOU IS DO YOU HAVE ANY
11   AUTHORITY?     BECAUSE IT'S ABSENT FROM YOUR MOVING
12   DOCUMENTS.
13            MR. HERRERA:       YOUR HONOR, THE BODY OF THE MOTION IS
14   WHAT'S CONTROLLING, NOT THE CAPTION PAGE.
15            THE COURT:      I READ THE BODY.           THERE IS NO AUTHORITY.
16            MR. HERRERA:       AND THERE IS CLARITY IN THE RELIEF
17   WE'RE SEEKING.       THE RELIEF WE'RE SEEKING IS NOTHING MORE
18   THAN A CLARIFICATION OF A PRIOR ORDER ALREADY MADE BY THE
19   COURT.    IT'S THE SAME THING THAT YOU SUMMONED THE RECEIVER
20   THREE TIMES.
21            THE COURT:      NO.
22            MR. HERRERA:       SIMPLY CLARIFY THE ORDER OR DON'T, BUT
23   THAT'S ALL THE RELIEF THAT'S BEING REQUESTED.                 THERE IS
24   NOTHING ELSE REQUESTED.             THERE IS NO ISSUES TO LITIGATE.
25   LOOK AT THE ORDERS MADE AND LOOK AT THE LANGUAGE MISSING
26   FROM AN ORDER, AND EITHER THE COURT WILL CLARIFY IT OR IT
27   WON'T.    THAT'S ALL WE'RE ASKING FOR IS THE RELIEF.
28            THE COURT:      YOU ARE NOT ASKING FOR THAT.           YOU ARE

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1    ASKING FOR MUCH MORE.         I READ THE WHOLE BODY.
2              MR. HERRERA:      YOU ARE LOOKING AT A SLIVER, AND THERE
3    IS LITERALLY ONE PHRASE ADDED TO THE ORDER.
4              THE COURT:     YOU HAD A RIGHT TO BE PRESENT.            YOUR
5    CLIENT HAD A RIGHT TO BE PRESENT.                 YOUR CLIENT CHOSE TO
6    IGNORE.     THOSE HEARING DATES HAVE COME AND GONE.               HE CHOSE
7    TO NOT APPEAR.
8              MR. HERRERA:      HE WAS PRESENT, YOUR HONOR.
9              THE COURT:     NO, HE WASN'T.
10             MR. HERRERA:      WHAT ARE WE TALKING ABOUT HERE?           I
11   THINK WE'RE TALKING ABOUT SOMETHING DIFFERENT, BECAUSE
12   WE'RE TALKING ABOUT THE HEARING FROM DECEMBER OF 2021.
13   THERE WAS A HEARING ON THE DISSOLUTION OF THE PARTNERSHIP.
14   THAT HEARING HAD AN ORDER THAT CAME FROM IT, THE JULY --
15   JANUARY 11TH, 2022, ORDER.              WE'RE ASKING THE COURT TO LOOK
16   AT THAT, LOOK AT THE PROCEEDING, LOOK AT THE RECORD, AND
17   LOOK AT THE FACT THAT IT'S MISSING THE EFFECTIVE DATE.
18   THE LAW IS IN THERE, THE CORPORATION CODE IS IN THERE, BUT
19   THE LANGUAGE IS NOT IN THE ORDER.                 THAT'S ALL.   THERE IS
20   NOTHING ELSE TO IT.
21             THE COURT:     YOU DECLINED TO BE HEARD WITHIN 2022
22   WHEN HE WAS MISSING IN ACTION, AND YOU WERE MISSING IN
23   ACTION.
24             MR. HERRERA:      WE'RE TALKING ABOUT TWO THINGS,
25   YOUR HONOR.
26             THE COURT:     NO, WE'RE NOT.
27             MR. HERRERA:      THIS HAS NOTHING TO DO WITH EVERYTHING
28   THAT HAPPENED AFTER THE FACT.

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1             THE COURT:      IT HAS ABSOLUTELY EVERYTHING TO DO WITH
2    IT.   YOUR MOTION IS DENIED.
3             MR. HERRERA:       OKAY.
4             THE COURT:      AND YOUR REQUEST FOR AN EVIDENTIARY
5    HEARING, YOUR REQUEST FOR A STAY, DENIED, TO BE CLEAR.
6    THERE IS NO AUTHORITY FOR THIS.
7                       YOU ARE DEEPER INTO THE ABYSS.               THE FINAL
8    ISSUE IS THE STATUS ON HOW THE RECEIVER INTENDS TO PROCEED.
9    I DON'T EVEN KNOW HOW -- WHERE TO BEGIN.
10            MR. BUBMAN:      WELL, ACTUALLY, SHOULDN'T WE BE
11   ADDRESSING MR. BAE'S SENTENCE?                    I THOUGHT THAT WAS WHERE
12   WE WERE GOING TODAY.         MR. BAE WAS SENTENCED, AND I THINK
13   YOUR HONOR WAS WAITING TO SEE PERHAPS IF THERE WAS ANY
14   COOPERATION WHATSOEVER.
15            THE COURT:      WELL, ULTIMATELY, I WAS GOING TO SEE IF
16   THERE WAS AN APPEAL OR SOMETHING.                    HAS THERE BEEN AN APPEAL
17   OR WRIT?
18            MR. BUBMAN:      NO.
19            MR. HERRERA:       THERE IS A BANKRUPTCY STAY,
20   YOUR HONOR, AND WE'RE BEING SENTENCED FOR THE FACT THAT
21   THE AUTOMATIC STAY IS STILL IN PLACE.                    THERE IS NO RELIEF
22   THAT'S BEEN REQUESTED BY ANYBODY AT THIS POINT.                    AND WE'RE
23   STILL -- WE'RE STILL --
24            THE COURT:      EXCUSE ME.           EXCUSE ME.     WE'RE TALKING
25   ABOUT THE SENTENCE.         THE SENTENCE TO JAIL HAS NOTHING TO
26   DO WITH BANKRUPTCY.         WE'RE HERE -- I STAYED THE JAIL --
27            MR. HERRERA:       RIGHT.
28            THE COURT:      -- TO GIVE YOU AN OPPORTUNITY TO FILE

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1    AN APPEAL OR A WRIT OR HOWEVER YOU WANTED TO PROCEED.                     MY
2    QUESTION TO YOU:        HAS SUCH BEEN FILED OR NOT?
3             MR. HERRERA:       NO.      WE DID REQUEST ADDITIONAL TIME.
4    I DON'T BELIEVE -- I BELIEVE THE STAY WAS 30 DAYS.                  WE
5    STILL MAY HAVE TIME ON THAT, BUT THERE WAS A -- WE ARE
6    REQUESTING THAT THAT ALSO BE EXTENDED.
7             THE COURT:       OH, NO.
8             MR. HERRERA:       HOWEVER, FOLLOWING UP ON THE PRIOR
9    HEARING, I WAS ASKING THE COURT WHAT EXACTLY IS LEFT FOR
10   MR. BAE TO DO.        I HAD A LONG CONVERSATION WITH COUNSEL
11   AFTER THE FACT AT THE SUGGESTION OF THE COURT, AND
12   ULTIMATELY THE CONCLUSION IS THAT MR. BUBMAN WANTS MR. BAE
13   TO ADMIT TO A BUNCH OF ALLEGATIONS, AND THAT'S IT.                  THERE
14   WASN'T REALLY ANYTHING THAT WE COULD POINT TO AND SAY DO
15   THIS OR DO THAT TO FINISH COMPLYING.                  IT WAS THERE IS
16   ADDITIONAL STUFF THAT HE BELIEVES, AND THAT SHOULD BE
17   ADDRESSED IN SOME WAY.
18                      I'M NOT -- I'M NOT GETTING INTO THAT.            I'M
19   TRYING TO REALLY GET A VERY FIXED IDEA HERE OF WHAT EXACTLY
20   -- WHAT BOX IS LEFT TO CHECK.                  MR. BAE -- MR. BAE
21   LITERALLY HAS NOTHING LEFT.                HE'S BEEN ACCUSED OF THINGS,
22   AND I UNDERSTAND THAT.            THERE IS NOTHING LEFT FOR HIM TO
23   DO.    WHAT'S THE NEXT STEP HERE?
24            THE COURT:       THE NEXT STEP IS TO PICK A DATE OF
25   SURRENDER FOR HIS JAIL BECAUSE I'M NOT GETTING THROUGH TO
26   HIM.    I'M NOT GETTING THROUGH TO YOU.                SO I SENTENCED HIM
27   TO JAIL.    I GAVE YOU A STAY TO TAKE APPELLATE REMEDIES.
28   YOU CHOSE NOT TO.         THAT IS WHAT YOU ARE TELLING ME.              THE

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1    BANKRUPTCY STAY HAS NOTHING TO DO WITH THE SENTENCE I HAVE
2    ALREADY IMPOSED.        WHEN IS HE GOING TO SURRENDER?
3             MR. HERRERA:       YOUR HONOR, THE COURT SAID --
4             THE COURT:      HERE IS MY QUESTION:           WHEN IS HE GOING
5    TO SURRENDER?
6             MR. HERRERA:       AGAIN, YOUR HONOR, IF I CAN FINISH
7    WHAT I'M SAYING.        THE COURT SAID THAT HE'S NOT LIKELY TO
8    GO TO JAIL IF HE'S GETTING COMPLIANT.                 HE'S DOING
9    EVERYTHING --
10            THE COURT:      THE TIME IS OVER FOR THAT.
11            MR. HERRERA:       BUT HIS COMPLIANCE IS COMPLETE,
12   YOUR HONOR, AND WE'RE AT THE POINT WHERE WE'RE ASKING
13   SPECIFICALLY WHAT IS LEFT?              WE'VE ASKED -- WE'VE ASKED IN
14   WRITING.    WE'RE ASKING THE COURT.               WE'RE ASKING HERE AGAIN.
15   WHAT IS THERE --
16            THE COURT:      OKAY.
17            MR. HERRERA:       -- THAT CAN BE DONE?            HE'S HERE.
18   HE'S PRESENT.       HE'S READY.         HE'S WILLING.
19            THE COURT:      LET ME ASK YOU AGAIN:           WHEN IS HE GOING
20   TO SURRENDER?       THAT'S THE QUESTION.            YOU CAN GO ON WITH
21   YOUR MONOLOG.       PLEASE ANSWER MY QUESTION, AND I'LL PICK A
22   DATE.    YOU CAN PROVIDE INPUT, OR I WILL GIVE A DATE.                   IT'S
23   THAT SIMPLE.
24            MR. HERRERA:       YOUR HONOR, IF WE CAN HAVE -- IF WE
25   CAN HAVE THE ADDITIONAL 30 DAYS, AND THEN WE CAN ADDRESS
26   THE ISSUES KNOWING THE COURT IS NOT INTENDING TO WAIVE
27   THAT ASPECT OF THE --
28            THE COURT:      I'M GOING TO START SETTING WEEKENDS.

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1    SO TODAY IS APRIL 24TH.           YOU CAN SURRENDER AS SOON AS THE
2    26TH AND START DOING WEEKENDS.
3             MR. HERRERA:       I'M SORRY, YOUR HONOR.             I DIDN'T - I
4    DIDN'T CATCH THE --
5             THE COURT:      I'M EXPLICITLY DENYING YOUR STAY.               THE
6    STAY WAS SIMPLY TO GET YOU TO SEE IF YOU WERE GOING TO FILE
7    AN APPEAL OR WRIT.        YOU CHOSE NOT TO.              EVERYTHING I HEAR
8    FROM YOU IS YOU SPEND YOUR RESOURCES TO OBFUSCATE, TO
9    OBSTRUCT, TO INTERFERE WITH THE ORDERLY ADMINISTRATION OF
10   JUSTICE OF THE COURT.         YOU FILED PAPERWORK AND NONSENSE,
11   NONSENSE, INSTEAD OF FOLLOWING THROUGH AND COOPERATING
12   WITH THE COURT AND THE COURT'S REPRESENTATIVE.
13            MR. HERRERA:       YOUR HONOR, I BELIEVE THE HEARING --
14   THE COURT'S STAY HAS ANOTHER FIVE DAYS.
15            THE COURT:      LET ME JUST SEE WHAT THE STAY -- I'M
16   GOING BACK TO MY MINUTE ORDER.                    THE RECEIVER, BY THE WAY,
17   IS THE COURT REPRESENTATIVE.                SO WHEN YOU ARE INTERFERING
18   WITH THE RECEIVER, YOU ARE INTERFERING WITH THE FAIR
19   ADMINISTRATION OF JUSTICE, TO BE CLEAR.
20            MR. HERRERA:       I DON'T UNDERSTAND WHAT THE COURT
21   MEANS BY "INTERFERE."         I HAVEN'T DONE ANYTHING TO
22   INTERFERE AT ALL, YOUR HONOR.
23            THE COURT:      I GET FILINGS.              I GET FILINGS.   WHEN I
24   SAY "YOU," YOUR CLIENT.           YOUR CLIENT, ALL HE DOES IS FAIL
25   TO COOPERATE, PERIOD.         YOU CAN SAY I'VE DONE EVERYTHING
26   WHEN YOU ARE TALKING ABOUT YOUR CLIENT, AND YOU SAY THAT
27   SO EARNESTLY, IT'S FALLACIOUS.                    I GET DECLARATION AFTER
28   DECLARATION.

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1                       YOU KNOW, IT'S INTERESTING.              RIGHT NOW --
2    LET ME JUST GIVE YOU AN EXAMPLE.                    SO I'M WRITING A SETTLED
3    STATEMENT -- EXCUSE ME, A STATEMENT OF DECISION ON A COURT
4    TRIAL, AND THE ISSUE THERE IS WHETHER THERE HAS BEEN A
5    FRAUDULENT CONVEYANCE.           AND ONE OF THE FACTORS I LOOK AT
6    IS WHETHER THE TRANSACTION -- ESSENTIALLY, IF A BUSINESS
7    IS ESSENTIALLY TAKING OVER THE OTHER BUSINESS, A MERE
8    CONTINUATION OF THE PRIOR BUSINESS.                    THAT WOULD BE EVIDENCE
9    OF A FRAUDULENT TRANSFER, AND A SUBSEQUENT CORPORATION
10   WOULD BE LIABLE FOR THE PRIOR CORPORATION'S DEBTS.
11                      HOW DO YOU THINK IT LOOKS WHEN MR. BAE HAS
12   TAKEN A BUSINESS AND MOVED RIGHT NEXT DOOR AND MOVED OVER
13   THE SAME EMPLOYEES, MOVED OVER THE SAME MENU, MOVED OVER
14   ALL OF THE TRANSACTIONS FROM THERE, THE PAYMENT SCHEMES?
15            MR. HERRERA:       IT LOOKS BAD, YOUR HONOR, DOING
16   EVERYTHING IN THIS CASE BY EX PARTE OF THOSE MOTIONS AND
17   NEVER ASKING FOR THINGS AHEAD OF TIME AND NEVER GIVEN AN
18   OPPORTUNITY --
19            THE COURT:       DID I ASK YOU TO INTERRUPT ME?               IT'S A
20   RHETORICAL QUESTION.
21            MR. HERRERA:       I'M SORRY.             I HAVE AN ANSWER,
22   YOUR HONOR.        I DIDN'T MEAN IT -- I DIDN'T MEAN IT THAT
23   WAY.   I UNDERSTAND IT'S A BAD LOOK, I DO, BUT --
24            THE COURT:       YOU STILL KEEP TALKING.
25            MR. HERRERA:       I'M SORRY, YOUR HONOR.
26            THE COURT:       IT'S SO OBVIOUS WHAT MR. BAE IS DOING,
27   AND TO SUGGEST THAT HE'S DONE EVERYTHING TO COOPERATE WHEN
28   HE'S DONE JUST THE OPPOSITE -- I KNOW YOU ARE COUNSEL.

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1    YOU ARE ENTITLED TO BE A ZEALOUS ADVOCATE.                   I'M NOT
2    FAULTING YOU FOR THAT.           BUT IT DOESN'T HAVE A GRAIN OF
3    CREDIBILITY WHEN THE FACTS DON'T SUPPORT THE ARGUMENT.
4    YOUR CLIENT IS CLEARLY DOING EVERYTHING TO INTERFERE WITH
5    THE RECEIVER DOING HIS JOB, WHICH IS NO DIFFERENT THAN
6    WHAT HE'S BEEN DOING FOR THE LAST TWO YEARS PLUS.
7                       AND IT'S CLEAR HE'S TRYING TO DESTROY THE
8    BUSINESS TO PREVENT THE RECEIVER FROM DOING HIS JOB.                      BUT
9    THERE IS STILL PARTNERSHIP ASSETS.                  HE'S RECAST THE
10   BUSINESS AND MOVED IT RIGHT NEXT DOOR USING ALL OF THE
11   RESOURCES AND ASSETS OF THE PARTNERSHIP TO FUND HIS SCHEME,
12   WHICH IS A FACADE -- WHICH IS OBVIOUSLY A FACADE.                      BUT THE
13   RECEIVER WILL KEEP MOVING.
14                      IN THE MEANTIME, I'VE ALREADY RULED ON THE
15   PRIOR OSC OF CONTEMPT.           THERE IS NO APPEAL.          YOU ARE
16   TELLING ME THAT I ISSUED A STAY, AND I KNOW I ISSUED A
17   STAY BECAUSE I WANT YOU TO HAVE AN OPPORTUNITY TO PURSUE
18   APPELLATE REMEDIES.         YOU CHOSE NOT TO BY ENGAGING IN OTHER
19   FOLLIES.    THAT IS YOUR CHOICE.
20            MR. HERRERA:       YOUR HONOR, JUST FOR THE RECORD,
21   THAT'S NOT WHAT WE CHOSE.              WE ARE UNDER THE IMPRESSION
22   THAT THE STAY IS FOR THE 30-DAY PERIOD, AND THERE IS STILL
23   SOME TIME ON THAT STAY.
24            THE COURT:       LET ME JUST LOOK AT MY RULING.
25            MR. HERRERA:       THE ONLY OPTION TO DO THAT --
26            THE COURT:       EXCUSE ME.           I'M LOOKING AT MY ORDER.         I
27   DON'T REMEMBER SETTING A 30-DAY STAY.                  IF I DID, HELP ME
28   OUT HERE.    I KNOW THERE WAS A STAY ISSUED ON THE JAIL ON

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1    APRIL 5TH, BUT I DON'T REMEMBER SAYING IT WAS 30 DAYS.                          I
2    JUST ISSUED A STAY.
3              MR. HERRERA:      I REMEMBER ASKING FOR 30 DAYS.                I'M
4    NOT A HUNDRED PERCENT, MAYBE 99 PERCENT, BUT THAT'S GOING
5    OFF OF MEMORY WHAT I REMEMBER.                    AND IT GAVE US ENOUGH TIME
6    TO DEAL WITH RESULTS FROM TODAY AND HAVING JUST A SHORT
7    PERIOD OF TIME TO DEAL WITH IT ONE WAY OR THE OTHER.
8              THE COURT:     MR. BUBMAN, WHAT DO YOU RECALL?
9              MR. BUBMAN:     MY RECOLLECTION IS THAT YOU WERE GOING
10   TO STAY BRIEFLY -- I DON'T RECALL A SPECIFIC PERIOD OF
11   TIME, THE JAIL SENTENCE, BUT NOT THE MONETARY PENALTY.
12             THE COURT:     ALL RIGHT.           THE ONLY REASON I WAS
13   ISSUING THE STAY IS BECAUSE HE WOULD GET AN AUTOMATIC RIGHT
14   TO DO IT TO FILE AN APPEAL.               YOU DIDN'T DO IT.
15             MR. HERRERA:      WELL, WE WERE TRYING TO SORT THINGS
16   OUT, YOUR HONOR.        THAT'S WHAT WE DID LAST TIME.              THAT'S WHY
17   WE FOLLOWED THE INSTRUCTIONS AT THE SUGGESTION OF THE
18   COURT.
19             THE COURT:     STOP.      STOP.          YOU DON'T FOLLOW THE
20   SUGGESTION OF THE COURT.            AND TO SUGGEST OTHERWISE IS
21   JUST --
22             MR. HERRERA:      YOU ASKED ME TO TALK TO COUNSEL,
23   YOUR HONOR, AND I DID.           WE SPOKE FOR OVER AN HOUR.
24             THE COURT:     MR. BUBMAN, WHAT'S THE NEXT STEP?
25             MR. BUBMAN:     WELL, YOUR HONOR, THE LANDLORD OF THE
26   PROPERTY FILED AN UNLAWFUL DETAINER.
27             THE COURT:     AGAINST BOTH OF THEM.
28             MR. BUBMAN:     RIGHT.

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1             THE COURT:       BOTH ENTITIES.
2             MR. BUBMAN:       RIGHT.        WE'RE STILL -- EVERY DAY IS A
3    NEW DAY, AND WE COME UP WITH NEW THINGS EACH TIME.                    MY
4    EXPECTATION IS THAT ASSUMING THAT THE LANDLORD DOES
5    ACTUALLY FOLLOW THROUGH WITH THE EVICTION, THAT HE'S JUST
6    GOING TO MOVE TO SOMEWHERE ELSE AND DO THE SAME THING ALL
7    OVER AGAIN.
8                       AND I THINK THE NEXT STEP IS THAT WE'RE GOING
9    TO INITIATE OR FILE A REQUEST TO INITIATE CONTEMPT
10   PROCEEDINGS, ONCE AGAIN, AGAINST MR. BAE AND AGAINST THE
11   TWO WOMEN THAT ARE ASSISTING HIM IN THIS.                    WE'RE JUST --
12   WE KEEP PRESSING DOWN THIS ROAD UNTIL WE GET WHAT WE'RE
13   LOOKING FOR TO BE ABLE TO WRAP THIS UP.
14            THE COURT:       WHAT WOULD IT TAKE TO WRAP IT UP?                YOU
15   HAVE GOT HIS UNDIVIDED ATTENTION.                  YOU HAVE GOT A REPORTER.
16   TELL US WHAT IT WILL TAKE FOR MR. BAE TO FOLLOW THROUGH TO
17   WRAP IT UP, IF YOU CAN.
18            MR. BUBMAN:       IF MR. BAE GAVE FULL ACCESS TO ALL OF
19   THE POINT OF SALE SYSTEMS, FULL ADMINISTRATIVE ACCESS, NOT
20   PARTIAL, NOT AN EMPLOYEE ACCESS, WHICH HE'S DONE IN THE
21   PAST AND THEN CUT IT OFF, BUT IF HE GAVE THE ADMINISTRATIVE
22   ACCESS TO THE RECEIVER AS WELL AS THE ADMINISTRATIVE
23   ACCESS TO THE HOME BASE SYSTEM, TO THE THREE DELIVERY
24   SYSTEMS, PROVIDED INFORMATION ABOUT ALL OF THE BANK
25   ACCOUNTS SO WE KNEW WHERE THINGS WERE, THESE ARE THE THINGS
26   THAT WOULD GET US TO THAT CONCLUSION.
27                      THE PROBLEM IS THAT ONCE WE -- WE GET ONE
28   STEP FURTHER, MR. BAE MAKES A LEFT TURN AND THEN MOVES

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1    THINGS INTO EITHER A DIFFERENT BANK, A DIFFERENT POINT OF
2    SALE SYSTEM.
3                       I MEAN, THE EXAMPLE THAT WE GAVE TO THE
4    COURT, IT WAS THE POS SYSTEM.                  WELL, THEN THEY STARTED
5    USING THE SQUARE SYSTEM, RIGHT.                    SO THEY JUST KEEP DOING
6    THINGS IN A DIFFERENT NAME WHICH DOESN'T ALLOW US TO GATHER
7    THIS TOGETHER AND KNOW THAT WE HAVE ALL OF THE ASSETS OF
8    THE PARTNERSHIP.        RIGHT NOW WE HAVE NOTHING.
9                       MR. BAE IS BLAMING THE LANDLORD FOR TAKING
10   THE ASSETS OF BIRDIES.           THE LANDLORD SAID MR. BAE DID IT.
11   SO WE'RE STILL TRYING TO FIGURE OUT WHO DID WHAT.                    NOW,
12   THE LANDLORD TELLS US HE'S GOT SOME VIDEO.                    SO I'M HOPING
13   TO BE ABLE TO SEE HIS VIDEO AND UNDERSTAND WHAT MR. BAE
14   ACTUALLY DID.        THE NEXT-DOOR NEIGHBOR, WHO HE IS
15   PURPORTEDLY THE LANDLORD OF, SAYS HE'S COMING IN EVERY DAY
16   AND DELIVERING FOOD.
17                      SO HE KEEPS SAYING I'M COOPERATING, I'M
18   DOING WHAT YOU ASKED ME TO DO, BUT THEN HE CONTINUES ON IN
19   THIS BUSINESS VENTURE EXACTLY AS HAS BEEN DESCRIBED.                     SO
20   WE NEED TO WRAP THIS ALL TOGETHER AND GET A FULL
21   UNDERSTANDING OF WHAT THE BUSINESS IS, AND WE CAN'T BECAUSE
22   WE CAN'T GET ACCESS TO THE POINT OF SALE SYSTEM WHERE
23   EVERYTHING IS GOING THROUGH.
24                      WHEN YOU ORDER NO MORE CASH, THEY KEEP TAKING
25   CASH.    WE GET ZERO COOPERATION, AND WE CAN'T GET TO A
26   POINT WHERE WE KNOW WE HAVE THE PARTNERSHIP ASSETS, AND
27   THAT'S WHAT WE'RE TRYING TO GATHER TOGETHER.                    THAT WAS THE
28   ENTIRE GOAL HERE, GATHER TOGETHER THE PARTNERSHIP ASSETS

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1    SO WE CAN UNDERSTAND, AND WE CAN DO THE ACCOUNTING LOOKING
2    BACKWARDS, AND WE CAN GET AN UNDERSTANDING OF WHAT THOSE
3    ASSETS ARE, WHAT NEEDS TO BE SOLD, IF ANYTHING, WHAT'S
4    LEFT TO BE SOLD, AND HOW DOES THE DISTRIBUTION OCCUR.
5                       I THINK THAT'S -- I DON'T THINK IT'S ALL THAT
6    HARD.    IT'S JUST THAT IT'S SUCH A DISPARATE MESS.                 I'VE
7    NEVER SEEN A BUSINESS THAT HAS ZERO FINANCIALS WHATSOEVER,
8    NOT A SINGLE FINANCIAL.            HE SAYS HE'S PRODUCED EVERYTHING.
9    WE GET DOCUMENTS FROM 2016 AND 2017, MAYBE SOME BANK
10   STATEMENTS OF ACCOUNTS THAT HE'S CLOSED.                   WE WERE LUCKY
11   THAT WHEN YOU ISSUED THE CONTEMPT CITATION, I THINK HE WAS
12   SCARED ENOUGH TO GIVE US CURRENT ACCOUNTS WHICH WE
13   IMMEDIATELY WENT IN AND LOCKED DOWN, AND THEN HE STARTED
14   MAKING DEMANDS ON PAYING EMPLOYEES WHILE HE HAD TAKEN ALL
15   OF THE MONEY OUT OF THE ACCOUNT, AND NOW THEY'RE OPENING
16   UP NEW ACCOUNTS IN DIFFERENT BANKS.
17            THE COURT:       WHAT WOULD YOU LIKE TO TELL ME, COUNSEL?
18            MR. HERRERA:       WE'VE SUBMITTED PHOTOGRAPHS,
19   YOUR HONOR, OF THE LANDLORD GOING -- FORCING HIS WAY INTO
20   THESE UNITS, ALL OF THEM, AND RIPPING THINGS OUT OF THEM,
21   THROWING IT OUT BACK, LOADING IT ON TRUCKS, AND JUST DOING
22   WHATEVER THEY WANT TO DO.              AND MR. BUBMAN AND I HAVE
23   COMMUNICATED ABOUT THIS, AND THOSE COMMUNICATIONS HAVE
24   ALSO BEEN PROVIDED TO THE COURT.                   THE LANDLORD IS ROGUE,
25   IS DOING THINGS THAT ARE WAY OUTSIDE THE LAW.                   AND MR. BAE
26   AND MR. BUBMAN (SIC) ARE BOTH FIGHTING AGAINST THAT, ALL
27   OF THIS STUFF THAT'S HAPPENING ON THE PART OF THE LANDLORD.
28            THE COURT:       SO HERE IS WHAT IS INEXPLICABLE.            THERE

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1    IS A BUSINESS AT BIRDIES.              YOUR BUSINESS CHOSE NOT TO
2    COOPERATE.     INSTEAD, HE MOVED A NEW BUSINESS RIGHT NEXT
3    DOOR.    MY HEAD CANNOT GET PAST IT.                   INSTEAD OF COOPERATING
4    WITH THE COURT THROUGH THE RECEIVER, YOU PRETEND LIKE THERE
5    IS NO MORE PARTNERSHIP ASSETS.                     AND, OH, THERE IS ANOTHER
6    BUSINESS.    IT'S NOT CALLED BIRDIES, BUT IT'S ANOTHER
7    BUSINESS.    WHAT'S IT IN?           IT'S A RESTAURANT.          AND THE
8    EMPLOYEES, OH, THEY'RE THE SAME EMPLOYEES AS BIRDIES.                        AND
9    THE MENU, IT'S THE SAME MENU AS BIRDIES.                     THE PAYMENT
10   SYSTEM, IT'S THE SAME AS BIRDIES.                     THE DELIVERY SYSTEM,
11   IT'S THE SAME DELIVERY SYSTEM AS BIRDIES.                     BUT IT'S NOT
12   BIRDIES.
13            MR. HERRERA:       AND YOUR HONOR --
14            THE COURT:       THAT'S -- I STOP THERE.              EVERYTHING ELSE
15   YOU HAVE TO SAY IS JUST CHATTER.                     WHETHER THE LANDLORD IS
16   MESSING WITH YOUR CLIENT HAS NOTHING TO DO WITH YOUR CLIENT
17   COOPERATING WITH THE RECEIVER.                     THAT'S WHAT IS INESCAPABLE.
18   WHETHER YOUR CLIENT IS GOING THROUGH ALL SORTS OF OTHER
19   CHALLENGES WITH OTHER INDIVIDUALS, THAT IS NEITHER HERE,
20   NOR THERE.
21                      IS HE COOPERATING WITH THE RECEIVER?               NO.
22   IS HE SETTING UP THIS NEW BUSINESS AND PRETENDING IT ISN'T
23   A PARTNERSHIP ASSET?          OH, YEAH, THAT'S WHAT HE'S SPENDING
24   HIS TIME DOING, AND HE'S RUNNING INTO CHALLENGES.                     WHAT A
25   SURPRISE?
26                      AND YOU WANT ME TO BE SYMPATHETIC --
27   SYMPATHETIC THAT HE SPENT ALL OF HIS TIME AND RESOURCES TO
28   ENGAGE IN SUBTERFUGE AND VERY BAD SUBTERFUGE TO TRY TO GET

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1    AROUND THE COURT'S ORDER.
2                       I EXPECT -- I SUSPECT I'M GOING TO GET
3    ANOTHER OSC REGARDING CONTEMPT.                    I DON'T LOOK FORWARD TO
4    THAT.     I'M NOT HERE TO DO CRIMINAL CONTEMPT TRIALS.                 BUT I
5    SUSPECT THE NEXT TIME AROUND, IT'S GOING TO BE MANY MORE
6    ACTS, EACH ACT FIVE DAYS OR A THOUSAND DOLLARS IN JAIL.
7    AND IF THEY EXCEED 180 DAYS, YOU GET A JURY.                    AND IF I
8    HAVE TO DO A JURY TRIAL, IT WILL BE A JURY TRIAL.
9                       I COULD SEE THIS LITERALLY FROM ALL OF THE
10   ALLEGATIONS THAT HAVE BEEN MADE, IF IT TURNS INTO A
11   PROPERLY FRAMED OSC, YOUR CLIENT ISN'T LOOKING AT DAYS IN
12   JAIL, POTENTIALLY MUCH MORE THAN THAT.
13                      AND YOU THINK A JURY IS GOING TO BE
14   SYMPATHETIC -- MORE SYMPATHETIC TO THE COURT?                    I'VE DONE A
15   LOT OF CRIMINAL TRIALS.            I LIKE JURIES BECAUSE THEY KNOW
16   -- THEY KNOW HOW TO CUT THROUGH THE NONSENSE.                    AND I KNOW
17   ATTORNEYS, THEY'RE REALLY GOOD, AND THEY CAN PAINT BIG
18   PICTURES.     TWELVE JURORS, THEY SEE THROUGH THAT.                 I'VE
19   SEEN IT IN MY 29 YEARS -- 29 YEARS?                    -- 34 YEARS IN COURT.
20   THEY SEE THROUGH IT.          THEY SEE THROUGH IT QUICKLY.            AND
21   THAT IS WHY I'M SUCH A STAUNCH ADVOCATE IN SUPPORT OF JURY
22   TRIALS.     THEY'LL HAVE LESS TOLERANCE OF MR. BAE'S
23   MALFEASANCE THAN I HAVE.             IF THAT'S WHERE THIS GOES TO,
24   THAT'S WHERE THIS GOES TO.               IF HE ENDS UP SPENDING A
25   SIGNIFICANT AMOUNT OF TIME IN JAIL, THAT'S WHERE IT GOES
26   TO.
27                      WHAT YOU NEED TO BE THINKING ABOUT IS THE
28   RECEIVER FILING THAT OSC, BECAUSE THE OSC IS FOR THE

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1    CONDUCT THAT'S ALREADY OCCURRED.                     AND HE HAS DOCUMENTED IN
2    FILINGS WITH THE COURT ALL OF YOUR CLIENT'S ACTS THAT
3    INTERFERE ACTIVELY WITH THE RECEIVER AND VIOLATES THE
4    COURT'S ORDER.        TO REACT IS A POTENTIAL VIOLATION.
5                       ALL YOU AND YOUR CLIENT CAN THINK ABOUT IS
6    WHAT CAN YOU DO TO PLACATE THE RECEIVER SO THEY DON'T GO
7    THROUGH WITH THAT.         THAT'S WHAT YOUR CLIENT SHOULD BE
8    THINKING ABOUT, INSTEAD OF PLAYING THESE GAMES TO DO
9    EVERYTHING TO HIDE THESE ASSETS CRUELLY OF A PARTNERSHIP.
10   YOU ARE JUST WASTING YOUR TIME.
11            MR. HERRERA:       YOUR HONOR, FOR CLARITY, IF WE CAN
12   CLARIFY THE LIST THAT I CAME UP WITH HERE.
13            THE COURT:       YOU CAN TALK TO MR. BUBMAN.              I PUT THAT
14   ON THE RECORD.        THERE IS A REPORTER HERE.               I WANTED YOUR
15   CLIENT TO HEAR THAT.          IF YOU WANT TO HAVE FURTHER
16   DISCUSSIONS WITH MR. BUBMAN, YOU ARE WELCOME TO DO THAT IN
17   THE BACK OF THE COURTROOM.
18                      MY ONLY LAST INQUIRY IS I DON'T RECALL GIVING
19   YOU A 30-DAY STAY, BUT IF YOU ARE TELLING ME IT'S A 30-DAY
20   STAY, APRIL 5TH WAS THE LAST TIME WE WERE HERE, 30 DAYS IS
21   LIFTED MAY 5TH.        SO WE ARE ORDERED TO TALK ABOUT A
22   SURRENDER AFTER MAY 5TH.
23                      WHEN DO YOU WANT TO COME BACK ON A DATE AFTER
24   THAT, MR. BUBMAN?         I DON'T KNOW IF YOU WILL HAVE ANYTHING
25   MORE TO REPORT TO ME OR WHAT.
26            MR. BUBMAN:       WHO KNOWS?              EVERY DAY BRINGS SOMETHING
27   NEW.   I WOULD SAY MAYBE 30 DAYS OUT.
28            THE COURT:       TODAY IS THE 25TH.              YOU WANT TO COME AT

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                                                                           22

1    THE END OF MAY?
2             MR. BUBMAN:      YES.
3             THE COURT:      OKAY.        SO YOU GOT A LITTLE BIT LONGER.
4    THE STAY --
5             MR. BUBMAN:      I'M SORRY, YOUR HONOR.            ARE WE TALKING
6    ABOUT FOR HIS SURRENDER?
7             THE COURT:      NO.      I'M GOING TO LIFT THE STAY, AND
8    THEN WE'RE GOING TO PICK A SURRENDER DATE.                  SO I'M GOING
9    TO COME BACK --
10            MR. BUBMAN:      I THINK MR. BAE SHOULD SURRENDER AS
11   SOON AS POSSIBLE.
12            THE COURT:      OKAY.        SO I'M GOING TO LIFT THE STAY ON
13   MAY 6TH.    HE'S GOING TO SURRENDER MAY 10TH.                WE'LL NEED A
14   COMMITMENT ORDER.        YOU WANT HIM TO DO WEEKENDS?            WE'LL LET
15   HIM DO WEEKENDS.        OTHERWISE, IT WILL BE STRAIGHT THROUGH.
16            MR. HERRERA:       ONE SECOND, YOUR HONOR.
17                      MAY 10TH WORKS, YOUR HONOR.
18            THE COURT:      HE'S GOING TO SURRENDER.            DOES HE WANT
19   TO DO WEEKENDS, OR IS HE GOING TO DO THE SENTENCE STRAIGHT
20   THROUGH?
21            MR. HERRERA:       IF I CAN CONFER, YOUR HONOR?
22            THE COURT:      SURE.
23            MR. BUBMAN:      YOUR HONOR, HIS SURRENDER IS NOT GOING
24   TO INVOLVE ANY SORT OF A HEARING?
25            THE COURT:      NO.      HE'S GOING TO GO REPORT TO -- WE'RE
26   GOING TO GIVE HIM COMMITMENT PAPERS.                HE'S GOING TO REPORT
27   TO COUNTY JAIL, INMATE RECEPTION CENTER, AND HE'LL HAVE TO
28   BRING IN PROOF THAT HE SURRENDERED.

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1              MR. HERRERA:      YOUR HONOR, HE HAS TO COORDINATE --
2    HE HAS TO COORDINATE WITH HIS FAMILY REGARDING CARE THAT
3    HE'S PROVIDING RIGHT NOW TO HELP HIS DAD.                   SO HE'S NOT
4    CLEAR ON WHAT WOULD WORK BETTER.                   HE HAS TO TALK TO OTHER
5    FAMILY MEMBERS TO SEE IF THEY CAN STEP IN AND HELP AND
6    ORGANIZE AROUND THAT.
7              THE COURT:     SO WHEN IS HE GOING TO HAVE AN ANSWER
8    FOR ME?
9              MR. HERRERA:      BY MONDAY WE COULD REPORT TO THE
10   COURT THE PREFERENCE.
11             THE COURT:     WHICH MONDAY?
12             MR. HERRERA:      THIS COMING MONDAY.
13             THE COURT:     THAT'S APRIL 29TH.             SO YOU WILL HAVE
14   THE STAY UNTIL MAY 6TH.           HE HAS TO SURRENDER MAY 10TH BY
15   NOON ON BAUCHET STREET.           I THINK IT'S 414 BAUCHET STREET
16   AT THE INMATE RECEPTION CENTER.                   450 BAUCHET STREET,
17   LOS ANGELES, CALIFORNIA, 90012, THE INMATE RECEPTION
18   CENTER.     WE'LL HAVE COMMITMENT PAPERS READY FOR HIM
19   ELECTRONICALLY.        HE'LL HAVE TO TAKE THEM TO THE INMATE
20   RECEPTION AND APPEAR NO LATER THAN MAY 10TH AT NOON TO
21   COMMIT -- COMMENCE HIS SENTENCE THAT WAS IMPOSED, 15 DAYS
22   OF JAIL.     IT WILL BE THE WEEKENDS, TWO DAYS AT A TIME, OR
23   IT WILL BE STRAIGHT THROUGH.                YOU WILL INFORM ME, THE
24   COURT, ELECTRONICALLY THROUGH A FILING.                   YOU CAN FILE A
25   DECLARATION INDICATING WHAT HIS CHOICE IS.                   HE CAN HAVE
26   UNTIL THE END OF BUSINESS ON APRIL 29TH.                   WE'LL COME BACK
27   ON -- IN 30 DAYS.        TODAY IS THE TWENTY --
28             MR. HERRERA:      -- FIFTH.

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                                                                               24

1             MR. BUBMAN:      -- FIFTH.
2             THE COURT:      WE'RE ON THE 30TH?
3             THE CLERK:      TWENTY-NINTH.
4             MR. HERRERA:       I'LL BE UNAVAILABLE THAT WEEK, THE
5    LAST WEEK OF MAY.
6             THE COURT:      OKAY.      WHEN'S THE NEXT TIME?
7             MR. HERRERA:       THE FOLLOWING WEEK IS GOOD.
8             THE COURT:      FIRST WEEK OF JUNE?
9             THE CLERK:      JUNE 5TH.
10            THE COURT:      JUNE 5TH, 9:00 A.M.              DOES THAT WORK FOR
11   YOU, RECEIVER?
12            MR. BUBMAN:      YES.
13            THE COURT:      DOES IT WORK?
14            MR. HERRERA:       YES, YOUR HONOR.
15            THE COURT:      OKAY.      JUNE 5TH, FURTHER STATUS AND
16   PROOF OF SURRENDER ON THAT DATE.                    FILE WITH THE COURT
17   FURTHER STATUS REPORT, COULD BE FILED AS WELL JUNE 5TH,
18   9:00 A.M.
19            MR. HERRERA:       DID I HEAR THAT THE COURT WILL BE
20   E-MAILING DOCUMENTS OR --
21            THE COURT:      NO, NO, NO.              WE'RE GOING TO NEED --
22   WE'RE GOING TO NEED A FILING FROM YOU ELECTRONICALLY ON
23   MONDAY ON WHICH YOU CHOOSE.
24            MR. HERRERA:       ON MONDAY.
25            THE COURT:      AND WE'LL HAVE THE PAPERWORK READY.                   I
26   DON'T KNOW IF IT'S GOING TO BE ELECTRONIC PAPERWORK, BUT
27   YOU ARE GOING TO NEED COMMITMENT PAPERS.                    YOU ARE GOING TO
28   HAVE TO SHOW UP TO COURT.             THIS IS A CIVIL COURT.         IN

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1    CRIMINAL COURT WE HAVE COMMITMENT PAPERS PILED A MILE
2    HIGH.     IN CIVIL COURT WE DON'T HAVE THOSE.                YOU ARE GOING
3    TO HAVE TO ARRANGE TO PICK IT UP.                  I DON'T KNOW IF IT'S
4    GOING TO BE ELECTRONIC OR ON PAPER, BUT HE'S GOING TO HAVE
5    TO PICK THAT UP BEFORE HE SURRENDERS, LITERALLY COMMITMENT
6    PAPERS.
7              MR. HERRERA:      BY TUESDAY?
8              THE COURT:      I DON'T KNOW HOW SOON THEY'LL BE READY,
9    BUT IT WILL BE READY BEFORE MAY 10TH.
10             MR. HERRERA:      OKAY.        SO I'LL WAIT TO HEAR FROM THE
11   COURT ON THAT?
12             THE COURT:      WE'LL ISSUE A MINUTE ORDER TELLING YOU
13   HOW TO DO IT.
14             MR. HERRERA:      OKAY.        SO I'LL SEE THAT ON THE DOCKET?
15             THE COURT:      YES.
16             MR. HERRERA:      PERFECT.
17             THE COURT:      MR. BUBMAN, YOU HAVE SOME FINAL WORDS?
18             MR. BUBMAN:      I JUST WANT TO CLARIFY ONE THING FROM
19   MR. HERRERA.        HE DID NOTE APPROPRIATELY THAT WE HAD A
20   CONVERSATION THAT WAS PROBABLY AN HOUR AND A HALF, AND
21   WHAT THE CONVERSATION WAS MARKED BY WAS DENIALS, THE
22   DENIALS THAT WE KEEP HEARING IN COURT, MR. BAE IS
23   COOPERATING, HE KEEPS COOPERATING, WHAT ELSE CAN HE DO,
24   WHAT IS IT THAT'S GOING TO BRING THIS TO A CLOSE.
25                      AND WE HAVE TROUBLE GETTING TO THAT ANSWER
26   UNTIL MR. BAE FINALLY SAYS I UNDERSTAND, I'M GOING TO GIVE
27   YOU THE THINGS THAT YOU ARE ASKING FOR, AND THEN WE CAN
28   MOVE FORWARD.        IF WE GET COOPERATION, I CAN'T TELL YOU THE

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1    NUMBER OF CASES WHERE I'VE ACTUALLY GOTTEN COOPERATION
2    FROM THE OTHER SIDE, WE'VE BEEN ABLE TO MOVE FORWARD AND
3    PUT THE CASE TO BED.          THIS DOESN'T NEED TO GO ON LIKE
4    THIS.    WE DON'T WANT IT TO GO ON LIKE THIS.                AND, QUITE
5    FRANKLY, THIS HAS BECOME A SIGNIFICANT EXPENSE FOR US
6    BECAUSE THERE IS NOTHING COMING IN.                  WE WANT TO GET TO THE
7    END OF THE ROAD ON THIS THING, AND IT JUST REQUIRES THAT
8    MR. BAE COOPERATE AND STOP LYING TO EVERYBODY ABOUT WHAT
9    HE IS OR ISN'T DOING SO THAT WE UNDERSTAND WE HAVE
10   COOPERATION, WE HAVE ALL THE INFORMATION, WE CAN LOOK AT
11   IT AND SEE, OKAY, THIS IS EVERYTHING, AND THERE IS NOT A
12   NEW BUSINESS POPPING UP 10 FEET AWAY.                  ONCE WE GET TO THAT
13   POINT, THEN WE WILL BE ABLE TO HAVE A VERY CLEAR
14   UNDERSTANDING OF WHAT THE ROAD TO COMPLETION LOOKS LIKE.
15            THE COURT:       OKAY.      THANK YOU.
16                      SO WITH THAT, DO YOU WAIVE NOTICE?
17            MR. BUBMAN:       YES.
18            THE COURT:       DO YOU WAIVE NOTICE, COUNSEL?
19            MR. HERRERA:       THERE WILL BE A MINUTE ORDER
20   REFLECTING THE STAY?
21            THE COURT:       THE STAY WILL BE THROUGH TO MAY 6TH.
22                      DO YOU WAIVE NOTICE TO THE NEXT COURT DATE
23   WHICH IS JUNE 5TH?
24            MR. HERRERA:       YES, NOTICE WAIVED.
25            MR. BUBMAN:       THANK YOU, YOUR HONOR.
26            THE COURT:       WITH REGARDS TO ALL THE ORDERS AS WELL,
27   THAT WILL BE IN THE MINUTE ORDER.                  THE EX PARTE WAS DENIED
28   WITHOUT PREJUDICE.         THE MOTIONS WERE DENIED.

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                                                                           27

1                           (THE PROCEEDINGS CONCLUDED.)
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                                                                           28

1              SUPERIOR COURT OF THE STATE OF CALIFORNIA
2                        FOR THE COUNTY OF LOS ANGELES
3    DEPARTMENT 51                            HON. UPINDER S. KALRA, JUDGE
4
5    JASON HARLEY BOBSON,                               )
                                                        )
6                                PLAINTIFF,             )
                                                        ) SUPERIOR COURT
7                        VS.                            ) NO. BC650612
                                                        )
8    KEITH BAE, AN INDIVIDUAL; AND DOES ) REPORTER'S
     1 - 10, INCLUSIVE                                  ) CERTIFICATE
9                                                       )
                                 DEFENDANTS.            )
10   ___________________________________)
11
12
13
14                       I, SHAWNDA R. DORN, OFFICIAL REPORTER
15   PRO TEMPORE OF THE SUPERIOR COURT OF THE STATE OF
16   CALIFORNIA, FOR THE COUNTY OF LOS ANGELES, DO HEREBY
17   CERTIFY THAT THE FOREGOING PAGES, 1 THROUGH 27,
18   INCLUSIVE, COMPRISE A FULL, TRUE, AND CORRECT TRANSCRIPT
19   OF THE PROCEEDINGS HELD IN THE ABOVE-ENTITLED MATTER ON
20   APRIL 25, 2024.
21                      DATED THIS 6TH DAY OF MAY, 2024.
22
23
24
25
26
27            <%11544,Signature%>
              SHAWNDA R. DORN, CSR NO. 11387, RPR, CRR, CCRR, CLR
28            OFFICIAL REPORTER PRO TEMPORE

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          0
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
16133 Ventura Blvd., Suite 1175, Encino, CA 91436

A true and correct copy of the foregoing document described DECLARATIONS OF STEPHEN J. DONELL, SARAH
BATES, MORGAN L. BUBMAN, AND MICHAEL E. BUBMAN IN SUPPORT OF REPLY IN SUPPORT OF
APPLICATION BY CHAPTER 7 TRUSTEE TO EMPLOY MIRMAN, BUBMAN & NAHMIAS AS SPECIAL COUNSEL will
be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner indicated below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF and hyperlink
to the document. On September 18, 2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the email
address(es) indicated below:

          Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
          Michael E Bubman mbubman@mbn.law, aacosta@mbnlawyers.com
          Carolyn A Dye (TR) trustee@cadye.com, c197@ecfcbis.com;atty@cadye.com
          Alejandro H Herrera alex@hch.law
          Gregory S Kim gkim@gregorykimlaw.com, gkimlaw@yahoo.com
          Harris M Madnick hmmadnick@kramarmadnick.com
          Noreen A Madoyan Noreen.Madoyan@usdoj.gov
          United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                    Service information continued on attached page

II. SERVED BY U.S. MAIL
On (date) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ I served the following person(s) and/or entity(ies) at the last known address(es) in
this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States Mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



JUDGE'S COPY IS NOT REQUIRED.



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III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (state method for each person or
entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                   I    served the     following
person(s) and/or entity(ies) by personal delivery, overnight mail service, or (for those who consented in writing to such
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I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

 September 18, 2024                            Ana I. Acosta
 Date                                  Type Name                                                Signature


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June 2012                                                                                                                          F 9013-3.1
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